                                STATE
Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 1 of 303 PageID 574   1


    1                             REPORTER'S RECORD

    2                        VOLUME 7 OF 21 VOLUME(S)
                                                            FILED IN
                                                     2nd COURT OF APPEALS
    3                     TRIAL COURT    CAUSE NO. 1376698R
                                                       FORT WORTH, TEXAS
                                                     3/27/2015 12:36:05 PM
    4              COURT OF APPEALS      CASE NO. 02-14-00412-CR
                                                          DEBRA SPISAK
                                                              Clerk
    5
         THE STATE OF TEXAS                  ) IN THE 372ND JUDICIAL
    6                                        )
                                             )
    7                                        )
                                             )
    8                                        )
         VS.                                 ) DISTRICT COURT
    9                                        )
                                             )
  10                                         )
                                             )
  11                                         )
         THOMAS OLIVAS                       ) TARRANT COUNTY, TEXAS
  12

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                          ******************************
  15
                             TRIAL ON MERITS COMMENCES
  16
                          ******************************
  17

  18       On the 10th day of September, 2014, the following
        proceedings came on to be heard in the above-entitled
  19    and numbered cause before the Honorable Scott Wisch,
        Presiding Judge, held in Fort Worth, Tarrant County,
  20    Texas;
           Proceedings reported by computerized machine
  21    shorthand with assisted realtime transcription.

  22

  23
               KAREN B. MARTINEZ, CERTIFIED SHORTHAND REPORTER
  24                       Official Court Reporter
                        372nd Judicial District Court
  25                        Tarrant County, Texas



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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 2 of 303 PageID 575   2


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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 3 of 303 PageID 576        3


    1                            CHRONOLOGICAL INDEX

    2                               Volume 7 of 21

    3                        TRIAL ON MERITS COMMENCES

    4   September 10, 2014                                            Page Vol.

    5   Three Witnesses Sworn.........................                    6    7

    6   The Court Continues Jury Instructions.........                   10    7

    7   The Court's Introduction to Jury Trial........                   25    7

    8   The Court Calls Case For Trial................                   29    7

    9   Reading of Indictment.........................                   29    7

  10    Not Guilty Pleas Entered by Defendant.........                   32    7

  11    State's Opening Statement by Mr. Rousseau.....                   33    7

  12    Defendant's Opening Statement by Ms. Keene....                   46    7

  13    STATE'S WITNESSES                                        Voir
                                          Direct      Cross      Dire         Vol.
  14
        Gutierrez, Toni                   53,66       63,68      --            7
  15
        Lopez, Issac                      73,120,     105,125    --            7
  16                                      127
        Lopez, Celia Murillo              134         --         --            7
  17
        Arias, Jason                      156         183        --            7
  18
        Kornegay, Robert                  189         205        --            7
  19
        Hicks, Lester                     214         242        249,257       7
  20
        Mathews, Officer Jamon            260,296     277        --            7
  21
        Recessed for the Day..........................                  302    7
  22
        Court Reporter's Certificate..................                  303    7
  23

  24

  25



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 4 of 303 PageID 577           4


    1                   ALPHABETICAL LISTING OF WITNESSES

    2                                                            Voir
                                          Direct      Cross      Dire         Vol.
    3
        Arias, Jason                      156         183        --               7
    4
        Gutierrez, Toni                   53,66       63,68      --               7
    5
        Hicks, Lester                     214         242        249,257          7
    6
        Kornegay, Robert                  189         205        --               7
    7
        Lopez, Celia Murillo              134         --         --               7
    8
        Lopez, Issac                      73,120,     105,125    --               7
    9                                     127
        Mathews, Officer Jamon            260,296     277        --               7
  10

  11                                    EXHIBITS

  12    STATE'S
        NO.     DESCRIPTION                         OFFERED ADMITTED VOL.
  13
            1    Audio Disc (Tarrant-1376698R-RR-SX1.mp3)
  14                                         148      148                     7

  15        2    Large Aerial Photograph               84          85         7

  16        3    Large Diagram                        176        176          7

  17        9    Photograph                            96          96         7

  18       13    Photograph                            96          96         7

  19     164     Large Photo on Black Board           240        240          7

  20     165     Chart on Easel Paper                  67          67         7

  21

  22

  23

  24

  25



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 5 of 303 PageID 578       5


    1   DEFENDANT'S
        NO.    DESCRIPTION                          OFFERED ADMITTED VOL.
    2
            1    Xerox Photograph                     108        108          7
    3
            2    Xerox Photograph                     108        108          7
    4
            3    Chart on Easel Paper                 108        108          7
    5
            4    Chart on Easel Paper                 119        120          7
    6
            5    Chart on Easel Paper                 295        296          7
    7

    8
        (*) Denotes an exhibit designated for the record only.
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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 6 of 303 PageID 579   6


    1                          P R O C E E D I N G S

    2             Wednesday, September 10, 2014             9:40 a.m.

    3                   (OPEN COURT, DEFENDANT PRESENT, NO JURY)

    4                   THE COURT:     All right.      Will y'all state

    5   your name to Karen, please.           And if she needs spellings,

    6   she'll ask, but I think she got it from Mr. Moore.

    7                   What's your full, legal name?

    8                   THE WITNESS:      Bernice Arlene Olivas.

    9                   THE COURT:     Thank you.

  10                    THE WITNESS:      Rosa Olivas.

  11                    THE COURT:     Thank you.

  12                    THE WITNESS:      Bernardo Olivas.

  13                    THE COURT:     Thank you.      I need each of you

  14    to face me and raise your right hands.

  15                    (Three witnesses sworn)

  16                    THE COURT:     Is that a "yes", ma'am?

  17                    THE WITNESS:      Yes.

  18                    THE COURT:     All right.      I see you nodding.

  19    You have to use words.         She can't write down nods.

  20    Okay?

  21                    Put your hands down.

  22                    There are certain rules that apply to all

  23    witnesses in a trial.         Exceptions can be made with the

  24    permission of the Court and the parties for family

  25    members who don't have anything to say about who



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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 7 of 303 PageID 580         7


    1   committed the crime or whether there was a crime that

    2   are only character witnesses, if there were to be a

    3   sentencing phase.        I've been advised if you were to

    4   testify, that would be all you would testify about.

    5                   Is that your understanding, as well?

    6                   THE WITNESSES:       Yes.

    7                   THE COURT:     All right.      Then here's what the

    8   general rules are.        The general rule is you cannot talk

    9   to any witness about anything you know about the case

  10    until you are released as a witness and the trial is

  11    over.    You're supposed to testify about what you know

  12    and not base it on what you hear other people say.                    The

  13    general rule is you cannot be present in the courtroom

  14    when anyone else testifies for the same reason you can't

  15    talk to them outside the courtroom.              You're going to be

  16    allowed to remain in the courtroom, but you're strictly

  17    prohibited from talking to each other or anyone else

  18    about what you see or hear during the course of the

  19    trial, unless you're speaking in private with the

  20    attorneys for either side or their staffs, who are

  21    governed by the Court rules and don't share that with

  22    other people.

  23                    Do you understand that instruction?

  24                    THE WITNESSES:       Yes, sir.

  25                    THE COURT:     Make sure you hear and



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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 8 of 303 PageID 581          8


    1   understand any question asked, and if you can't hear or

    2   don't understand, then say so, but never guess.                 If you

    3   do understand the question asked, then answer that

    4   question, stop and wait for the next question.                 But

    5   don't keep talking because it's not responsive to the

    6   question and it will wear her hands out before the trial

    7   is over.     There has to be a question, pause, answer,

    8   pause.

    9                   Do you understand those instructions?

  10                    THE WITNESSES:       Yes.

  11                    THE COURT:     All right.      Do you promise to

  12    follow those instructions if you're allowed, as a

  13    courtesy by the attorneys, to stay in the courtroom for

  14    the trial?

  15                    THE WITNESSES:       Yes, sir.

  16                    THE COURT:     All right.      Then based on that

  17    promise, you may return to your seats.

  18                    THE WITNESS:      Your Honor, just one thing.            I

  19    would like to at least talk to her, I need to translate

  20    a lot that you have just said.

  21                    THE COURT:     You can translate -- well, you

  22    can't sit in the courtroom and translate because you

  23    can't talk about the testimony.

  24                    THE WITNESS:      No, I'm not going to.         But

  25    just some of the guidance that you just provided to us.



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Case 4:22-cv-00385-O Document 16-7     v. 08/16/22
                                    Filed  THOMAS OLIVAS
                                                   Page 9 of 303 PageID 582   9


    1                   THE COURT:     Well, I'm just saying you can't

    2   talk to anyone, in English or Spanish, about anything

    3   you see or hear in the courtroom, including each other.

    4                   THE WITNESS:      Okay.

    5                   THE COURT:     If -- if you want to sit on the

    6   very back row and would tell her what was said, that she

    7   could have heard, if she understood, that normally would

    8   be okay, but the problem is, no one is allowed to talk

    9   in the gallery because it's distracting to the lawyers

  10    and the court reporter and the jury.              So even when we

  11    have interpreters for witnesses and other people, we

  12    have little special equipment and headphones so that it

  13    doesn't disrupt the proceeding.

  14                    THE WITNESS:      I understand.

  15                    THE COURT:     So I appreciate as a human being

  16    what you want to do, but that's just one of the

  17    occupational hazards of being a family member who's not

  18    bilingual when the proceedings are.              And so my respects

  19    to her, but you can't do that.

  20                    THE WITNESS:      That's fine.

  21                    THE COURT:     Okay.

  22                    THE WITNESS:      We understand.

  23                    THE COURT:     And the easy way, if you were to

  24    hear, it wouldn't matter, so --

  25                    THE WITNESS:      Okay.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 10 of 303 PageID 583   10


    1                   THE COURT:     -- so at least you'll be able to

    2   hear.    And after the trial you can talk to her about

    3   what you heard.       Okay?

    4                   THE WITNESS:      Thank you.

    5                   THE COURT:     All right.      Any other questions?

    6                   THE WITNESS:      No, sir.

    7                   THE COURT:     All right.      Then y'all can

    8   return to your seats.

    9                   (Pause in proceedings)

   10                   (Jury seated in courtroom)

   11                   THE COURT:     If there's any time during the

   12   course of the trial that you can't hear what's being

   13   said because the attorneys move away from the microphone

   14   or the witness does or maybe they're standing, holding

   15   something up, if you can't hear, cup your hand on your

   16   head and say, "I can't hear," and the attorney will

   17   repeat what they said or I will tell the witness to

   18   repeat the answer.        All clear on that one?

   19                   If there's something you can't see and it's

   20   clear from their questioning or discussion that they

   21   think you can, but someone's blocking it or it's too far

   22   away, or on the PowerPoint, or someone's head is in way,

   23   if you get your hand up here and say, "I can't see,"

   24   they'll appreciate it.         They can do their job better and

   25   they will either move where you can see or maybe they'll



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 11 of 303 PageID 584   11


    1   bring it up closer, but they'll make the necessary

    2   adjustments.      It's not only your right but your duty to

    3   do that, just like if you can't hear.

    4                   Everyone clear on that one?

    5                   SEVERAL JURY MEMBERS:        Yes.

    6                   THE COURT:     Finally, if due to the

    7   hurry-and-wait, due to what I think is pretty good

    8   coffee we make in this courtroom, due to the five

    9   glasses of iced tea at lunch as you wait for your food,

   10   if at any time you are so physically uncomfortable, be

   11   it an old football injury or fluid, and you need a break

   12   because you're losing your focus, if you will raise your

   13   hand and say, "short break," I will guarantee you

   14   there's at least four or five other people in the

   15   courtroom thinking that that don't have the guts to

   16   raise their hand yet.         And that's why the jury room is

   17   30 feet away.

   18                   We will take regular breaks.          We may take

   19   more breaks than you want.          Any time I, as the umpire,

   20   have to do a booth review, if you will, not to use the

   21   game analogies again, but I need to talk to the lawyers

   22   openly and quickly to figure out what the law allows and

   23   what the law requires as the far as the direction and

   24   the order of the trial, if I can't handle it shortly, I

   25   send you out so we can handle it quickly.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 12 of 303 PageID 585    12


    1                   And what I talk to them in or out of the

    2   courtroom, when I rule on objections, when I tell them

    3   things, when they tell me things, it's not evidence and

    4   it's not to be considered by you in deciding whether the

    5   witness does or doesn't know what they're talking about,

    6   whether they're truthful or accurate, all or neither.

    7   You make that independent determination.               Don't get

    8   caught up by what the little man behind the curtain is

    9   doing.

   10                   In the same regard, you may have noticed

   11   yesterday during jury selection -- because these lawyers

   12   both did excellent jobs talking to you, educating you,

   13   and listening to you -- I have 770 other cases besides

   14   this one, which are in various states.               If you think of

   15   this as an airport, some are in the hangers, some are at

   16   the gate, some are on the tarmac waiting to go, go to

   17   the runway, and you have taken off.               This is the most

   18   important case to me, absolutely to these lawyers and

   19   absolutely to you.

   20                   But in order that other cases can proceed in

   21   an orderly fashion when it's their turn for trial, I am

   22   doing things all the time.          And if people bring me

   23   something from my left side or the sheriff hands me

   24   something in the low pass behind my stairs, that has

   25   nothing to do with this case.           That's so I can sign



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 13 of 303 PageID 586   13


    1   things.     That's so things can progress.           I'll respond to

    2   official e-mails and correspondence and documents that

    3   are sent to electronically sign.            I will do that all

    4   along, and it has nothing to do with your factfinding

    5   mission or respect or disrespect to these lawyers or

    6   anywhere else.       And if I happen to miss something

    7   because I'm multitasking, I have Karen here to read it

    8   back to me to make sure I get it right so I make a

    9   proper ball or strike ruling or foul or fair ruling.

   10                   Does that make sense?

   11                   SEVERAL JURY MEMBERS:        Yes.

   12                   THE COURT:     If at any time that multitasking

   13   is distracting to you doing your job, well, you've got

   14   to let me know and it will stop, and I'll stay late and

   15   come in early and it will all get done.              But if it's not

   16   distracting to you, I just don't want you to be

   17   wondering what I'm doing that has something to do with

   18   this case, which is absolutely zero, unless I'm ruling

   19   on an objection to give direction to the lawyers.

   20                   So is everyone good with that?

   21                   SEVERAL JURY MEMBERS:        Yes.

   22                   THE COURT:     Let's go back to the blue card

   23   then.

   24                   We read one through three.          Everyone

   25   remember those?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 14 of 303 PageID 587   14


    1                   SEVERAL JURY MEMBERS:        Yes.

    2                   THE COURT:     Oh, and just a point of

    3   information, did y'all read the rest of this on your own

    4   last night?

    5                   SEVERAL JURY MEMBERS:        Yes.

    6                   THE COURT:     We thank you.        Did you follow

    7   them to the best of your ability?

    8                   SEVERAL JURY MEMBERS:        Yes.

    9                   THE COURT:     We thank you even more for that.

   10                   Rule four, do not even discuss this case

   11   among yourselves until after you have heard all of the

   12   evidence, the Court's Charge -- which is a confusing

   13   term, but it means the legal document charging you to

   14   follow these rules, apply these definitions, apply this

   15   law and reach a proper verdict.            And it has verdict

   16   forms at the end for you to choose based on the results

   17   of your deliberations.         I think Mr. Moore may have

   18   mentioned it's often a 10- to 15-page document that has

   19   all this information that you take into the jury room --

   20   you've heard the attorneys' arguments -- which are at

   21   the end of the trial after the evidence is presented.

   22   And I expect you'll ask the State -- you'll hear the

   23   State ask you to vote guilty and the Defense ask you to

   24   vote not guilty and tell you why it's appropriate -- and

   25   then you will be sent to the jury room and told consider



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 15 of 303 PageID 588    15


    1   your verdict, in other words, deliberate.               That happens

    2   at the tail end of the trial, the stern of the ship.

    3   That happens after all the evidence is in, you have the

    4   rules of law, you have the arguments of counsel ringing

    5   in your ears.       And then, and only then, are you allowed

    6   to talk about anything you have seen or heard during the

    7   course of the trial.

    8                   All right.     The rules strictly require

    9   deliberations to occur only when you know you have all

   10   the evidence and you have the rules for deliberations.

   11   And that's not how we watch football games or concerts

   12   or plays or movies.        If there's an intermission, we talk

   13   about what we've seen.         We comment on who's doing the

   14   right or the wrong calls or whose fault the interception

   15   was or who's doing a good or a bad job.              That's human

   16   nature.     During the trial you can't talk about anything

   17   until you can talk about everything at the same time.

   18                   A juror once told me I ought to look at it

   19   as don't try to put the pieces -- don't try to put the

   20   jigsaw puzzle together unless you're absolutely sure you

   21   have all the pieces or you might head off in the wrong

   22   direction and make it more complicated when you get the

   23   rest of the pieces, and, plus, you waste a lot of time

   24   and energy.

   25                   So is everyone clear on what I'm talking



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 16 of 303 PageID 589   16


    1   about on this?

    2                   SEVERAL JURY MEMBERS:        Yes.

    3                   THE COURT:     I'm going to read five, six and

    4   seven together.

    5                   Do not make any investigation about the

    6   facts of this case.        Occasionally we have a juror who

    7   privately seeks out information about a case on trial,

    8   but this is improper.         All evidence must be presented in

    9   open court so that each side may question the witnesses

   10   and make proper objections if they apply.

   11                   If you know of, or learn anything about,

   12   this case except from the evidence admitted during the

   13   course of this trial, you should tell me about it at

   14   once.

   15                   Six, do not make personal inspections,

   16   observations, investigations, or experiments, nor

   17   personally view premises, things or articles that are

   18   not produced in court.         And do not let anyone else do

   19   any of these things for you.

   20                   Seven, do not tell other jurors your own

   21   personal experiences nor those of other persons, nor

   22   relate any special information.            A juror may have

   23   special knowledge of matters such as business, technical

   24   or professional matters or may have expert knowledge or

   25   opinions in some field or may know what happened in this



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 17 of 303 PageID 590    17


    1   or some other lawsuit, but to tell the other jurors any

    2   of this information is a violation of these

    3   instructions.

    4                   Five, six and seven stand for the basic

    5   proposition, you are judges of the facts.               You are not

    6   witnesses for or against either side.               You're certainly

    7   not expert witnesses to testify in the jury room when

    8   your oath is to render a true verdict, not to tell the

    9   truth in the jury room.

   10                   Does everyone understand that?

   11                   SEVERAL JURY MEMBERS:        Yes.

   12                   THE COURT:     You remember that Tarrant/Denton

   13   County line example I gave during jury selection about

   14   the property line moves because there's a dispute of

   15   where it should be?        Let's say you're here in that

   16   trial.     And let's just say you could drive a mile out of

   17   your way going home in North Tarrant County and go out

   18   and look at the place where the property line is

   19   disputed.      And after you've driven from downtown Fort

   20   Worth to just past Babe's in Roanoke, it would be no

   21   trouble for you to just drive a little further and look

   22   at what they've been talking about in the courtroom.

   23   The law says don't do that.           You're making yourself a

   24   witness.     Let the people whose job it is to do that come

   25   in and testify about it and explain it to you, but don't



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 18 of 303 PageID 591   18


    1   go make yourself a witness.

    2                   It may be that the land where this dispute

    3   is going on used to be your grandmother's farm and you

    4   used to swing in the old oak tree in the tire swing that

    5   is probably still there and you've been on that property

    6   a hundred times as a kid, but the law says don't decide

    7   where the line is based on your childhood memories.

    8   Make that decision based on what's presented in court

    9   and don't tell anyone else about the old oak tree or the

   10   tire swing, because then you're testifying and not

   11   judging.

   12                   Everyone clear on that?

   13                   SEVERAL JURY MEMBERS:        Yes.

   14                   THE COURT:     It may be you're a master

   15   surveyor and you know more about surveying in one thumb

   16   than any other 20 surveyors know in their whole body.

   17   And it may be you're listening to testimony about

   18   surveying and you understand it better and it may be

   19   your reasons for trusting or not trusting what a

   20   surveyor says or may be more knowledgeable than a

   21   layperson who's having to listen to everything and how

   22   surveying work is explained.           You can use your own

   23   common sense, your life experience, your training, your

   24   education in forming your own opinions.              You brought all

   25   those things with you to the jury room, but you cannot



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 19 of 303 PageID 592   19


    1   give surveying lessons in the jury room, because then

    2   you're testifying.

    3                   If the lawyers need you to understand how

    4   surveying works in order to present their cases, it is

    5   their duty to educate the jury on how surveying works.

    6   It's not another juror's duty to share specialized

    7   information.

    8                   Does everyone understand that?

    9                   SEVERAL JURY MEMBERS:        Yes.

   10                   THE COURT:     That would be true whether the

   11   field was education or medicine or surveying or anything

   12   else.    You know, if there's medical testimony, if you're

   13   an RN or a doctor or a medical assistant, you can't

   14   forget your education, but you don't explain things to

   15   other jurors who are not familiar to your profession.

   16                   Is everyone clear on that?

   17                   SEVERAL JURY MEMBERS:        Yes.

   18                   THE COURT:     Okay.    Are there any questions

   19   about five, six or seven?

   20                   SEVERAL JURY MEMBERS:        No.

   21                   THE COURT:     All right.      Here's one more P.S.

   22   on that, based upon the length of this trial.                If by

   23   chance -- remember when I asked you if you knew each

   24   other on jury duty?

   25                   SEVERAL JURY MEMBERS:        Yes.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 20 of 303 PageID 593   20


    1                   THE COURT:      If some witness were to come

    2   into the trial and you recognize them from some past

    3   life experience, be it favorable, unfavorable or

    4   neutral, whether they're a customer, a high school

    5   classmate, go to your church, work at the same place you

    6   do, you are to judge them based upon what happens in

    7   this courtroom and not give or take away points from any

    8   past or prior life experience.

    9                   Do you understand that?

   10                   SEVERAL JURY MEMBERS:        Yes.

   11                   THE COURT:      If a witness comes in here that

   12   you just hate their guts so much or you love them so

   13   much from some past life association, that they could

   14   never lie, they could never be wrong, you have a duty to

   15   bring that to the attention of the deputy so he can

   16   bring that to the attention of me.

   17                   Does everyone understand that?

   18                   SEVERAL JURY MEMBERS:        Yes.

   19                   THE COURT:      But if it's someone you know,

   20   familiar with and you can judge them here and not give

   21   or take away points, then there's nothing wrong with

   22   that, that's life.          And in little counties, that happens

   23   all the time.       In urban areas it's rare, but the rules

   24   are the same.       Okay?

   25                   SEVERAL JURY MEMBERS:        Yes.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 21 of 303 PageID 594   21


    1                   THE COURT:     Everyone remember eight from

    2   last night?

    3                   SEVERAL JURY MEMBERS:         Yes.

    4                   THE COURT:     Eight's P.S., you know, the

    5   newspaper, television, radio, media coverage was covered

    6   by eight.

    7                   Everyone remember all that?

    8                   SEVERAL JURY MEMBERS:         Yes.

    9                   THE COURT:     All right.      At the conclusion of

   10   all the evidence, I will submit to you a written charge,

   11   the legal document, you know, with the law and the

   12   instructions and the verdict forms.               Since you will need

   13   to consider all the evidence admitted by me, it is

   14   important that you pay close attention to the evidence

   15   as it is presented.

   16                   And I'll be frank.         The longer the trial,

   17   the more important it is.          Okay.     If this were a stop

   18   sign, roll through a stop sign, one witness, one-and-a-

   19   half-hour trial and you decide did they stop or not,

   20   that rule is important, but it's easy to follow.

   21   Because the jury gets picked, the evidence is put on and

   22   you deliberate all in the same day, and most humans can

   23   handle that.      When you know it's going to be two or

   24   three weeks, you have to pay particularly good attention

   25   just like when you know you're going to have to take a



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 22 of 303 PageID 595     22


    1   test based on lectures in three weeks, you have to pay

    2   careful attention in class so you don't miss anything.

    3                   Does everyone understand that?

    4                   SEVERAL JURY MEMBERS:        Yes.

    5                   THE COURT:     Because there is no book.          The

    6   court reporter is here as a safety valve in case you

    7   guys get into what the law calls a dispute.               I call it a

    8   friendly and civil argument about what someone said.

    9                   If -- let's go back to the surveyor

   10   situation, and let's say the old oak tree is next to the

   11   property line and half of you think Surveyor Bob or

   12   Surveyor Ann or Surveyor whoever said the Tarrant/Denton

   13   property line is 8.2 blank north/northeast of the old

   14   oak tree, and half of you think they said meters and

   15   half of you think they said feet, and it's important for

   16   you to make a fair decision whether they said meters or

   17   feet, if you send me a note out that says, hey, "We're

   18   in a dispute.       Some of us think it was meters.           Some say

   19   it was feet that Surveyor Bob or Surveyor Ann said.                   Can

   20   you clarify and resolve our dispute," and the answer is

   21   "Absolutely."       "Karen, go to work.        Look up Surveyor

   22   Bob's testimony."        And you'll get an answer that says,

   23   "Question, where was the property line located in

   24   reference to the old oak tree?            Answer, 8.2 meters,

   25   feet, yards, centimeters," whatever the answer was,



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 23 of 303 PageID 596    23


    1   north/northeast, and that's all you get.

    2                   If you send out a note out and say, hey,

    3   "You know, it's been three weeks, Judge, cut us some

    4   slack.     We don't remember what Surveyor Bob said,"

    5   you'll get an answer that says, hey, You are the

    6   factfinders, not me, and certainly not Karen."                It's

    7   your job to remember that.          I can resolve disagreements,

    8   but I cannot just provide information because you don't

    9   remember.      Might not be a fair rule, but it's been in

   10   our system for 250 years and I don't have the authority

   11   or the desire to change it.

   12                   So everyone clear on that?

   13                   SEVERAL JURY MEMBERS:        Yes.

   14                   THE COURT:     Does anyone have any questions

   15   about one through eight and the court reporter rule?

   16                   SEVERAL JURY MEMBERS:        No.

   17                   THE COURT:     All right.      Then let's look at

   18   the bottom of the paragraph.           I get no pleasure reading

   19   this, but it is absolutely important that I do so.

   20                   Texas law permits proof of any violation of

   21   these rules of proper jury conduct.               And by this I mean

   22   that jurors and others may be called upon to testify in

   23   open court about acts of jury misconduct.               So I instruct

   24   you, therefore, to follow carefully all instructions

   25   which I have given you, as well as any others which you



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 24 of 303 PageID 597        24


    1   will later receive while this case is on trial.

    2                   You remember in the discussion in jury

    3   selection and someone's immigration status was discussed

    4   during deliberations by the juror and there were those

    5   concerns and I said was that in evidence and she said

    6   yes and I kind of relaxed?          Well, because if it hadn't

    7   been, that would have been jury misconduct, because it

    8   wasn't evidence, had nothing to do with the trial.                    If

    9   it was in evidence, it was fair game to figure how would

   10   that affect that person's ability to comply or the

   11   effects of the sentence.

   12                   Do y'all remember that discussion?

   13                   SEVERAL JURY MEMBERS:        Yes.

   14                   THE COURT:     All right.      Well, there's a

   15   reason for that.        Because you're not supposed to inject

   16   stuff in the jury room that's not in the trial, whether

   17   it be your life experience or testimony or evidence or

   18   observations of what people do not in the hall versus

   19   what they said in the courtroom.

   20                   So everyone good with all this?

   21                   SEVERAL JURY MEMBERS:        Yes.

   22                   THE COURT:     All right.      Excellent.     Because

   23   if you follow all these rules that I give you, either

   24   verbally, in writing in this blue card, in writing in

   25   the lengthy document you get for deliberations, there's



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 25 of 303 PageID 598        25


    1   two very important things that are going to result.

    2   Number one is you will render a true verdict according

    3   to the law.      And number two is both sides will get a

    4   fair trial regardless of the ultimate decision you make

    5   after you decide what are the facts and what do they or

    6   do they not prove.

    7                   Do you have any housekeeping questions that

    8   don't deal with the specific law and facts of this case?

    9   Can we take notes?        No.    That's the most common

   10   question.      All right.

   11                   Members of the jury, the trial of a criminal

   12   case generally takes place in the following fashion:

   13                   First thing that will happen, I will ask

   14   Defense Counsel and the Defendant to stand.               I will ask

   15   a representative of the State to come forward and the

   16   allegations or charges in each of the paragraphs of the

   17   indictment will be read in open court verbatim.                   And at

   18   the conclusion of the reading of the indictment, I will

   19   accept the Defendant's pleas individually to each

   20   charging paragraph of the indictment.

   21                   After the Defendant has entered his pleas, I

   22   have to give both sides the opportunity, if they wish,

   23   to make what's known as an opening statement.                An

   24   opening statement is when an attorney stands before you

   25   and tells what you they expect the evidence is going to



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 26 of 303 PageID 599   26


    1   show during the presentation of their case.               I remind

    2   you, as I have repeatedly, what the lawyers say, for

    3   that matter what the judge says, is never evidence

    4   unless you're specifically instructed that it can be.

    5                   An opening statement some people have

    6   referred to as a roadmap of what to look for so you

    7   understand it if and when it arrives and particularly

    8   understand it in the context of the rest of the case.

    9                   After any opening statements have been

   10   given, the State is called upon to present its case.

   11   The State goes first.         As you recall, they have the

   12   burden of proof.        When the State has presented its case,

   13   when they're done, they will stand up and say the State

   14   rests.     When the State rests its case, the Defense is

   15   given the opportunity to present evidence, even though

   16   by now you should understand they have no legal

   17   obligation to do so.         They just have a right to do so,

   18   if they choose.       So after the Defense presents its

   19   evidence, or even if they present nothing at all, when

   20   they're through, they will stand up and say the Defense

   21   rests.

   22                   If the Defense does put on evidence, the

   23   State has the right to address that evidence in what's

   24   called the rebuttal phase of the trial and to put on

   25   rebuttal evidence.        If the State puts on more, the



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 27 of 303 PageID 600         27


    1   Defense is given the opportunity to put on more if they

    2   choose to address the new evidence from the State.

    3                   So you could have both sides go back and

    4   forth with witnesses, one or more sometimes.                It could

    5   be the State puts on the only evidence you hear and your

    6   job is simply to judge the character and quality of that

    7   evidence.      But in any event, when both sides have

    8   presented everything that will be presented, you will

    9   hear them stand up and say we close.              When you hear the

   10   "close" word, that's a signal to you and a signal to me

   11   that all evidence has been presented.              It's particularly

   12   a signal to me of "Okay, Judge, and you Karen draft the

   13   Court's Charge," the law and the instructions which

   14   gives the jury each and every opportunity and possible

   15   consideration for charges that have been raised by the

   16   evidence.

   17                   If the -- if the evidence is raised, like

   18   the aggravated robbery example I gave yesterday, that it

   19   may not be a real gun, well, the jury decides that.                    If

   20   there's no evidence disputing whether it's a real gun,

   21   it's whether the crime happened or not, then there's

   22   just one charge.        There could be a lot of charges.              You

   23   remember how that works?          So it's my job to look at the

   24   evidence and anything that any reasonable jury might

   25   think is possible during their deliberations.                I give



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 28 of 303 PageID 601    28


    1   you that option.        And so that depends on how long the

    2   charge is, depending on what the evidence is.                And you

    3   and I will find that out at the same time.

    4                   When the charge is ready and prepared, you

    5   will be brought back into the courtroom.              I will have to

    6   read it to you word for word, even though you take it

    7   with you into the jury room.           But when I've read you the

    8   law and the instructions, each side is given one last

    9   opportunity to address you in what we refer to as final

   10   arguments or closing statements.            And at that time I

   11   expect you will hear both sides argue to you and tell

   12   you why you should vote guilty or not guilty and based

   13   upon the evidence that's actually been presented, not

   14   what them anticipate will be presented.              Again, what

   15   they say is not evidence, but they have the right and,

   16   quite frankly, the duty to point out things to you that

   17   they think are important for your deliberations.

   18                   So after the final arguments or closing

   19   statements are delivered, you are then sent back into

   20   the jury room.       You're given the law in your hands.

   21   This 10- to 15-page document.           You're told to select a

   22   presiding juror to manage your deliberations.                And then,

   23   and only then, you are released from rule four and you

   24   may discuss anything and everything you've heard during

   25   the course of the trial, as it is your duty to do so.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 29 of 303 PageID 602   29


    1   And you deliberate for such period of time, be it

    2   two minutes or two days or any other amount of time.

    3   The law doesn't put a maximum or minimum.               It's when

    4   your conscience and your oath says we have reached a

    5   unanimous verdict consistent with the law of Texas and

    6   facts as we have determined them to be.              And then you

    7   sign a note and let us know when your deliberations are

    8   done.     That is the procedure for a trial.

    9                   Are both sides ready to proceed with the

   10   trial on the merits of The State of Texas versus Thomas

   11   Olivas?

   12                   MR. ROUSSEAU:      State is ready, Your Honor.

   13                   MR. MOORE:     We're ready.

   14                   THE COURT:     All right.      Then, Counsels,

   15   Mr. Olivas, if y'all will, please, stand.

   16                   If I may have a representative of the State

   17   come forward.

   18                   Ms. Ray, thank you.

   19                   And, Mr. Moore, I am going to let Ms. Ray

   20   read the indictment stem to stern and then I'll go back

   21   and accept the individual pleas to each charging

   22   paragraph after the entire document has been read.

   23                   MR. MOORE:     Yes, sir.

   24                   MS. RAY:     Indictment Number 1376698R, in the

   25   name and by authority of the State of Texas, the grand



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 30 of 303 PageID 603   30


    1   jurors of Tarrant County, Texas, duly elected, tried,

    2   impaneled, sworn and charged to inquire of offenses

    3   committed in Tarrant County, in the State of Texas, upon

    4   their oaths do present in and so the Criminal District

    5   Court No. 3, of said County, that Thomas Olivas,

    6   hereinafter called Defendant, in the County of Tarrant

    7   and state aforesaid, on or about the 20th day of March

    8   2011, did then and there intentionally or knowingly

    9   cause the death of an individual, Mechelle Gandy, by

   10   cutting her or stabbing her with an item, the exact

   11   nature of which is unknown to the grand jury, and during

   12   the same criminal transaction the Defendant

   13   intentionally or knowingly caused the death of another

   14   individual, Asher Olivas, by setting fire to his body by

   15   igniting a combustible or flammable material with an

   16   open flame.

   17                   Paragraph Two.      And it is further presented

   18   in and to said Court that the Defendant, in the County

   19   of Tarrant and State aforesaid, on or about the 20th day

   20   of March, 2011, did then and there intentionally or

   21   knowingly cause the death of an individual, Mechelle

   22   Gandy, but cutting her or stabbing her with an item, the

   23   exact nature of which is unknown to the grand jury, and

   24   during the same criminal transaction the Defendant

   25   intentionally or knowingly caused the death of another



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 31 of 303 PageID 604   31


    1   individual, Asher Olivas, by setting fire to a

    2   combustible or flammable material, with an open flame,

    3   in close proximity to the body of Asher Olivas.

    4                   Paragraph Three.       And it is further

    5   presented in and to said Court that the Defendant, in

    6   the County of Tarrant and State aforesaid, on or about

    7   20th day of March, 2011, did then and there

    8   intentionally or knowingly cause the death of an

    9   individual, Mechelle Gandy, by cutting her or stabbing

   10   her with an item, the exact nature of which is unknown

   11   to the grand jury, and during the same criminal

   12   transaction the Defendant intentionally or knowingly

   13   caused the death of another individual, Asher Olivas, by

   14   suffocating him by means unknown to the grand jury.

   15                   Paragraph Four.       And it is further presented

   16   in and to said Court that the Defendant, in the County

   17   of Tarrant and State aforesaid, on or about the 20th day

   18   of March, 2011, did then and there intentionally or

   19   knowingly cause the death of an individual, Mechelle

   20   Gandy, by cutting her or stabbing her with an item, the

   21   exact nature of which is unknown to the grand jury, and

   22   during the same criminal transaction the Defendant

   23   intentionally or knowingly caused death of another

   24   individual, Asher Olivas, in a manner and by a means

   25   which is unknown to the grand jury.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 32 of 303 PageID 605   32


    1                   Against the peace and dignity of the State,

    2   signed Joe Shannon, Jr., the Criminal District Attorney

    3   of Tarrant County, Texas, and the foreman of the grand

    4   jury.

    5                   THE COURT:     All right.      Thomas Olivas, in

    6   Indictment Number 1376698R, to the allegations of

    7   capital murder as set out in Paragraph 0ne of this

    8   indictment, what is your plea, guilty or not guilty?

    9                   THE DEFENDANT:      Not guilty, Your Honor.

   10                   THE COURT:     To the allegation of capital

   11   murder as set out in Paragraph Two of the same

   12   indictment, what is your plea, sir, guilty or not

   13   guilty?

   14                   THE DEFENDANT:      Not guilty.

   15                   THE COURT:     To the allegation in Paragraph

   16   Three of the same indictment, to the allegation of

   17   capital murder as so stated, what is your plea, guilty

   18   or not guilty?

   19                   THE DEFENDANT:      Not guilty.

   20                   THE COURT:     To the allegation of capital

   21   murder as set out in Paragraph Four of that same

   22   indictment, what is your plea, guilty or not guilty?

   23                   THE DEFENDANT:      Not guilty.

   24                   THE COURT:     Y'all may be seated.

   25                   Let the record reflect the Defendant entered



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 33 of 303 PageID 606   33


    1   pleas of not guilty to all charging paragraphs in open

    2   court, in the presence of the jury.

    3                   Does the State wish to make opening

    4   statement?

    5                   MR. ROUSSEAU:      We do, Your Honor.

    6                   THE COURT:     You have the floor.

    7                   MR. ROUSSEAU:      Thank you, Judge.

    8                        STATE'S OPENING STATEMENT

    9                   MR. ROUSSEAU:      Good morning, folks.

   10                   SEVERAL JURY MEMBERS:        Morning.

   11                   MR. ROUSSEAU:      This is about the last time

   12   we'll get to speak to each other I suppose, and both of

   13   us speak, at least for a long time because we're going

   14   to buckle in now for what's going to be a pretty long

   15   haul.     The judge has told you, and we've all spent a lot

   16   of time yesterday explaining to you folks, that this is

   17   going to be a long trial.          And during the course of the

   18   next two to three weeks, however long it takes --

   19   sometimes these things are very difficult to estimate,

   20   because you never know how long witnesses may take.

   21   Can't always anticipate delays.            And sometimes they

   22   happen.     But two to three weeks I think is fair.

   23                   Over the course of the next two or

   24   three weeks, we're going to bring you an awful lot of

   25   evidence.      Some of it will be very small pieces of



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 34 of 303 PageID 607      34


    1   evidence.      Some of it will be large pieces of evidence.

    2   Some of it will be relatively unimportant, while others

    3   is -- other bits are terribly important.              But it is

    4   going to be our intention and our plan to bring you all

    5   of the evidence that we can, all the evidence that we

    6   have.    And we will do everything we can to explain to

    7   you what efforts we have made to obtain evidence that we

    8   don't have.

    9                   We will bring you evidence, whether it

   10   directly points a finger of guilt at the Defendant or

   11   whether it doesn't point at anybody at all, because we

   12   want you to understand that we have done the work.                    When

   13   we are done here -- when we're done here, finally, one

   14   of the things that I do not believe that you will be

   15   thinking is:      Why didn't they do something else?             You

   16   will know that much.

   17                   On March the 20th, 2011, around ten minutes

   18   after 10:00 at night, it was a Sunday, a 9-1-1 call was

   19   received by Arlington emergency folks, Arlington Police

   20   Department, "There's a fire, a fire at the Presidents

   21   Corner Apartments."

   22                   We're going to bring to you the person who

   23   made that phone call, because that person is an

   24   eyewitness to the events that we're going to be talking

   25   about.     They're going to tell you that there was a fire,



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 35 of 303 PageID 608         35


    1   a fire broke had broken out in the apartments right next

    2   door to their own, that there was -- there were flames

    3   shooting out the back of the apartment, and that they

    4   were in an absolute state of panic because they knew,

    5   they knew that their neighbor, Mechelle Gandy, and her

    6   13-month-old son, Asher Rion Olivas, were in that

    7   apartment.      The car was sitting out front.           They knew

    8   she was -- they knew if she's home -- if that car is

    9   there, she's home.        And if she's home, the baby is home.

   10   And they knew there was a disaster underway.

   11                   You're going to hear from the firefighters

   12   who responded to that scene.           They were there within

   13   three and a half minutes.          The fire department, the

   14   station, is just around the corner.               This little -- this

   15   area -- and I apologize.          I haven't told you this.            The

   16   area that we're talking about, Presidents Corner

   17   Apartment, is in the northwest quadrant of the

   18   intersection of Lamar Boulevard and Collins, in North

   19   Arlington.      A good landmark would be Cowboys Stadium is

   20   south -- just south of Interstate 30.               This is just on

   21   the north side of Interstate 30, roughly, roughly

   22   parallel, roughly in a line, and that's where this is

   23   taking place.

   24                   The firefighters show up and they are then

   25   faced with what can only be described as living hell.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 36 of 303 PageID 609        36


    1   The apartment was fully engulfed from the back of the

    2   apartment moving into the front of the apartment.

    3   Firefighters immediately entered the apartment.                 One

    4   group goes to the right.          They begin searching for

    5   victims, while the other -- while the group right behind

    6   them proceeds into the apartment with a hose, ready to

    7   put out whatever fire they can.

    8                   You're going to hear from those

    9   firefighters.       You're going to hear that the body of

   10   Mechelle Gandy was discovered almost immediately in the

   11   kitchen, which is just inside the front door and

   12   slightly to the left.         The firefighters immediately

   13   began trying to pull her out.           They got her to the front

   14   door where they had to hand her off to another group of

   15   firefighters, who had by then managed to rush up to the

   16   door.

   17                   Meanwhile, the other group of firefighters

   18   had already entered the apartment searching for victims,

   19   had exited, and they were met with a wall of flames,

   20   they could go no further than that and had to find

   21   another way to enter the apartment, which they did.                   It

   22   took a period of minutes to get the fire knocked down

   23   sufficiently to where they could at least enter safely

   24   and continue their search.

   25                   And they did conduct a search.           They



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 37 of 303 PageID 610   37


    1   searched for hours and hours and hours and hours looking

    2   for Asher Olivas, because it was their understanding

    3   that he was there.        Mechelle, unfortunately, had -- was

    4   dead already.       Efforts to resuscitate her were

    5   completely futile.        She had already been killed.

    6                   And you're going to hear the observations of

    7   the firefighters on the scene.            It was obvious to them

    8   immediately this was not a fire victim.               She was stabbed

    9   to death.      They saw it immediately.           And they carried

   10   her out and they laid her out of harm's way as best they

   11   could.     But I'm afraid there's not a lot of dignity

   12   involved.      She's just in a parking lot, just off the

   13   sidewalk, in the front of her apartment.

   14                   Meanwhile, they know that a baby is supposed

   15   to be in that apartment.          And so they're searching as

   16   best they can, but hours go by and they have not found a

   17   body.    They have not found little Asher.             Meanwhile,

   18   police are dispatched over to the home of Mechelle

   19   Gandy's parents to make notifications, and also to

   20   see -- to try to find out if there's any lead, is

   21   there's any other place where Asher might be.

   22                   In the process of doing this, in talking to

   23   her parents and talking to other members of the family,

   24   they come up with the name of Thomas Olivas as the

   25   baby's father.       And they discover right then, that



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 38 of 303 PageID 611     38


    1   night, of an ongoing situation where Mechelle Gandy has

    2   been attempting to force Thomas Olivas to pay child

    3   support, to step up, take responsibility as the father

    4   of this child and pay child support.              This had been an

    5   ongoing situation, and they quickly discover that

    6   Mechelle Gandy has also been in communications with

    7   Thomas Olivas' live-in girlfriend, his live-in

    8   girlfriend and the mother of his child, his other child,

    9   the one that he acknowledges.

   10                   While the police are there, talking to her

   11   family, explaining to them that the -- their daughter is

   12   now deceased, that she's been murdered, they get word

   13   that Asher's body has been found.            And that's at 2:45 in

   14   the morning, when the police had been on the scene for

   15   four and a half hours -- I'm sorry -- the firefighters

   16   had been on the scene for four and a half hours.                   It

   17   takes that long to discover Asher's body, because it's

   18   in a room, his room, the only room where he could be and

   19   it's in the room that is most destroyed.              There's not a

   20   single identifiable item left in that room other than a

   21   hot water heater, which had been in a closet.                The

   22   closet's all been burned away.            There's nothing left of

   23   the hot water heater.         There's not a single identifiable

   24   piece of furniture.        Nothing.     And Asher is found under

   25   a layer of ashes on the springs of the mattress on his



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 39 of 303 PageID 612   39


    1   baby bed.

    2                   And the police have to make that second

    3   notification to the family, second notification within a

    4   few hours that now, in addition to their daughter being

    5   gone, their grandson is gone, too.

    6                   They begin trying to make contact with

    7   anybody, anybody that might have any contact with --

    8   might have had any contact with Mechelle who might be

    9   able to shed light on this.           And they started trying to

   10   contact Thomas Olivas right away, because until they

   11   found Asher, they didn't know if he was -- hope against

   12   hope, he might still be alive.            He might possibly be

   13   in the custody of his father.           No reason to really think

   14   that would happen, but who knows.            Let's hope for the

   15   best.    So they were trying.         They tried to contact

   16   Thomas Olivas, but efforts to contact him failed and

   17   went to voicemail.

   18                   But the police eventually did catch up with

   19   Thomas Olivas.       They needed to talk to him and they went

   20   to see him the next day.          They went to his job, where he

   21   was working, at Best Buy.          You're going to hear that

   22   Thomas Olivas was at that time a member of the United

   23   States Air Force Reserve, that he worked at Best Buy

   24   selling electronics and that he was a server at a

   25   restaurant called Truluck's in Southlake.               He lived in



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 40 of 303 PageID 613    40


    1   Grapevine.      They caught up with him as he was -- made

    2   contact with him as he got back to his apartment.                 He

    3   was driving a vehicle that was not his, belonged to a

    4   woman named Amanda Rowe.

    5                   Now, they eventually talked to Thomas

    6   Olivas.     He voluntarily went down to the police station

    7   with them.      And they -- even though this was an

    8   Arlington case, out of courtesy and convenience, they

    9   used the Grapevine Police Department.               The Grapevine PD

   10   made their facilities available for Arlington to use and

   11   an interview with Thomas Olivas occurred there at

   12   Grapevine.      And they interviewed Thomas Olivas off and

   13   on, but mostly on, for the better part of five hours.

   14   And you're going to hear that interview, and I'm going

   15   to tell you -- just warn you in advance, it's going to

   16   be long, it's going to be tedious.             There will be plenty

   17   of moments in there where you think this is, quite

   18   frankly, pretty dull, pretty dull, but there are moments

   19   that are extremely important.

   20                   Information comes out during that interview

   21   that is extremely important.           Thomas Olivas never

   22   acknowledged being the killer here.               You're going to

   23   hear that.      But you're going also to hear Thomas Olivas

   24   lie repeatedly about the things that he did the previous

   25   night.     Remember, this is just the previous night that



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 41 of 303 PageID 614     41


    1   he's talking about, about the things that he did the

    2   previous night, about the vehicle that he was driving,

    3   and about the reasons why that vehicle reeked of

    4   gasoline.

    5                   You're going to later hear from the state

    6   fire marshal's office who will testify that samples that

    7   they tested from that fire revealed the presence of

    8   gasoline.      You're going to hear that there was gasoline

    9   found on the bodies of Asher and Mechelle, as well as in

   10   the baby's bedroom itself, away from the body.                And

   11   you're going to hear from the woman who actually owned

   12   this car.      This is another woman that Rion -- that

   13   Thomas had been sleeping with.            And she's going to tell

   14   you about the explanation that he gave her for needing

   15   to borrow a car for that weekend.

   16                   But you're also going to hear from Thomas

   17   Olivas' now ex-girlfriend, the mother of his child.                   And

   18   she's going to tell you about the events over the course

   19   of several months, culminating the week of the murders,

   20   four days before the murders, that set this whole thing

   21   off.    She's going to tell you that she had been in

   22   contact with a woman named Mechelle Gandy, who at first

   23   she just thought Mechelle Gandy was a crazy person who

   24   was trying to pursue her boyfriend, because that was

   25   Thomas' explanation to her, but over the course of



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 42 of 303 PageID 615   42


    1   several months, more and more information was given to

    2   her, and finally in the week, on the Wednesday night

    3   before this all happened -- and this happened on a

    4   Sunday.     On the preceding Wednesday night Rebeca

    5   confronted Thomas with this -- with these allegations,

    6   specifically that he was, in fact, the father of this

    7   woman -- he had been having an affair, that he was the

    8   father of this woman's child and if he's not, then why

    9   doesn't he step up and prove it, why doesn't he do

   10   something about it, take responsibility one way or

   11   another.

   12                   And she showed him messages and photographs

   13   that had been forwarded on her cell phone, that had been

   14   sent to her by Mechelle that could only have originated

   15   from Thomas.      At that, he lost it.         The argument

   16   became -- the argument did not become physically

   17   violent, but it was intense.           He threw her out of the

   18   apartment at about 10:00, 10:15 at night.               She takes the

   19   kids and she's preparing to leave.             He takes her phone

   20   out of her hand, the phone she had shown him, and he

   21   throws it into the parking lot where it shatters.

   22                   She leaves.      She goes to her father's house,

   23   who fortunately only lived maybe a half mile away, just

   24   around the corner, essentially.            And she stayed there

   25   and she still lives there to this day.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 43 of 303 PageID 616   43


    1                   Then you're going to hear that over the

    2   course of the next few days, the Defendant made a rather

    3   half-hearted suicide attempt.           He took pills,

    4   medications that had been prescribed to Rebeca, that had

    5   been left at the apartment.           He called a couple of

    6   friends from out of town, said he wasn't doing well and

    7   they offered to come up and stay with him for a day or

    8   two just to make sure he's okay.            They did.     They came

    9   into town.

   10                   And you're going to hear from one of them.

   11   They're going to be here to explain to you the things

   12   they did.      They left about noon or so on Sunday

   13   afternoon, the day of the murders.             And then after they

   14   left, from about early in the afternoon, right up until

   15   about 7:00 o'clock at night, there were a series --

   16   there were dozens and dozens and dozens of telephone

   17   communications between Thomas and Mechelle Gandy,

   18   dozens, that started with him calling her.

   19                   He's going to acknowledge to you in his

   20   interview with the police the same things that Rebeca

   21   will have said, that this -- that he was aware that

   22   Mechelle had instituted legal proceedings with the

   23   Attorney General's Office to force him to pay child

   24   support, that she had been served with the papers.

   25   That's the way it's done.          Both parties are served with



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 44 of 303 PageID 617     44


    1   the papers by the Attorney General's Office.                She had

    2   gotten hers and they had communicated and she had told

    3   him that she had some questions about the papers, could

    4   they get together and talk about it to see if they

    5   could, I don't know, understand the paperwork together.

    6                   Arrangements were made for him to go to her

    7   apartment that night.         He was supposed to meet her that

    8   night.     He will acknowledge driving to her apartment

    9   that night.      He will acknowledge getting to just around

   10   the corner from her apartment that night, but that's as

   11   far as he will go.        Instead, he told the police that he

   12   drove up and down Lamar Boulevard for hours, that he

   13   tried to contact her, but he just couldn't get ahold of

   14   her and he finally just gave up.

   15                   Ladies and gentlemen, you're going to hear,

   16   however, that actual -- he had actual knowledge of what

   17   her actual address was, the exact apartment number.                   All

   18   communication between them ceased at around 7:00

   19   o'clock.     All communication on his phone, outgoing,

   20   ceased at around 7:00 o'clock, give or take.                I'm

   21   ballparking it here.         You'll see the records.         Her

   22   telephone communications ceased.            There had been 50

   23   some-odd communications between them up until that time

   24   that day, nothing for about that three-hour window, as

   25   if they were in the same room and no longer needed to



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 45 of 303 PageID 618   45


    1   communicate by telephone, until 10:07 at night.                At

    2   10:07 at night he sends her a text message that says

    3   words to this effect, "Sorry, I can't come.               I don't

    4   have a car," 10:07 at night.

    5                   You're going to hear that that text message

    6   was sent while it -- while his telephone was in

    7   approximately -- was within about a half mile of her

    8   apartment.      The cell tower that handled that call, that

    9   picked up the signal to handle that -- not call, text

   10   message, was the one closest to her apartment.                It says,

   11   "Sorry, I can't come.         I've got no phone -- I've got no

   12   car."    Three minutes later, three minutes later the

   13   first 9-1-1 call came in.          The place is on fire.

   14                   We're going to bring it all to you, ladies

   15   and gentlemen.       And, as I said, we're going to ask for

   16   your patience.       We're going to ask you to pay attention

   17   and I will just give you fair warning, this is going to

   18   be a long trial with a lot of witnesses.              We'll do our

   19   best to bring it to you in chronological order, but

   20   people have schedules, witnesses can sometimes run long.

   21   We will do our best.         You may have to jump back and

   22   forth a little bit in your mind.            We will do our best to

   23   bring it to you in a coherent and organized fashion.

   24                   If you pay attention closely, keep an open

   25   mind -- I do invite you to keep open mind -- if you do



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 46 of 303 PageID 619     46


    1   all that, I have no doubt when this trial is over you're

    2   going to be as -- you are going to be completely

    3   convinced as to the guilt of Thomas Olivas for the

    4   capital murders of Mechelle Gandy and Asher Rion Olivas.

    5   Thank you.

    6                   THE COURT:     Does Defense wish to make

    7   opening statement at this time or reserve?

    8                   MS. KEENE:     We do, Judge.

    9                   THE COURT:     You may proceed.

   10                     DEFENDANT'S OPENING STATEMENT

   11                   MS. KEENE:     I've not had a chance to talk

   12   with you and I won't really get to again for another

   13   couple of weeks.        But I want to start off by telling you

   14   that Thomas Olivas did not kill Mechelle Gandy.                Thomas

   15   Olivas did not kill that sweet baby, Asher.               He simply

   16   did not do it.       They were victims of a horrific,

   17   horrible crime.       And the question is, who did it?            And

   18   it's not the person that's sitting over there.

   19                   You will not hear in the next two or three

   20   weeks any evidence, any direct evidence that ties him to

   21   this crime.      Not a single fingerprint, no DNA, no blood

   22   on him, no blood anywhere.          None of his there.        None of

   23   hers in his car, in his house, on his clothes.                You'll

   24   not hear any direct evidence.           No actual gas on his

   25   clothes.     No gas in the car.        No gas in his house.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 47 of 303 PageID 620         47


    1                   What you are going to hear for two or

    2   three weeks is a lot of inferences, a lot of things that

    3   put him in the suspect column, a column he should be in.

    4   Any time a woman is killed, the father, baby daddy,

    5   husband, whoever, will get put in that column.                That is

    6   a given.     Unfortunately, it's just the nature of who we

    7   are.    But it does not always mean that they did it.

    8                   And the Michael Morton case itself shows

    9   that.

   10                   MR. ROUSSEAU:      Your Honor, I'm going to

   11   object to this.       This is -- she's out of line and this

   12   is --

   13                   THE COURT:     Well, that's arguing outside the

   14   trial record.

   15                   MR. ROUSSEAU:      It's pure argument, as well,

   16   Your Honor.

   17                   THE COURT:     Well, sustained only to the

   18   Michael Morton comment.

   19                   MS. KEENE:     The police confronted Thomas

   20   pretty much immediately after this crime and Thomas

   21   cooperated with the police.           Thomas talked to them.

   22   Thomas gave them his telephone, "Here, dump it."                 "Read

   23   it."    "Look at it."      It's an iPhone.        It's the type of

   24   phone that tells everything about you as a person.                    The

   25   police had that.        He gave it to them.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 48 of 303 PageID 621       48


    1                   The clothes, "Here's the clothes."              "Search

    2   the house."      Thomas cooperated.        Search, having pictures

    3   of his body.      He contemplated should I or shouldn't I?

    4   "I don't know."

    5                   "Search of the car?"

    6                   "I don't know."       But in the end he said yes

    7   to everything.       "Search me."      "Look at me."      He

    8   cooperated with the police.           Thomas was the suspect from

    9   the get-go and he was a suspect because he was supposed

   10   to meet with Mechelle Gandy.           That is a fact.         It also

   11   puts him in the suspect column.            No question about it.

   12                   But Thomas didn't know where she lived and

   13   in the text messages you'll even see where she says,

   14   "Call me and I'll give you directions."              He didn't know

   15   where her house was.         In fact, when you look at the cell

   16   phone records, they're going to be pivotal in this case,

   17   period, because they're going to show him driving up and

   18   down during this time period.           He never saw her that

   19   night, because he's driving around and he ends up at a

   20   bar where there's some pool and beer.              And that's the

   21   inference they take.         That puts him in the suspect

   22   column.

   23                   When the police got this case, of course, he

   24   becomes person of interest number one, really as he

   25   should, based on the issues with the kiddo and the



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 49 of 303 PageID 622     49


    1   paternity and based on him going to meet her.                And he,

    2   of course, tells them he was in Arlington, he was

    3   supposed to meet her, he just didn't.              So that puts him

    4   in the suspect column.

    5                   But also what happened is the police

    6   began -- very early on there's another suspect.                Bam.

    7   Hits them.      Rises up very quickly.         And that is a

    8   stalker that Mechelle had been having in the past

    9   several months.       Mechelle worked -- the victim in this

   10   case worked at the 7-Eleven.           And working at the

   11   7-Eleven she had picked up a person who had come in

   12   there and taken him home to have sex with him at her

   13   house, at her apartment, where she was killed.                And that

   14   person became a stalker and became a person to such an

   15   extent that she needed to get a gun to protect herself.

   16   And so that became a real suspect for the police to

   17   begin to look at, too.

   18                   Anything that we talk about in this case,

   19   the next couple of weeks, that deals with Mechelle, do

   20   not take it as us trying to trash her.              Okay?    There is

   21   no judgment in any -- picking someone up.               There is no

   22   judgment from that, period, because that's just

   23   irrelevant.      It's irrelevant if a prostitute or a nun is

   24   given.     That's irrelevant.       But what is relevant is if

   25   it creates suspects or if it creates the type of



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 50 of 303 PageID 623     50


    1   lifestyle that you need to look at other people to see

    2   if it could have been a person that killed her.

    3                   Mechelle picked up random guys from the

    4   7-Eleven and she brought them back to her house and she

    5   had sex with them.        That is a given and that is a truth

    6   and that is her lifestyle.          And the police did zero

    7   investigation into any of these suspects.               What you're

    8   going to hear about is the police zeroed in on the

    9   stalker and did what they did to say we eliminate him.

   10   And once they did that, they said we're not turning over

   11   any more stones.        We're not looking any deeper.          We're

   12   happy with what we got on Thomas.            We're happy with the

   13   inferences.      No confession.       No direct evidence.        No

   14   eyewitnesses.       Just inferences.

   15                   What you're going to hear about is that

   16   there was an incomplete, if not incompetent,

   17   investigation in this case.           And you're going to hear

   18   about that for three -- for the next two weeks.                The

   19   crime happened on March the 20th of 2011 and within a

   20   month to two months pretty much all the evidence that

   21   you're going to hear in this courtroom was developed.

   22   But Thomas Olivas was not arrested in March of 2011.

   23   The police allowed him to continue to be free.                Thomas

   24   wasn't arrested in April of 2011.            They allowed him to

   25   be free.     Thomas wasn't arrested in May, June, July.                He



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 51 of 303 PageID 624   51


    1   wasn't arrested in August.          He wasn't in arrested in

    2   September.      Thomas wasn't arrested, with the same

    3   evidence you're going to hear about, in October 2011.

    4   He wasn't arrested in November of 2011.              He wasn't

    5   arrested in December of 2011.

    6                   What you're going to hear about is that it

    7   was not until November of 2012 that the police decided

    8   we're going to arrest him on the same evidence they'd

    9   had for the past year and a half.            This case is not

   10   beyond a reasonable doubt.          They have determined based

   11   on inferences that Thomas looks guilty.              And maybe he

   12   does.    Maybe he does.       But looking guilty does not make

   13   a person guilty.

   14                   And so we believe that at the end of this

   15   trial you're going to have Thomas supposed to meet with

   16   the victim of the crime.          No evidence that he ever did.

   17   You're going to have Thomas in the vicinity, but no

   18   evidence that he was actually there.              You'll have

   19   evidence that Thomas had some scratches on his body or

   20   some marks.      You'll have evidence that there was a smell

   21   of gasoline in his car.          And based on those pieces of

   22   evidence, they're going to ask you to find him guilty.

   23   And I anticipate that that is going to be the sum total

   24   of their case.

   25                   And at the conclusion of the evidence and



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 52 of 303 PageID 625   52


    1   after looking at all the different folks that really

    2   could have been involved in this, and maybe we could

    3   make as many inferences against them, I believe that you

    4   will not love your verdict, as you'll want to solve the

    5   case, and everybody does, but I believe that you will

    6   follow the constitution and you will say this case has

    7   just not risen to the evidence of beyond a reasonable

    8   doubt.     Thank you.

    9                   THE COURT:     Y'all approach briefly.

   10                   (Discussion at the bench, off the record)

   11                   THE COURT:     All right.      You can call and

   12   identify your first witness.

   13                   MS. RAY:     Your Honor, we call Toni

   14   Gutierrez.

   15                   (Witness takes the stand)

   16                   THE COURT:     All right.      Now, state your

   17   full, legal name, please, for the court reporter and

   18   members of the jury.

   19                   THE WITNESS:      Toni Gutierrez.

   20                   THE COURT:     I need you to face me and raise

   21   your right hand.

   22                   (One witness sworn)

   23                   THE COURT:     Have you ever testified before

   24   in district court?

   25                   THE WITNESS:      Yes.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 53 of 303 PageID 626   53


    1                    THE COURT:     Are you familiar with the rules

    2   that apply to all witnesses, where you may and may not

    3   be, who you may and may not talk to?

    4                    THE WITNESS:     Yes.

    5                    THE COURT:     Those rules apply in this case,

    6   as they do in most.         Just make sure that you follow

    7   them.

    8                    THE WITNESS:     Yes, sir.

    9                    THE COURT:     Tamla.

   10                    MS. RAY:     Thank you, Your Honor.

   11                               TONI GUTIERREZ,

   12   having been first duly sworn, testified as follows:

   13                            DIRECT EXAMINATION

   14   BY MS. RAY:

   15       Q.   Ms. Gutierrez, could you, please, introduce

   16   yourself to the jury and tell them who you work for.

   17       A.   Okay.     I'm Toni Gutierrez.        I work for the City

   18   of Arlington Fire Department, Dispatch Services.

   19       Q.   And how long have you worked for them?

   20       A.   Thirty-two years.

   21       Q.   And what is your position in that organization?

   22       A.   I am a communication supervisor.

   23       Q.   And how long have you been a communication

   24   supervisor?

   25       A.   For 25 years.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 54 of 303 PageID 627   54


    1       Q.    And what job do y'all do with the -- say it

    2   again.     That's a long name.        Where do you work again?

    3       A.    The City of Arlington Fire Department, Dispatch

    4   Services.

    5       Q.    What do y'all do?

    6       A.    We -- we're the dispatch center.           That's where

    7   all the emergency calls come in.

    8       Q.    You stated that you have been the communications

    9   supervisor?

   10       A.    Yes.

   11       Q.    What does that entail?

   12       A.    I supervise fire dispatchers, police dispatchers,

   13   and 9-1-1 operators.

   14       Q.    And you've held that position for 22 years?

   15       A.    Twenty-five.

   16       Q.    Twenty-five.     So if I live within the City of

   17   Arlington and I call 9-1-1, it will be your people that

   18   I'm talking to?

   19       A.    Yes, ma'am.

   20       Q.    When I call 9-1-1, how are calls generated and

   21   recorded, generally?

   22       A.    They're automatically recorded on a digital audio

   23   system.

   24       Q.    Is there a way for you, or anyone else, to go in

   25   to the system and change a call?



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 55 of 303 PageID 628    55


    1       A.   No, ma'am.

    2       Q.   Even as a supervisor you can't do it?

    3       A.   No, ma'am.

    4       Q.   Do you also hold the role as custodian of

    5   records?

    6       A.   Yes.

    7       Q.   And what does that mean to be a custodian of

    8   records?

    9       A.   Custodian of records, I have to ensure that calls

   10   are recorded appropriately, anything that comes out of

   11   our dispatch center is authenticate, any paperwork that

   12   accompanies the audio is from our center, and

   13   authenticate, also.

   14       Q.   About how many call takers do you supervise?

   15       A.   On dayshift, because I'm a dayshift supervisor,

   16   usually about seven 9-1-1 operators.

   17       Q.   And do you know -- have you ever supervised

   18   nightshift?

   19       A.   Yes.

   20       Q.   How many generally are on nightshift?

   21       A.   Dayshift, the most about seven right now.               The

   22   evenings about nine.         And nightshift, depending on what

   23   day it is, about eight.

   24       Q.   Are there more days that are busier than others?

   25       A.   Yes, like Friday or Saturday nights.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 56 of 303 PageID 629   56


    1       Q.    And as the custodian of records, is it part of

    2   your job to -- you stated that you maintain the audio

    3   caller -- calls.        Is there also a report that's

    4   generated based on calls to 9-1-1?

    5       A.    Yes.

    6       Q.    And if you could, describe what that report looks

    7   like or what is -- what the purpose is of that report.

    8       A.    It's just a computer-generated printout of the

    9   call into our 9-1-1 center.

   10       Q.    And what sort of information is detailed in that

   11   report?

   12       A.    It has the date and the time that the call comes

   13   in, when the units are dispatched, when they go en

   14   route, when they go on scene, and any pertinent

   15   information that maybe the 9-1-1 operator obtains, and

   16   once it's dispatched, possibly police or fire dispatcher

   17   information that they entered into the call.

   18       Q.    So if someone calls 9-1-1, the information that

   19   they relay to the call taker, the call taker can then

   20   relay to the appropriate agency, be it fire or police;

   21   is that correct?

   22       A.    Correct.    Because the call comes in and it's on a

   23   computer system, so they're entering the information.

   24   As soon as they enter the call, the call will go to the

   25   fire dispatcher and/or the police dispatcher and they



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 57 of 303 PageID 630    57


    1   immediately have it to dispatch.

    2                    MS. RAY:     May I approach the witness, Your

    3   Honor?

    4                    THE COURT:     You may.

    5       Q.   (BY MS. RAY)       Ms. Gutierrez, I'm showing you what

    6   has been previously marked as State's Exhibit 1.                 Are

    7   you familiar with State's Exhibit 1?

    8       A.   Yes, ma'am.

    9       Q.   Okay.     And State's Exhibit 1 is a CD, correct?

   10       A.   Yes.

   11       Q.   And have you listened to the contents of State's

   12   Exhibit 1 prior to your testimony?

   13       A.   Yes.

   14       Q.   And when did you do that?

   15       A.   Today.

   16       Q.   And did you mark it so that you know that it's

   17   the same CD that you listened to?

   18       A.   Yes, ma'am.

   19       Q.   On March 20th, 2011, did the -- did your dispatch

   20   services receive a call pertaining to an incident at

   21   2216 Presidents Corner Drive?

   22       A.   Yes.

   23       Q.   And at what time did y'all receive the call?

   24       A.   The call came in at 10:10 and 52 seconds on March

   25   20, 2011.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 58 of 303 PageID 631   58


    1       Q.   Now, the -- State's Exhibit 1, does that contain

    2   the call in reference to the incident at -- on March

    3   20th, 2011, at 10:10 and 52 seconds?

    4       A.   Yes, ma'am.

    5       Q.   Does the call depicted on State's Exhibit 1, was

    6   it kept in the regular course of business for dispatch

    7   services?

    8       A.   Yes, ma'am.

    9       Q.   Did an employee or representative of the City of

   10   Arlington dispatch services make these records or

   11   transmit this information regarding acts, events,

   12   conditions, opinions, or diagnosis?

   13       A.   Yes.

   14       Q.   Was it done at or near the time or reasonably

   15   soon after the event?

   16       A.   Yes.

   17       Q.   Did the employee or representative who made the

   18   entries have actual knowledge of the events?

   19       A.   Yes.

   20       Q.   Now, the call depicted on State's Exhibit 1, is

   21   that an exact duplicate of the call that y'all received

   22   on March 20th, 2011?

   23       A.   Yes, ma'am.

   24       Q.   Do you recall how many calls you received

   25   pertaining to the incident at 2216 Presidents Corner?



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 59 of 303 PageID 632     59


    1       A.   There were a couple of calls.

    2       Q.   And the report we mentioned earlier was a report

    3   generated based on the call?

    4       A.   Yes.

    5       Q.   And that report indicates that there were more --

    6   there was more than one call?

    7       A.   Yes.

    8       Q.   Does the report indicate what sort of incident

    9   this was, whether you needed to dispatch -- or what sort

   10   of agency needed to be dispatched?

   11       A.   Yes, ma'am.

   12       Q.   What sort of call was it?

   13       A.   It was an apartment fire.

   14       Q.   And do your records indicate at what time you

   15   dispatched someone to address the apartment fire?

   16       A.   Yes, ma'am.

   17       Q.   Can we just --

   18                   THE COURT:     She answered your question.            You

   19   said do the records indicate...            She answered yes.

   20                   Your next question.

   21       Q.   (BY MS. RAY)      And what time do the records

   22   reflect that the fire department was dispatched?

   23       A.   One alarm assignment was dispatched at 10:11 and

   24   9 seconds.

   25                   MS. RAY:     Your Honor, may I approach the



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 60 of 303 PageID 633    60


    1   easel?

    2                   THE COURT:     You may.

    3                   (Pause in proceedings)

    4                   THE COURT:     Carry on.

    5                   MS. RAY:     Thank you, Your Honor.

    6       Q.   (BY MS. RAY)      Okay.    Ms. Gutierrez, at what time

    7   did y'all receive the first 9-1-1 call pertaining to the

    8   fire?

    9       A.   The first one was answered by the 9-1-1 operator

   10   at 22:11 and 9 seconds.

   11       Q.   I'm sorry?

   12       A.   The first call?

   13       Q.   Yes.

   14       A.   The 9-1-1 operator received it at 10 -- well,

   15   I -- did I say it in 24-hour increments?              I said 22:11

   16   and 9 seconds, which is 10:11 and 9 seconds.                Sorry, I

   17   was using military time.

   18       Q.   No need to apologize.

   19                   And nine seconds?

   20       A.   Yes.

   21       Q.   And that would be p.m.?

   22       A.   Yes.

   23       Q.   And do your records indicate at what time the

   24   first fire truck was dispatched to the location?

   25       A.   Yes.    They were dispatched at 10:11 and



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 61 of 303 PageID 634    61


    1   23 seconds.

    2       Q.   And do you know at what time the fire department

    3   made the scene of the location?

    4       A.   They made the scene at 10:14 and 31 seconds p.m.

    5       Q.   Thirty-one seconds?

    6       A.   Yes.

    7       Q.   At some point did another agency, other than the

    8   fire department, also get dispatched?

    9       A.   Yes.

   10       Q.   And at what time -- which agency was it and at

   11   what time did it also get dispatched?

   12       A.   The police department was requested.             And 10:19

   13   and 20 seconds.

   14       Q.   Who would have made such a request?             Is that

   15   something based on another call or would the fire

   16   department -- how would it work that an additional

   17   request would be made?

   18       A.   The fire department requested the police

   19   department to go block a couple of streets.               That's why

   20   they were requested initially.

   21       Q.   Okay.    Did -- does it show -- do the records

   22   indicate that a subsequent request was made?

   23       A.   Yes, for the police department.            They were

   24   requested at 10:34 and 18 seconds.             They requested crime

   25   scene, police, for a stab victim.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 62 of 303 PageID 635   62


    1       Q.   You said 10:34?

    2       A.   10:34 and 18 seconds p.m.

    3       Q.   And do you have -- does your information indicate

    4   at what time police arrived to address the crime, the

    5   stabbing victim?

    6       A.   I do not have -- I just have when they were

    7   notified, but I do not have when they got on scene.

    8       Q.   Okay.    Now, Ms. Gutierrez, you mentioned that you

    9   have listened to the call that's depicted on State's

   10   Exhibit No. 1?

   11       A.   Yes.

   12       Q.   Did you recognize the call taker?

   13       A.   Yes.

   14       Q.   Okay.    Who was that call taker?

   15       A.   It was Patty Worley.

   16       Q.   Could you spell Patty's last name?

   17       A.   W-O-R-L-E-Y.

   18       Q.   How long has Patty worked for y'all?

   19       A.   I don't recall.

   20       Q.   Okay.

   21       A.   And she no longer works for our department.

   22       Q.   Okay.    So you recognized her voice even though

   23   she no longer worked for y'all?

   24       A.   Yes.    At least ten years, but I don't have a

   25   definite timeframe.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 63 of 303 PageID 636   63


    1                    MS. RAY:     I pass this witness, Your Honor.

    2                    MR. MOORE:     I just have a few questions.

    3                    THE COURT:     Go ahead.

    4                               CROSS-EXAMINATION

    5   BY MR. MOORE:

    6       Q.   Ms. Cisernos (sic), how is it recorded what time

    7   these telephone calls come in?

    8       A.   I'm Ms. Gutierrez.

    9       Q.   Oh, I'm sorry.

   10       A.   If the question is for me, I'm Toni Gutierrez,

   11   and it is a digital audio system.

   12                    THE COURT:     You answer questions.        You don't

   13   make statements in court.

   14                    THE WITNESS:     Okay.

   15                    THE COURT:     Okay.     You can do that after the

   16   trial.

   17                    THE WITNESS:     Okay.

   18                    THE COURT:     Next question.

   19       Q.   (BY MR. MOORE)        I'm sorry.     I was writing your

   20   name down.       I got it wrong, for some reason.

   21       A.   That's all right.        Gutierrez.

   22       Q.   Could you explain that again?

   23       A.   It's an audio system, digital audio system.

   24       Q.   Okay.     And very accurate?

   25       A.   Yes.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 64 of 303 PageID 637   64


    1         Q.   Is it checked and calibrated and made sure that

    2   that's a correct time that is reflected on the records?

    3         A.   Yes.

    4         Q.   Ms. Ray put this 10:11:09 as the first call.

    5   What was 22:10:52?         Was that the first call that came

    6   in?

    7         A.   No.     I -- the first call that came in was in

    8   military time 22:11:09, which is --

    9         Q.   Okay.     And that --

   10         A.   -- 10:11 and 9 seconds p.m.

   11                      MR. MOORE:    May I approach?

   12                      THE COURT:    Yes.

   13         Q.   (BY MR. MOORE)       And we're only talking a few

   14   seconds here.

   15         A.   I'm sorry, what was that time you gave me?

   16         Q.   22:10:52.

   17         A.   Oh, that's when the call initially came in to the

   18   system.

   19         Q.   Okay.     And we're talking the initial 9-1-1 call?

   20         A.   22:10 and 52 seconds is when the system picks up

   21   the call.

   22         Q.   Right.

   23         A.   It doesn't mean that that's when the operator

   24   answered it.

   25         Q.   Okay.     If I'm out there and I picked up 9-1-1 and



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 65 of 303 PageID 638   65


    1   go 9-1-1 --

    2       A.   Uh-huh.     Exactly.

    3       Q.   -- and it rings, that's when that's recorded?

    4       A.   Yes.

    5       Q.   Okay.     Not when the operator picks it up but when

    6   the call actually connects?

    7       A.   They're all recorded.         It's all recorded.

    8       Q.   Okay.     So 22:10:52 would have been the exact time

    9   that the 9-1-1 call came in to your place?

   10       A.   Correct.

   11       Q.   Okay.     I'm not knit-picking.          I'm just --

   12       A.   No, that's okay.

   13       Q.   That's what my records showed.

   14                    And when it says close 6:08:48, I assume

   15   that would mean that's when everybody left the scene,

   16   all the firefighters?

   17       A.   That's when the last person told us to close the

   18   call.

   19       Q.   Okay.

   20       A.   Yes, sir.

   21       Q.   Thank you, ma'am.

   22       A.   You're welcome.

   23                    MR. MOORE:     That's all.

   24                    THE COURT:     Any redirect?

   25                    MS. RAY:     Yes, Your Honor.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 66 of 303 PageID 639   66


    1                           REDIRECT EXAMINATION

    2   BY MS. RAY:

    3       Q.   Ms. Gutierrez?

    4       A.   Yes.

    5       Q.   Just so we understand, at 22:10 -- or at 10:10

    6   and 52 seconds, what happened at 10:10 and 52 seconds?

    7       A.   That's when the call is placed to 9-1-1 and it's

    8   waiting to be answered.

    9       Q.   And at 10:11:09, that's when that call was

   10   answered?

   11       A.   Yes, ma'am.

   12       Q.   Okay.    Ms. Gutierrez, so do I have all this

   13   accurate and correct?         At 10:10 and 52 the first call

   14   comes in as waiting to be answered?

   15       A.   Yes.

   16       Q.   And at 10:11:09 the first call is answered; is

   17   that correct?

   18       A.   Yes, ma'am.

   19       Q.   At 10:11:23 the fire department is dispatched?

   20       A.   Yes.

   21       Q.   At 10:14:31 the fire department is on scene; is

   22   that correct?

   23       A.   Yes, ma'am.

   24       Q.   At 10:19:20 the police requested -- or police are

   25   requested to block the street?



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 67 of 303 PageID 640   67


    1       A.   Yes, ma'am.

    2       Q.   And then at 10:34:18 the police crime scene was

    3   requested because of a stab victim?

    4       A.   Yes, ma'am.

    5       Q.   And this, of course, is on March 20th, 2011?

    6       A.   Yes, ma'am.

    7                    (Pause in proceedings)

    8       Q.   (BY MS. RAY)       Ms. Gutierrez, the -- you watched

    9   me write this information on this chart?

   10       A.   Yes, ma'am.

   11       Q.   And I just marked it as State's Exhibit 165.

   12       A.   Okay.

   13       Q.   And is State's Exhibit 165, the information that

   14   I depicted, is this an accurate reflection of what you

   15   told us, first, regarding the times and dates of calls

   16   and the nature of the call?

   17       A.   Yes, ma'am.

   18                    MS. RAY:     Your Honor, I offer State's

   19   Exhibit No. 165, after tendering to Defense Counsel for

   20   inspection.

   21                    MR. MOORE:     I have no objection.

   22                    THE COURT:     All right.     The chart marked as

   23   165 is admitted as offered.

   24                    (State's Exhibit No. 165 admitted)

   25                    MS. RAY:     I pass this witness, Your Honor.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 68 of 303 PageID 641     68


    1                    MR. MOORE:    Just one other question.

    2                    THE COURT:    Sure.

    3                            RECROSS-EXAMINATION

    4   BY MR. MOORE:

    5       Q.   Ms. Gutierrez, according to the -- well,

    6   according to your records that you brought here today,

    7   there are some comments out to the side of these times,

    8   correct?

    9       A.   Yes, sir.

   10       Q.   And one of them is -- I lost it.            Hang on -- at

   11   22:13:02?

   12       A.   Yes.

   13       Q.   It says, "Complainant kicked in door.              No one is

   14   coming out."       Does that -- do you see that?

   15       A.   Yes, sir.

   16       Q.   Who -- who puts that information in there?

   17       A.   The 9-1-1 operator.

   18       Q.   And how does she receive that information?

   19       A.   It's the complainant talking to her.             So

   20   whatever --

   21       Q.   And not --

   22       A.   -- whatever the person that's calling in is

   23   saying, she'll type in, into the call.

   24       Q.   Okay.     So at 10:13:02 -- I'm confused -- it says,

   25   "Complainant kicked in door."           "Complainant" being the



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 69 of 303 PageID 642   69


    1   9-1-1 caller, correct?

    2       A.   Yes.     Yes, sir.

    3       Q.   And that -- and was he actually -- or that

    4   person, that complainant, talking to the 9-1-1 operator?

    5       A.   I'd have to listen to it again.

    6       Q.   Okay.

    7       A.   But I'm pretty sure they were.            But I'd have to

    8   listen to it.       I couldn't answer with certainty.

    9       Q.   Okay.     Thank you, ma'am.

   10       A.   You're welcome.

   11                    THE COURT:     Anything else from the State?

   12                    MS. RAY:     No further questions for this

   13   witness, Your Honor.

   14                    THE COURT:     May the witness be permanently

   15   excused by the parties?

   16                    MR. MOORE:     Yes.

   17                    MS. RAY:     No objection, Your Honor.

   18                    THE COURT:     All right.     Then I'm going to

   19   excuse you from trial.          You're not on call.

   20                    THE WITNESS:     Okay.

   21                    THE COURT:     And you just need to remember

   22   who you may and may not talk to until you find out the

   23   jury has reached a decision.             Thank you for coming in.

   24                    THE WITNESS:     Yes.     You're welcome.

   25                    (Witness excused from courtroom)



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 70 of 303 PageID 643   70


    1                   THE COURT:     All right.      She's going that

    2   way.     Why don't y'all go that way.          Hit the buzzer when

    3   you're ready to start back.

    4                   Everyone, we'll take a five- to ten-minute

    5   stretch break.       Listen for the jury buzzer.          When you

    6   hear it, return to your stations.

    7                   Remember your instructions.          Now you do have

    8   something to talk about, just don't.

    9                   (Break taken, 11:25 - 11:40 a.m.)

   10                   (OPEN COURT, DEFENDANT PRESENT, NO JURY)

   11                   (Witness on the stand)

   12                   THE COURT:     What is your full, legal name?

   13                   THE WITNESS:      Paul Issac -- Paul Issac

   14   Lopez.

   15                   THE COURT:     Okay.     I need you to face me and

   16   raise your right hand.

   17                   THE WITNESS:      Do you want me to stand up?

   18                   THE COURT:     Nah.

   19                   (One witness sworn)

   20                   THE COURT:     All right.      Have you ever

   21   testified before?

   22                   THE WITNESS:      Nah.    No, sir.

   23                   THE COURT:     All right.      There's rules you've

   24   got to follow.       Rule number one, you can't be in the

   25   courtroom unless you're answering questions.                You cannot



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 71 of 303 PageID 644    71


    1   sit in the courtroom and listen to what other people

    2   say.

    3                   Do you understand number one?

    4                   THE WITNESS:      Yes, sir.

    5                   THE COURT:     All right.      Number two, you

    6   cannot talk to other people about what you see or hear

    7   in the courtroom unless you're speaking in private with

    8   the attorneys for either side or their staff, at least

    9   not until the trial is over.           You answer questions in

   10   court, you speak in private with the lawyers, or you

   11   don't talk until you hear there's a final decision by

   12   the jury.

   13                   THE WITNESS:      Yes, sir.

   14                   THE COURT:     Make sure you hear and

   15   understand the question asked.            If you can't hear or

   16   don't understand, then say so, but never wing it.                 If

   17   you do understand the question, answer that question and

   18   stop and wait for the next question.              If someone asks:

   19   Do you have a watch?         Say yes or no.       If they want to

   20   know what time it is, they'll ask that question next.

   21   But don't say yes and it says it's 3:53 or whatever.

   22                   THE WITNESS:      Yes, sir.

   23                   THE COURT:     Do you follow the difference?

   24                   THE WITNESS:      Yes, sir.

   25                   THE COURT:     Her hands have to rest between



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 72 of 303 PageID 645   72


    1   question and answer.         It's kind of stilted, not like

    2   normal conversation, but you can learn to talk normal a

    3   couple of days after the trial.

    4                   Do you understand all these instructions?

    5                   THE WITNESS:      Yes, sir.

    6                   THE COURT:     All right.      Miss Tamla, is the

    7   State ready to continue?

    8                   MS. RAY:     The State is, Your Honor.

    9                   THE COURT:     Is the Defense ready to

   10   continue?

   11                   MR. MOORE:     Yes, sir.

   12                   THE COURT:     All right.      Go fetch the

   13   factfinders.

   14                   (Jury seated in courtroom)

   15                   THE COURT:     State may call and identify its

   16   next witness.

   17                   MS. RAY:     Your Honor, we call Paul Issac

   18   Lopez.

   19                   THE COURT:     All right.      Mr. Lopez, will you

   20   state your name again for Miss Karen and also for the

   21   jury, please, sir.

   22                   THE WITNESS:      Paul Issac.      There's a "D"

   23   initial.     Paul Issac D. Lopez.

   24                   THE COURT:     All right.      And I swore you in,

   25   placed you under rules and placed you under oath while



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 73 of 303 PageID 646   73


    1   the jury was on break; is that correct, sir?

    2                   THE WITNESS:      Yes, sir.

    3                   THE COURT:     You understand that carries on

    4   until the trial ends; is that right, sir?

    5                   THE WITNESS:      Yes, sir.

    6                   THE COURT:     All right.      Tamla, you may

    7   proceed.

    8                   MS. RAY:     Thank you, Your Honor.

    9                                ISSAC LOPEZ,

   10   having been first duly sworn, testified as follows:

   11                            DIRECT EXAMINATION

   12   BY MS. RAY:

   13       Q.   Paul Issac D. Lopez?

   14       A.   Yes, ma'am.

   15       Q.   And what name do you usually go by?

   16       A.   I go by Issac.

   17       Q.   Do mind if I call you Issac?

   18       A.   No, ma'am.

   19       Q.   Issac, so where do you live?

   20       A.   I currently live in Lewisville.

   21       Q.   Are you married?

   22       A.   Yes, I am.

   23       Q.   Who are you married to?

   24       A.   Celia Lopez.

   25       Q.   How long have you and Celia been married?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 74 of 303 PageID 647   74


    1       A.    About four and a half years.            Yeah, four and a

    2   half years.

    3       Q.    And currently y'all live up in Farmers Branch?

    4       A.    No.   Lewisville.

    5       Q.    Lewisville.     How long have y'all lived up there?

    6       A.    Ever since -- after we left the apartment when

    7   the incident happened is when we moved over there

    8   closer to my job.

    9       Q.    So -- and you referenced the apartment where the

   10   incident happened.        Back in March of 2011 where were you

   11   living?

   12       A.    Presidents Corner.

   13       Q.    And where is Presidents Corner?

   14       A.    It's in Arlington.

   15       Q.    Is that in Tarrant County?

   16       A.    Yes, ma'am.

   17       Q.    Do you recall which apartment you lived in at

   18   Presidents Corner?

   19       A.    I don't remember the number.

   20       Q.    Did you live alone?

   21       A.    No.

   22       Q.    And who did you live with back at Presidents

   23   Corner?

   24       A.    It was me and my wife.

   25       Q.    Celia?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 75 of 303 PageID 648      75


    1       A.   Uh-huh.

    2       Q.   Now, was she your wife back in March of --

    3       A.   No.

    4       Q.   -- 2011?

    5       A.   No.

    6       Q.   And part of the thing the judge talked to you

    7   earlier about, you're -- I know you're a little nervous,

    8   but you have to let me finish answering -- asking the

    9   question so that Karen can get everything I say before

   10   you get started.

   11       A.   I'm sorry.

   12       Q.   No need to apologize.

   13                   THE COURT:     She can't type in stereo.          Only

   14   one at a time.

   15                   THE WITNESS:       I'm sorry.

   16                   THE COURT:     You may continue.

   17       Q.   (BY MS. RAY)      Okay.     So at the time you and Celia

   18   were dating...

   19       A.   Yes, ma'am.

   20       Q.   Did Celia also live full-time with you or did she

   21   have another apartment?

   22       A.   She had another apartment.

   23       Q.   How close was she living to you?

   24       A.   Right across the street.

   25       Q.   So were y'all pretty serious back then?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 76 of 303 PageID 649   76


    1       A.   Yeah.

    2       Q.   You kind of locked that down?

    3       A.   Yes, I was.

    4       Q.   So do you and Celia have children?

    5       A.   Yes, we do.

    6       Q.   How many children do y'all have?

    7       A.   We have one together.

    8       Q.   Do y'all have children from prior relationships?

    9       A.   Yes.

   10       Q.   So in total, between the two of y'all, how many

   11   children do y'all have?

   12       A.   Three.

   13       Q.   Do those kids live with y'all pretty regularly?

   14       A.   No.

   15       Q.   Okay.    So who lived with y'all full-time?

   16       A.   Her son and my -- the daughter we have together.

   17       Q.   And you have another daughter from another --

   18       A.   Yes, I do.

   19       Q.   But she's still a part -- does she still live

   20   with y'all from time to time, spend weekends?

   21       A.   Yeah.

   22       Q.   Back in March of 2011, where were you working?

   23       A.   I was working at Meineke and Lowe's.

   24       Q.   Do you still work at both of those places?

   25       A.   I do not.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 77 of 303 PageID 650   77


    1       Q.   Where do you work now?

    2       A.   I worked at -- it's a place called Alliance Dyno

    3   in Keller.

    4       Q.   What kind of -- I didn't understand that.

    5       A.   Alliance Dyno in Keller.

    6       Q.   Okay.    What kind of work did you do for Meineke?

    7       A.   I was a manager at the time.

    8       Q.   And how about Lowe's?

    9       A.   I was just -- I unloaded trucks.

   10       Q.   So you stated that even though Celia's apartment

   11   was pretty close to yours, y'all spent most of your time

   12   together in your apartment?

   13       A.   Yes, ma'am.

   14       Q.   How long did you live over at Presidents Corner

   15   throughout -- how long did you live there in total?

   16       A.   I don't remember.

   17       Q.   Was it a lengthy amount of time, like several

   18   years or...

   19       A.   No, ma'am.

   20       Q.   Less than a year?

   21       A.   Yes, ma'am.

   22       Q.   At some point did you meet a young lady by the

   23   name of Mechelle Gandy?

   24       A.   Yes, ma'am.

   25       Q.   And how did you meet Mechelle?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 78 of 303 PageID 651   78


    1       A.   She moved in next door to me.

    2       Q.   Did she move in by herself?

    3       A.   I do believe, yes, ma'am.

    4       Q.   Okay.    Did anyone live with Mechelle?

    5       A.   She had a little boy.

    6       Q.   Did you know her little boy's name?

    7       A.   Ashton or something like that.

    8       Q.   It was Ashton or something like that?

    9       A.   Yeah.

   10       Q.   Do you recall how old the little boy was?

   11       A.   He was -- at the time of the move-in, he was --

   12   he wasn't one yet.

   13       Q.   Did he turn one soon after they moved in?

   14       A.   I don't remember when she moved in.

   15       Q.   Do you recall, was there ever a birthday party or

   16   celebration for Asher?

   17       A.   Yes, there was.

   18       Q.   Did you -- how did you find out about that

   19   birthday party?

   20       A.   She gave us bags of candy after the birthday

   21   party, for my kids.        She gave it to my wife.

   22       Q.   And "she" being Mechelle?

   23       A.   Yes, ma'am.

   24       Q.   Was she pretty particular about how you said her

   25   name?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 79 of 303 PageID 652    79


    1       A.   Yeah.    It's Mechelle, I do believe.

    2       Q.   What happened if you called her Michelle?

    3       A.   She corrected you.        She would correct real quick.

    4       Q.   Okay.    Was she pretty sassy?

    5       A.   A little bit.

    6       Q.   Okay.    You stated that you knew about the baby's

    7   birthday because Mechelle came by and brought you and

    8   your children -- brought gift bags for your children?

    9       A.   Yes, ma'am.

   10       Q.   And do you recall how long she had lived in the

   11   apartment --

   12       A.   I do not.

   13       Q.   -- when that happened?

   14       A.   I do not.

   15       Q.   Was she -- would it be fair to say -- did she

   16   live there a long time or did she live there less than

   17   y'all did?

   18       A.   She lived there less than us.

   19       Q.   If you could, explain to the jury how did

   20   y'all's -- how were your apartments related?                Was your

   21   apartment next to hers?          On top of hers?

   22       A.   We lived next door, downstairs.

   23       Q.   The apartments -- if you could, describe how the

   24   apartments themselves were laid out.              Were there -- was

   25   it a two-story apartment, or how did that work out?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 80 of 303 PageID 653   80


    1       A.   No. I lived in a one-bedroom.

    2       Q.   You lived in a one-bedroom?

    3       A.   Uh-huh.

    4       Q.   And was there an apartment directly above yours?

    5       A.   Yes.

    6       Q.   And then Mechelle's apartment was next to yours?

    7       A.   Yes, ma'am.

    8       Q.   Did y'all share a walkway or a sidewalk?

    9       A.   A porch, yeah.

   10       Q.   You shared a porch?

   11       A.   Yeah.

   12       Q.   How would you describe Mechelle?            Was she pretty

   13   friendly?

   14       A.   Yeah.     She never -- I mean she never not passed

   15   me and didn't say hi.

   16       Q.   Did you really get to know her particularly well?

   17       A.   No, not really.       It was just kind of hi/bye kind

   18   of thing.

   19       Q.   Were you working a lot at that time?

   20       A.   Yeah.

   21       Q.   Trying to impress Celia?

   22       A.   I guess.     Yeah, I guess you could say.

   23       Q.   Okay.     I want to call your attention to March

   24   20th, 2011.      You refreshed it -- you referenced it

   25   earlier as the incident?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 81 of 303 PageID 654   81


    1       A.   Yes, ma'am.

    2       Q.   Do you recall much about that evening?

    3       A.   Yes, a little bit.

    4       Q.   Were you working that day?

    5       A.   Yes, I was.

    6       Q.   Do you recall about what time you would have

    7   gotten off of work?

    8       A.   Around 9:00.

    9       Q.   Did you -- how did you get home?

   10       A.   Celia came and picked me up.

   11       Q.   About what time do you recall getting to the

   12   apartment?

   13       A.   Around probably like 9:15.

   14       Q.   At the time who would have been -- in terms of

   15   the children, who was staying with y'all then?

   16       A.   My son Julian -- or her son Julian.

   17       Q.   Her son Julian.

   18                   Was your daughter there with you that

   19   weekend or that day, do you recall?

   20       A.   No, ma'am.

   21       Q.   When you got home around 9:15, do you recall what

   22   you did?

   23       A.   Yes, ma'am.

   24       Q.   What did you do?

   25       A.   I started up a grill to cook fajitas that I had



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 82 of 303 PageID 655   82


    1   out all day long.        And they needed to be cooked so I was

    2   going to cook them.

    3       Q.   So you had some fajitas waiting for you?

    4       A.   Uh-huh, to be cooked, yes, ma'am.

    5       Q.   And at 9:15 you fired up the grill?

    6       A.   Yes, ma'am.

    7       Q.   Do you recall where you were going to cook the

    8   fajitas, in terms of inside versus outside?

    9       A.   In front, on the sidewalk, by the porch.

   10       Q.   So the porch between your apartment and

   11   Mechelle's apartment is where you were going to grill?

   12       A.   Yes, ma'am.

   13       Q.   And did you do that?

   14       A.   Yes, ma'am.

   15       Q.   While you were grilling, do you recall -- did you

   16   see Mechelle?

   17       A.   No, ma'am.

   18       Q.   Did you have any reason to believe she was home?

   19       A.   No, ma'am -- at least I -- well, her -- the car

   20   was outside.

   21       Q.   Mechelle's car was there?

   22       A.   Yes, ma'am.

   23       Q.   Generally speaking, if Mechelle's car was there,

   24   did it mean she was there?

   25       A.   I would assume.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 83 of 303 PageID 656   83


    1       Q.   Do you recall what Celia was doing around that

    2   time?

    3       A.   She was doing laundry.

    4       Q.   So what was y'all's arrangement, would she bring

    5   her laundry to your place or would she do laundry at her

    6   place --

    7       A.   She was --

    8       Q.   -- or bring it back to you?

    9       A.   She was getting all her stuff and moving it to my

   10   apartment, clothes-wise, because, you know, slowly a

   11   step forward for us.         And she went and did laundry at

   12   her house.      She had the washer and dryer at her house.

   13   And then she came and was doing laundry, folding it and

   14   stuff at my house.

   15       Q.   So, again, you were trying to lock that down

   16   and --

   17       A.   Yes, ma'am.

   18       Q.   -- have her move in?

   19       A.   Yes, ma'am.

   20       Q.   You knew you had a good woman and you didn't want

   21   her to get away?

   22       A.   Uh-huh.

   23       Q.   So while you were grilling, did anything out of

   24   the ordinary happen?         Did you notice anything unusual?

   25       A.   No.



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 84 of 303 PageID 657    84


    1       Q.   At some point did you see anyone coming and going

    2   outside of the -- around the apartments?

    3       A.   Yes.

    4       Q.   Tell us about that.

    5       A.   I was grilling, facing my apartment, and I seen

    6   somebody walk out of the breezeway into the street.

    7                   MS. RAY:     Your Honor, may I approach the

    8   witness?

    9                   THE COURT:     Yes.

   10       Q.   (BY MS. RAY)      Issac, I am showing you what has

   11   been previously marked as State's Exhibit No. 2.                 Are

   12   you familiar with State's Exhibit No. 2?

   13       A.   Yes, ma'am.

   14       Q.   And State's Exhibit No. 2, does it appear to be a

   15   blowup depicting the area surrounding your -- the

   16   apartment?

   17       A.   Yes, ma'am.

   18       Q.   The Presidents Corner Apartments?

   19       A.   Yes, ma'am.

   20       Q.   And does State's Exhibit No. 2 appear to be a

   21   fair and accurate depiction of an aerial view of the

   22   apartment complex?

   23       A.   Yes, ma'am.

   24                   MS. RAY:     Your Honor, I offer State's

   25   Exhibit 2, after tendering to Defense Counsel for



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 85 of 303 PageID 658   85


    1   inspection.

    2                    MR. MOORE:     I have no objection, Your Honor.

    3                    MS. RAY:     And I'll tender it to the Court.

    4                    THE COURT:     I can see it.      Thank you.

    5                    Two is admitted, State's 2.

    6                    (State's Exhibit No. 2 admitted)

    7                    MS. RAY:     And, Your Honor, permission to

    8   publish State's 2 and have Mr. Lopez point out -- step

    9   down and point out...

   10                    THE WITNESS:     Where do you want me?

   11                    MS. RAY:     Right here in front of where --

   12                    THE COURT:     In front of the PowerPoint.

   13                    Yeah, Mr. Moore, you can move.

   14                    No, no, no.     Set it right in front of the

   15   PowerPoint projector.

   16                    (Pause in proceedings)

   17                    THE COURT:     You may continue, Counsel.

   18                    MS. RAY:     Thank you, Your Honor.

   19       Q.   (BY MS. RAY)       Issac, I'm handing you the laser

   20   pointer.     Do you know how that works?

   21       A.   Yeah.

   22       Q.   Push the yellow button?

   23       A.   Yeah.

   24       Q.   Okay.     On State's Exhibit 2, could you indicate

   25   where your apartment was at Presidents Corner?



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                                STATE
Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 86 of 303 PageID 659   86


    1       A.   Right there.

    2       Q.   So on State's Exhibit No. 2 there's a -- there

    3   appears to be a white truck right there.              Is that the

    4   approximate location where your apartment was back then?

    5       A.   Yes.

    6                   MR. MOORE:     I'm sorry, Judge.        I could not

    7   see that.

    8                   THE COURT:     Designate again.

    9                   All right.     For the record, you're pointing

   10   almost in the dead center of the picture; is that right,

   11   sir?

   12                   THE WITNESS:      Yes, sir.

   13                   THE COURT:     All right.      Members of the jury,

   14   what I say isn't where it is.           You decide where it is,

   15   but Karen can't write down where a red dot is on the

   16   chart.

   17                   Does everyone understand that?

   18                   SEVERAL JURY MEMBERS:         Yes.

   19                   THE COURT:     You may continue.

   20       Q.   (BY MS. RAY)      So on State's Exhibit 2 you're

   21   pointing out the location directly -- pretty much in the

   22   center where you can see a white truck?

   23       A.   Yes, ma'am.

   24       Q.   And that is where your apartment was located?

   25       A.   Yes, ma'am.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 87 of 303 PageID 660   87


    1       Q.   And Mechelle's apartment, would you have been

    2   just on that same porch?

    3       A.   Yes, ma'am.

    4       Q.   On State's Exhibit 2, if you could, indicate

    5   where you were when you were grilling your fajitas?

    6       A.   Right around this area.          Right here on the porch.

    7   Right here.

    8       Q.   So, again, on State's Exhibit 2, it would have

    9   been the area right around where that white truck is?

   10       A.   Yes, ma'am.

   11       Q.   Now, to be fair, this white -- this photo was not

   12   taken -- this is -- that photo was not taken --

   13       A.   Right.

   14       Q.   -- the day of, correct?

   15       A.   Yeah.    I don't know that truck.

   16       Q.   So that truck -- white truck was not there when

   17   you were grilling?

   18       A.   No, ma'am.

   19       Q.   But it's a very convenient location to help us

   20   point out certain --

   21       A.   Yes, ma'am.

   22       Q.   -- parts of your testimony?

   23       A.   Yes, ma'am.

   24       Q.   And so at one point you stated, before I

   25   interrupted you, that while you were grilling fajitas



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 88 of 303 PageID 661   88


    1   that you saw a figure, an individual?

    2       A.   Yes, ma'am.

    3       Q.   And where did you see that person?

    4       A.   Right around here.        There's a breezeway right

    5   here.    I saw him walk this way into the street, this

    6   way.

    7       Q.   Okay.     So that we understand, the complex where

    8   you were, where your apartment was, where that white

    9   truck is, there is a breezeway in between two of the

   10   buildings.       There's a building that appears to be

   11   slightly south of where your apartment was, correct?

   12       A.   Yes, ma'am.

   13       Q.   And there's a breezeway in between those two

   14   buildings?

   15       A.   Yes, ma'am.

   16       Q.   What is that area behind your apartment complex

   17   and that breezeway?        What sort of -- is it a forest, or

   18   can you characterize what it's --

   19       A.   Pretty much.      It's -- there's nothing but thorns

   20   back there and -- I can tell you that.

   21       Q.   Pretty --

   22       A.   Yes.

   23       Q.   -- rough stuff back there?

   24       A.   My kids kick the ball over there and I had to go

   25   get it and, yeah, there's thorns back there.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 89 of 303 PageID 662   89


    1       Q.   Next time will you just leave the ball back

    2   there?

    3       A.   Pretty much.

    4       Q.   So what is back there in terms of the apartment,

    5   do y'all have backyards or how is -- what does your

    6   backyard look like in the apartment?

    7       A.   It's just a small patio.

    8       Q.   And from that breezeway could you get to

    9   Mechelle's backyard?

   10       A.   It's fenced.      It -- everything is fenced.

   11       Q.   There's a fence back there?

   12       A.   Yeah.    It's -- it's -- yeah, it's fenced off.

   13       Q.   And how would you have access to Mechelle's

   14   backyard?

   15       A.   I don't remember.

   16       Q.   Okay.    You don't recall?

   17       A.   I don't recall.

   18       Q.   Do you recall a gate or a fence being broken?

   19       A.   Yes, ma'am.

   20       Q.   And where was that?

   21       A.   It's not in the picture.          But even before she

   22   moved in, it was broke.

   23       Q.   And where else in that State's Exhibit 2 would

   24   that fence have been?

   25       A.   If you walk in the breezeway right here, I'm



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 90 of 303 PageID 663     90


    1   saying maybe right around here.

    2       Q.   And that would give you -- gain you access into

    3   Mechelle's backyard?

    4       A.   At the time, yeah, because it was broken.

    5       Q.   Okay.    What about your backyard, how would you

    6   get to your backyard?

    7       A.   My backyard is sealed off. It's -- it's --

    8   it's -- it's just a fence.          There's no gate or anything.

    9       Q.   So did y'all -- in order to have access to your

   10   backyard, you would have to go through your apartment?

   11       A.   Yes, ma'am.

   12       Q.   Okay.    But hers you could have access through the

   13   outside --

   14       A.   Yes.

   15       Q.   -- because the gate was broken?

   16       A.   Yes, ma'am.

   17       Q.   The figure that you saw, could you get any sort

   18   of -- how close would you say you got to that person?

   19       A.   I was -- can I?

   20       Q.   Yes, you can point to it.

   21       A.   I was sitting -- I was probably sitting around

   22   this area right here.

   23       Q.   Where the white truck is?

   24       A.   Yes.    Maybe in between these two right here.               And

   25   I seen the figure right around here, come out of the



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 91 of 303 PageID 664   91


    1   breezeway.       So from there to there.

    2       Q.   And did you say anything to this person?

    3       A.   No, ma'am.

    4       Q.   Did that person say anything to you?

    5       A.   No, ma'am.

    6       Q.   Were you able to tell whether that you were -- it

    7   was a male or a female?

    8       A.   No, ma'am.

    9       Q.   What sort of -- what time of the evening would

   10   this have been?

   11       A.   Maybe around, I don't know, 10:00ish or

   12   something.       I don't know.

   13       Q.   So --

   14       A.   Maybe 9:00.      I don't know.      I couldn't tell you

   15   an exact time.

   16       Q.   Was it getting pretty late?

   17       A.   Yes.

   18       Q.   Was it dark out there?

   19       A.   Yes.

   20       Q.   Was there any sort of lighting or anything to

   21   help you see who that person could have been?

   22       A.   No, ma'am.

   23       Q.   Were you able to see race or ethnicity?

   24       A.   No, ma'am.

   25       Q.   So based on where you were standing and the



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 92 of 303 PageID 665   92


    1   lighting, it was pretty hard for you to see anything

    2   other than a human being?

    3       A.   Just a figure.

    4       Q.   Figure?

    5       A.   Yes, ma'am.

    6       Q.   Do you recall anything about the -- how that

    7   figure was dressed?

    8       A.   No, ma'am.      I don't remember.

    9                   THE COURT:     Are you still using the diagram

   10   for your examination?

   11                   MS. RAY:     No.

   12                   Why don't you go ahead and have a seat.

   13   Thank you.

   14                   THE WITNESS:       Yes, ma'am.

   15                   (Pause in proceedings)

   16                   THE COURT:     You may continue.

   17                   MS. RAY:     Thank you, Your Honor.

   18       Q.   (BY MS. RAY)      Issac, at some point did you start

   19   to notice something out of the ordinary?

   20       A.   Yeah -- after I seen the figure?

   21       Q.   Yes, sir.

   22       A.   Yes.

   23       Q.   What did you notice?

   24       A.   Shortly after I seen the figure, I seen a glow

   25   on -- like a reflection, an orange reflection, like



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 93 of 303 PageID 666   93


    1   pretty much it was lit up on the other building, like

    2   the reflection off of the other building.

    3                   MS. RAY:     And may I approach the witness,

    4   Your Honor?

    5                   THE COURT:     You may.

    6       Q.   (BY MS. RAY)      Issac, without stepping down, when

    7   you talk about -- on State's Exhibit 2 when you say a

    8   reflection on the other building, where on State's

    9   Exhibit 2 are you talking?          Here's the laser pointer.

   10       A.   My eyes aren't really -- actually --

   11       Q.   Do you need to step closer to it to see it?

   12       A.   That's the white truck right there, correct?

   13   Okay.    That I said earlier, yeah.          Right here off of

   14   this other building right here, on that side of the

   15   wall, just right on the other side, right there.

   16       Q.   So that building on the other side of the

   17   breezeway you talked about earlier?

   18       A.   Yes.    The reflection -- I just -- I was standing,

   19   facing my building, facing my door, and I looked to the

   20   left and then that's when I seen the reflection.

   21       Q.   Did you smell anything?

   22       A.   It smelled like burnt clothes to me.

   23       Q.   So you thought someone was burning some clothes?

   24       A.   I didn't know what was going on.

   25       Q.   What did you do after that?



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 94 of 303 PageID 667    94


    1       A.   I went to my -- through my house to my patio and

    2   looked over and seen -- looked over the fence and seen

    3   flames coming from the apartment.

    4       Q.   Could you tell from what area of the apartment

    5   those flames were coming from?

    6       A.   The back window.        It wasn't the patio window.          It

    7   was the other window.

    8       Q.   Did you know where that back room led to, like

    9   whose window that was?

   10       A.   The baby room.

   11       Q.   So you knew enough about the layout of the

   12   apartment to know that that was the baby's room?

   13       A.   Yes, ma'am.

   14       Q.   What did you do after you saw the flames coming

   15   from the baby's room?

   16       A.   My wife, or Celia, she was -- wherever my --

   17   where the back patio sliding door is, if you're facing

   18   it and you turn to the left, my closet is right there.

   19   So she was in there hanging up clothes.              So I come in

   20   directly and I said, "Hey, call 9-1-1.              Call 9-1-1."

   21   And so she did.

   22       Q.   While Celia is calling 9-1-1, what did you do?

   23       A.   I went and was banging on the door and hollering,

   24   made -- just, "Is anybody in there?"              "Anybody in

   25   there," to the front door.          And then I went to the front



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 95 of 303 PageID 668   95


    1   window and tried looking in it and it was hot.                The

    2   window was hot.       And I was -- I still tried to bang on

    3   the window, and nothing.

    4                    MS. RAY:     Your Honor, may I approach the

    5   witness?

    6                    THE COURT:     You may.

    7       Q.   (BY MS. RAY)       Issac, I'm showing you what has

    8   previously been marked as State's Exhibit 9 and State's

    9   Exhibit 13.

   10                    State's Exhibit 9, does it appear to be a

   11   photograph of the apartment complex?

   12       A.   Yes, ma'am.

   13       Q.   And State's Exhibit 13, the same, does it appear

   14   to be a photograph of the apartment complex?

   15       A.   Yes, ma'am.

   16       Q.   And State's Exhibit 9, is it a fair and accurate

   17   depiction of a part of the apartment where you -- when

   18   you talked about the window --

   19       A.   Yes, ma'am.

   20       Q.   -- and that sort of thing?

   21       A.   That's the window, yes, ma'am.

   22       Q.   Okay.     So State's Exhibit 9 is a fair and

   23   accurate depiction of the apartment?

   24       A.   The window, yes, ma'am.

   25       Q.   Okay.     And State's Exhibit 13, is it a fair and



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 96 of 303 PageID 669   96


    1   accurate depiction of the apartment in terms of the

    2   doors, the front doors?

    3       A.   Yes, ma'am.

    4                   MS. RAY:     Your Honor, I offer State's

    5   Exhibit 9 and 13, after tendering to Defense Counsel for

    6   inspection.

    7                   MR. MOORE:     We have no objection.

    8                   MS. RAY:     Tender to the Court.

    9                   THE COURT:     All right.      State's 9, State's

   10   13, each admitted.

   11                   (State's Exhibit No. 9 and 13 admitted)

   12                   MS. RAY:     And, Your Honor, permission to --

   13                   THE COURT:     Hold on.     Let her --

   14                   MS. RAY:     Oh, sorry.

   15                   THE COURT:     To?    Permission to?

   16                   MS. RAY:     Your Honor, permission to publish

   17   via the ELMO?

   18                   THE COURT:     Technically speaking, ELMO or

   19   PowerPoint of a computer-generated image are the same

   20   thing.     Are you going to just use the ELMO and put it on

   21   the ELMO, or are you using it through the PowerPoint

   22   projector?      Because people interchange those.

   23                   MS. RAY:     I'm putting it on the ELMO.

   24                   THE COURT:     Perfect.

   25                   The overhead projector, you're using the



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 97 of 303 PageID 670   97


    1   actual exhibit that has been admitted in court, not a

    2   reproduction thereof.

    3                    You may continue -- off the record.

    4                    (Discussion off the record)

    5       Q.   (BY MS. RAY)      Issac, if you could, on State's

    6   Exhibit 9 that is now published on the ELMO right where

    7   the jury can see, can you, please, indicate where --

    8   which window you're talking about in terms that you were

    9   banging on.

   10       A.   This one right here.

   11       Q.   Okay.     So it's the window that's pretty much dead

   12   in the center of State's Exhibit 9?

   13       A.   Yes, ma'am.

   14       Q.   And earlier you talked about seeing -- you talked

   15   about a breezeway?

   16       A.   Yes, ma'am.

   17       Q.   Can you now see the breezeway better in State's

   18   Exhibit 9?

   19       A.   Yes, ma'am.

   20       Q.   What breezeway are you talking about?

   21       A.   Right here.

   22       Q.   So in State's Exhibit 9 pretty much in the center

   23   between those two buildings?

   24       A.   Yes, ma'am.

   25       Q.   And from that breezeway you can have access to



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 98 of 303 PageID 671   98


    1   Mechelle's backyard?

    2       A.   Yes, ma'am.

    3       Q.   And on State's Exhibit 9 can you indicate where

    4   you first saw that -- where that figure was when you saw

    5   him, or her?

    6       A.   Right around here.

    7       Q.   And on State's Exhibit 9 can you point to -- when

    8   you pointed to where that figure was, you pointed to

    9   that breezeway, correct?

   10       A.   Yes, ma'am.

   11       Q.   About the middle tree in the breezeway?

   12       A.   Right -- maybe right there.           That tree right

   13   there, maybe.

   14       Q.   And on State's Exhibit 9 you can see four trees,

   15   would that be fair to say, four trunks?

   16       A.   Yes, ma'am.

   17       Q.   So it would be -- if we're counting from left to

   18   right, it would be that second tree?

   19       A.   Yes, ma'am.

   20       Q.   Okay.    Where about on State's Exhibit 9 were you

   21   standing when you first saw that figure?

   22       A.   Like right around -- right on the other side of

   23   the fire truck.

   24       Q.   On the other side of the fire truck?

   25       A.   Yes, ma'am.



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Case 4:22-cv-00385-O Document 16-7     v.08/16/22
                                   Filed  THOMAS OLIVAS
                                                  Page 99 of 303 PageID 672   99


    1       Q.   And, obviously, that fire truck was not there

    2   when you saw that figure; is that right?

    3       A.   Yes, ma'am.

    4       Q.   Now, on State's Exhibit 13 -- let me bring it

    5   closer to you so you can see it.            Would you, please,

    6   indicate on State's Exhibit 13 where the door to your

    7   apartment is.

    8       A.   Right here.

    9       Q.   And earlier you stated you didn't remember what

   10   apartment it is?

   11       A.   Uh-huh.

   12       Q.   Now it appears that it's Apartment 603?

   13       A.   Yes, ma'am.

   14       Q.   Okay.     And where was Mechelle's apartment?

   15       A.   Right there.

   16       Q.   Okay.     And was -- when you were knocking on the

   17   door, which door were you knocking on?

   18       A.   This one right here.

   19       Q.   Now, as you're knocking on the door, would it be

   20   fair to say were you knocking on it, or were you banging

   21   on it?

   22       A.   I was beating on the door.

   23       Q.   Were you concerned that Mechelle and the baby

   24   were still in that apartment?

   25       A.   Yes, ma'am.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 100 of 303 PageID 673   100


     1       Q.   Did you at any time see any smoke or anything

     2   coming from that door?

     3       A.   I don't recall.

     4       Q.   Okay.     Did you just continue to bang on it or did

     5   you do anything else?

     6       A.   I kicked in the door.

     7       Q.   You kicked in the door?

     8       A.   Yes, ma'am.

     9       Q.   Why did you kick in that door?

   10        A.   It was just a reaction.          I don't know.      Just

   11    something I felt like I had to do, if I could do

   12    something.       I don't know.

   13        Q.   On State's Exhibit 13 we can see a little bit of

   14    a white vehicle parked in front of those apartments.

   15    Whose vehicle is that?

   16        A.   It appears to be Mechelle's.

   17        Q.   After you kicked in that door, what happened?

   18        A.   The smoke covered my face and just smoke came

   19    gushing out the door.

   20        Q.   Did you try to run into the apartment?

   21        A.   No.     I was choking.

   22        Q.   Did you see anybody?

   23        A.   No.

   24        Q.   Could you hear anybody?

   25        A.   No.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 101 of 303 PageID 674   101


     1       Q.   After the -- you kicked in the door and smoke

     2   rolls out, what did you have to do next?

     3       A.   We went -- me and my wife, we went to bang on

     4   everybody's door to get to -- to see if anybody was

     5   home, to get them out of the apartments around us.

     6       Q.   Okay.    So y'all checked on the -- your upstairs

     7   neighbors?

     8       A.   Yes, ma'am.

     9       Q.   Did y'all -- was there anyone in those upstairs

   10    apartments?

   11        A.   Yes.

   12        Q.   Did you -- so you got them out?

   13        A.   Yes, ma'am.

   14        Q.   At some point did help arrive, people from 9-1-1?

   15        A.   Yes, ma'am.

   16        Q.   Who arrived?

   17        A.   The fire department.

   18        Q.   Did y'all have to do anything in terms of moving

   19    your cars or anything when the fire department arrived?

   20        A.   Yes, ma'am.

   21        Q.   What did y'all do?

   22        A.   I moved my car from the front, my parking -- or

   23    the parking spot that I was in and I just backed the car

   24    up as fast as I could.

   25        Q.   Why did you do that?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 102 of 303 PageID 675   102


     1       A.   Because my wife had an incident where she -- with

     2   another fire, or whatever, when she was young and her

     3   dad was trying to get the car out, so she told me to get

     4   the car because if not, it's going to be -- it's going

     5   to be closed off and nobody will allow us to get the

     6   vehicle.     So she said, "Hurry up and move the vehicle,"

     7   so I did.

     8       Q.   So y'all moved your cars out of the way so that

     9   when the first responders come, y'all would be out of

   10    the way?

   11        A.   Yes, ma'am.      Yes, ma'am.

   12        Q.   Did you -- were you there when the police -- when

   13    the firefighters arrived?

   14        A.   Yes, ma'am.

   15        Q.   Okay.    What did you see?

   16        A.   I seen a lot of people moving.

   17        Q.   Did you ever see Mechelle?

   18        A.   Yes, I did.

   19        Q.   What did you see happen with Mechelle?

   20        A.   They pulled her out of the apartment and started

   21    CPR on her.

   22        Q.   Did you -- when they pulled her out of the

   23    apartment, did you see where they laid her down?

   24        A.   Yes, ma'am.

   25        Q.   Where did they lay her?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 103 of 303 PageID 676   103


     1       A.   Right next to her car.

     2       Q.   You said you saw them doing CPR?

     3       A.   Yes, ma'am.

     4       Q.   How long did you -- how long did they do --

     5       A.   I don't --

     6       Q.   -- CPR on her?

     7       A.   I don't recall.

     8       Q.   Do you recall how Mechelle was dressed?

     9       A.   Yes, ma'am.

   10        Q.   What was Mechelle wearing?

   11        A.   She was only in underwear.

   12        Q.   And when we're talking about underwear, we're

   13    talking about panties?

   14        A.   Yes, ma'am.

   15        Q.   So did she have any top on?

   16        A.   No, ma'am.

   17        Q.   And you watched them do the CPR on her?

   18        A.   Yes, ma'am.

   19        Q.   Were you there when they stopped performing CPR

   20    on Mechelle?

   21        A.   Yes, ma'am.

   22        Q.   Did you know what that meant?

   23        A.   Pretty much.

   24        Q.   What about the baby, did you see or hear anything

   25    about the baby while they were working on Mechelle?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 104 of 303 PageID 677   104


     1       A.   I know we -- me and my wife, we kept asking the

     2   fire department about the baby.            My wife was crying.

     3   She was like the baby is -- "Did y'all find the baby?"

     4   "Did y'all find the baby?"          And nobody would answer us.

     5   So we didn't know.        It was just something that -- we

     6   just had to wait until somebody said something so...

     7                   And we still -- we never did find out that

     8   night if they found...

     9       Q.   I'm sorry?

   10        A.   We never found out if they did or didn't that

   11    night.

   12        Q.   So how long did y'all hang around the scene that

   13    night before y'all left?

   14        A.   I don't recall what time it was.            It was pretty

   15    late that night.

   16        Q.   Y'all stayed there pretty late.            And when y'all

   17    left the scene they still hadn't found the baby?

   18        A.   Correct.     Or they -- no, nobody told us anything.

   19        Q.   Did you ever see them bring the baby out?

   20        A.   No, ma'am.

   21        Q.   Do you recall the last time it was before you --

   22    the last time you saw Mechelle before that fire?

   23        A.   I don't remember.

   24        Q.   Did you ever see her there without her baby?

   25        A.   No, ma'am.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 105 of 303 PageID 678   105


     1                    MS. RAY:     I'll pass this witness, Your

     2   Honor.

     3                    THE COURT:     Defense may cross.

     4                    MR. MOORE:     Thank you.

     5                               CROSS-EXAMINATION

     6   BY MR. MOORE:

     7       Q.   Good afternoon, Mr. Lopez.

     8                    As I understand it, you lived in that

     9   apartment at Presidents Corner before Mechelle Gandy

   10    moved in, correct?

   11        A.   Yes, sir.

   12        Q.   And you didn't know her real well, correct?

   13        A.   No, sir.

   14        Q.   Didn't socialize with her?

   15        A.   No, sir.

   16        Q.   You work during the day, correct?

   17        A.   Yes, sir.

   18        Q.   She worked at night.         Is that your understanding?

   19        A.   I don't recall.

   20        Q.   Okay.     But regardless, you -- you didn't know

   21    anything about her private life?

   22        A.   No, ma'am -- I mean -- no, sir.            Sorry.

   23        Q.   Okay.     You just know that you lived in an

   24    apartment adjacent to her?

   25        A.   Yes, sir.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 106 of 303 PageID 679   106


     1       Q.   Meaning your apartment shared a common wall with

     2   her, correct?

     3       A.   Yes, sir.

     4       Q.   You could hear between the apartments, like most

     5   apartments, couldn't you?

     6       A.   Yes, sir.

     7       Q.   On March 20th of 2011 --

     8                    MR. MOORE:    May I use the easel, Your Honor?

     9                    THE COURT:    Yes.    Do you need it with the

   10    diagram?     Which easel do you need, the write-on easel or

   11    the --

   12                     MR. MOORE:    I need the -- I need the

   13    write-on.

   14                     THE COURT:    All right.

   15                     (Pause in proceedings)

   16        Q.   (BY MR. MOORE)       I believe you testified, the best

   17    of your memory, on March 20th of 2011 you were working

   18    at Lowe's, correct?

   19        A.   Yes, sir.

   20        Q.   What Lowe's were you working at?

   21        A.   Off of Eastchase in Fort Worth, I guess.

   22        Q.   Okay.     And your shift was over at 9:00 p.m.,

   23    correct?

   24        A.   Yes, sir.

   25        Q.   And is that when Celia picked you up?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 107 of 303 PageID 680   107


     1       A.   Yes, sir.

     2       Q.   Y'all drove straight home?

     3       A.   Yes, sir.

     4       Q.   Straight to your apartment in Arlington?

     5       A.   Yes, sir.

     6       Q.   How long does that take?

     7       A.   I would guess around 15 minutes, 10, 15 minutes.

     8       Q.   Okay.     Because you've testified that you were

     9   home at 9:15, correct?

   10        A.   Yes, sir.     Around 9:15 or so.

   11        Q.   Okay.     And when you get to your apartment there

   12    at the Presidents Corner, it's light -- I mean -- it's

   13    night and not light outside, correct?

   14        A.   Uh-huh.

   15        Q.   You don't see Mechelle Gandy when you come home?

   16        A.   No.

   17        Q.   You don't hear anything coming from her

   18    apartment?

   19        A.   No, sir.

   20        Q.   You don't see any smoke coming out of her

   21    apartment at that point in time?

   22        A.   No, sir.

   23        Q.   It was just dark over there, correct?

   24        A.   Yes, sir.

   25        Q.   So you start cooking fajitas, because it's late



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 108 of 303 PageID 681   108


     1   and y'all are hungry, I would imagine, correct?

     2       A.   And they'd been sitting out all day, yes, sir.

     3       Q.   And so at 9:15 you arrive home and fire up the

     4   grill, correct?

     5       A.   Yes, sir.

     6       Q.   Let me show you what's been marked for

     7   identification purposes as Defendant's Exhibits 1, 2 and

     8   3, and ask you if you recognize what's depicted in those

     9   pictures.

   10        A.   What do you mean?

   11        Q.   Well, that's your apartment that you lived in,

   12    correct?

   13        A.   Yes.

   14        Q.   Okay.     In 1, 2 and 3?

   15        A.   Yes.

   16        Q.   And those truly and accurately depict the

   17    apartment as -- when you lived in it?

   18        A.   Yes.

   19                     MR. MOORE:     Okay.   We'd offer Defendant's

   20    Exhibit No. 1, 2 and 3.

   21                     MS. RAY:     No objection.

   22                     THE COURT:     Defendant's Exhibit No. 1, 2 and

   23    3 are each admitted.

   24                     (Defendant's Exhibit No. 1 - 3 admitted)

   25        Q.   (BY MR. MOORE)       Well, let me start off with --



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 109 of 303 PageID 682   109


     1                    (Pause in proceedings)

     2                    THE COURT:    Then carry on.

     3                    MR. MOORE:    Can y'all see that okay?

     4                    SEVERAL JURY MEMBERS:        Yes.

     5                    (Pause in proceedings)

     6       Q.   (BY MR. MOORE)       Well, looking at Defendant's

     7   Exhibit No. 3, that would represent the front of the

     8   apartment where you lived, correct?

     9       A.   Yes, sir.

   10        Q.   And you were out cooking in front of there at

   11    9:15 on March 20th of 2011 and I believe you were about

   12    where that white truck is?

   13        A.   Yes, sir.

   14        Q.   Would that -- and what were you doing out there?

   15        A.   I was my -- me and my son were out there.               We

   16    were cooking.

   17        Q.   Okay.     And you were out there the whole time

   18    that -- cooking, right?

   19        A.   Yes, sir, pretty much.

   20        Q.   You never went inside?

   21        A.   Not that I remember.

   22        Q.   Well, do you remember after this incident

   23    happened, you went down and talked to Detective Stewart?

   24        A.   Yes, sir.

   25        Q.   And that would have been on March 24th of 2011,



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 110 of 303 PageID 683   110


     1   around 6:00 o'clock in the afternoon.              Do you remember

     2   that?

     3       A.    Yes, sir.

     4       Q.    Do you remember going and talking to him?

     5       A.    Uh-huh.

     6       Q.    Do you remember telling him that you stayed out

     7   there in front cooking from about 9:15 until you started

     8   seeing smoke?

     9       A.    I don't remember what time I told him, but if

   10    that's what I said, then -- I don't remember.

   11        Q.    You'd agree with that?

   12        A.    Sure.     Yeah.

   13        Q.    That you were out there the whole time?

   14        A.    Uh-huh.

   15        Q.    Yes?     Is that --

   16        A.    Yes, sir.

   17        Q.    Okay.

   18                      THE COURT:     She can't write down uh-huh,

   19    huh-uh.

   20                      THE WITNESS:     Sorry.

   21                      THE COURT:     You've got to use words.

   22                      THE WITNESS:     Yes, sir.

   23        Q.    (BY MR. MOORE)        And I believe you -- when you

   24    were talking to Detective Stewart, to get some time

   25    references, you had received some text messages from a



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 111 of 303 PageID 684   111


     1   coworker, hadn't you?

     2       A.   Yes, sir.

     3       Q.   And one of those text messages was at 9:35 p.m.,

     4   because you showed him your phone, do you remember that?

     5       A.   I -- yes.

     6       Q.   So at 9:35, that was your first text from your

     7   coworker, right?

     8       A.   I do believe, yes, sir.

     9       Q.   He was wanting to know -- or something about if

   10    you were going to work the next day?

   11        A.   I don't remember what it -- I don't remember what

   12    the text message was.

   13        Q.   Okay.    Do you remember telling Detective Stewart

   14    when you talked to him that day that that's what he

   15    wanted, was to see if you were going to work the next

   16    day?

   17        A.   I remember the -- I remember saying something

   18    about the text messages, but I don't remember what was

   19    said.

   20        Q.   Okay.    And then, also, to kind of get this all

   21    in a time context, you showed him your phone again and

   22    you received another text message from him at 9:46 p.m.,

   23    correct?

   24        A.   Yes, sir.

   25        Q.   Okay.    And you're still outside during this time



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 112 of 303 PageID 685   112


     1   watching the fire and playing with your son?

     2       A.   Yes, sir.

     3       Q.   And still you had heard nothing coming from

     4   Mechelle Gandy's apartment?

     5       A.   No, sir.

     6       Q.   Didn't hear any scuffling or fighting or

     7   anything?

     8       A.   No, sir.

     9       Q.   Not a peep?

   10        A.   No, sir.

   11        Q.   And so you're still sitting outside, and shortly

   12    after you get this text as 9:46, that's when you see

   13    this figure walk out from behind; is that correct?

   14        A.   Yes, sir.

   15        Q.   Do you recall about how long after that 9:46 text

   16    that you saw this figure walk out from behind there?

   17        A.   No, sir.     I don't remember the exact time.

   18        Q.   Do you remember if it was just a short time

   19    later?

   20        A.   Yes, sir.

   21        Q.   Okay.     In fact, you remember -- do you remember

   22    telling Detective Stewart, when you talked to him --

   23    well, let me back up a little bit.

   24                     Before you saw this person walk from -- or

   25    figure walk from behind that apartment, not only had you



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 113 of 303 PageID 686   113


     1   not heard anything from inside that apartment, you

     2   didn't see anybody go in that apartment, did you?

     3       A.   No, sir.

     4       Q.   You didn't see -- and you would have been able to

     5   see somebody go in that apartment if they had, wouldn't

     6   you?

     7       A.   Yes, sir.

     8       Q.   Regardless of whether it was around here or in

     9   the front door, you would have seen them?

   10        A.   Yes, sir.

   11        Q.   And, in fact, you even mentioned to Detective

   12    Stewart when you talked to him that there was a dog

   13    there, that if somebody had been around there, they

   14    would have barked?

   15        A.   Yes, sir.

   16        Q.   That was your dog, correct?

   17        A.   Yes, sir.

   18        Q.   And your dog did not bark, did --

   19        A.   No, sir.

   20        Q.   So you were fairly certain that from 9:15, when

   21    you got home, to 9:46, seeing that figure -- or shortly

   22    after 9:46, seeing that figure walk out, that nobody

   23    entered Mechelle Gandy's apartment?

   24        A.   Correct.

   25        Q.   Okay.    And when we talk about that apartment



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 114 of 303 PageID 687   114


     1   complex and behind it, there's a fence that runs along

     2   the whole back side of that apartment complex, isn't

     3   there?

     4       A.   Correct.

     5       Q.   And it's, what, about an eight-foot fence?

     6   Taller than we are, isn't it?

     7       A.   Yes.    Yes.

     8       Q.   And beyond that fence is a deep ravine, isn't it?

     9       A.   Yes, sir.

   10        Q.   I'm talking 20-, 30-feet deep, isn't it?

   11        A.   I don't remember how deep it was.

   12        Q.   Okay.    It was pretty --

   13        A.   I just know there were thorns.

   14        Q.   That -- it's not a place where people walk around

   15    back there?

   16        A.   Oh, no, not at all.

   17        Q.   Okay.    And so when you see this person walk from

   18    behind, shortly after you get this text, then you start

   19    seeing smoke; is that correct?

   20        A.   Shortly after.

   21        Q.   Or the glow, I'm sorry.

   22        A.   Shortly after.

   23        Q.   Shortly after.       And do you remember telling

   24    Detective Stewart, back when you talked to him, that

   25    when you heard this person, that was maybe two to



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 115 of 303 PageID 688   115


     1   three minutes after you saw the -- it was two or

     2   three minutes until you saw the smoke?

     3       A.   Yes, sir.

     4       Q.   Okay.

     5       A.   Which I seen the glow.

     6       Q.   The glow?

     7       A.   Yes, sir.

     8       Q.   I'm sorry.      Okay.

     9                    And, again, you had seen nobody enter that

   10    apartment up until that period of time?

   11        A.   No, sir.

   12        Q.   And you'd been out there the whole time?

   13        A.   Yes, sir.

   14        Q.   You would have seen someone if they had gone in

   15    that apartment?

   16        A.   Yes, sir.

   17        Q.   In fact, you told Detective Stewart that somebody

   18    had to have been in that apartment while you were out

   19    there because you certainly didn't see anybody come?

   20        A.   I didn't see nobody go in or out.

   21        Q.   Exactly.     Now, so when you --

   22                     MR. MOORE:      I promise, y'all, it's harder

   23    than it looks.

   24                     Well, let me do this.

   25        Q.   (BY MR. MOORE)       Referring back to State's Exhibit



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 116 of 303 PageID 689   116


     1   No. 2, the aerial picture of this apartment complex,

     2   this white truck is where you testified your and

     3   Mechelle Gandy's apartment was, correct?

     4       A.   Yes, sir.

     5       Q.   And back here we see -- this is that ravine I was

     6   asking you about, isn't it, with all the trees and --

     7       A.   Yes, sir.

     8       Q.   And there's a fence back here you can't see, but

     9   there's a fence that runs all the way down this

   10    property, correct?

   11        A.   Yes, sir.

   12        Q.   I believe you testified that this area right in

   13    here between these apartments is where you first saw

   14    this person and this -- you didn't know whether it was a

   15    male or a female, did you?

   16        A.   No, sir.

   17        Q.   It could have been a woman?

   18        A.   Yes, sir.

   19        Q.   Don't know what race they were?

   20        A.   No, sir.

   21        Q.   Did you see anything -- did they say anything?

   22        A.   No, sir.

   23        Q.   Were they running?

   24        A.   No, sir.

   25        Q.   Just walking?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 117 of 303 PageID 690   117


     1       A.    Yes, sir.

     2       Q.    So you really don't know whether they came out of

     3   her apartment or not, do you?

     4       A.    No, sir.

     5       Q.    They just came out from that area?

     6       A.    Yes, sir.

     7       Q.    Shortly after the smoke?

     8       A.    Yes, sir.

     9       Q.    And this person walked this way, correct?

   10        A.    Kind of -- yes, in this direction.            Yes.

   11        Q.    They didn't walk down this way, they didn't

   12    walk --

   13        A.    No.     No.

   14        Q.    If -- this is north, correct?

   15        A.    Yes.

   16        Q.    And this is south?

   17        A.    Yes.

   18        Q.    They walked in the south --

   19        A.    Yeah, just like that.

   20        Q.    -- direction --

   21        A.    No --

   22                      THE COURT:     One at a time.

   23                      THE WITNESS:     Sorry.

   24        Q.    (BY MR. MOORE)       Over here is the entrance to the

   25    apartments, correct?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 118 of 303 PageID 691   118


     1       A.   Yes.

     2       Q.   And so this person that you saw walking was

     3   walking southeasterly towards the front of the

     4   apartment?

     5       A.   Correct.

     6       Q.   Did you see -- where -- when did you lose sight

     7   of this person?

     8       A.   I really didn't pay -- I just seen the direction

     9   he was walking and that was it.            I went about my

   10    business.

   11        Q.   Okay.

   12                     MR. MOORE:    If I can have just a second,

   13    Your Honor?

   14                     THE COURT:    Yes, sir.

   15                     (Pause in proceedings)

   16        Q.   (BY MR. MOORE)       Just couple more questions,

   17    Mr. Lopez.

   18                     The person that you saw walking out from

   19    behind there, do you remember what they were wearing?

   20        A.   No, sir.

   21        Q.   Do you remember telling Detective Stewart they

   22    were wearing some kind of a hoodie?

   23        A.   Yes, sir.

   24        Q.   Okay.     The -- and you talked to Detective Stewart

   25    shortly after this happened, didn't you?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 119 of 303 PageID 692   119


     1       A.   Yes, sir.

     2       Q.   And you certainly would have had a better memory

     3   about it then than you do now, wouldn't you?

     4       A.   Correct.

     5       Q.   And that's understandable because it's been three

     6   and a half years or so.

     7                   And, again, you lived in those apartments.

     8   Do you remember telling Detective Stewart that if there

     9   had been some kind of a disturbance in that apartment,

   10    you would have heard something?

   11        A.   Yes, sir.

   12        Q.   You -- because you told him that you could even

   13    hear the TV coming from that apartment at times,

   14    correct?

   15        A.   The walls are thin.

   16        Q.   They were -- it's just a matter of fact, they

   17    were thin walls.

   18             Well, thank you, Mr. Lopez.

   19                    MR. MOORE:     I'll pass the witness.

   20                    Oh, I'm sorry, Judge.         One more thing.

   21                    Judge, we would offer Defendant's Exhibit

   22    No. 4.

   23                    THE COURT:     Tamla, any objection to

   24    Defendant's 4, the chart?

   25                    MS. RAY:     No, Your Honor.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 120 of 303 PageID 693       120


     1                    THE COURT:    It will be admitted as offered.

     2                    (Defendant's Exhibit No. 4 admitted)

     3                    MR. MOORE:    And I pass the witness.

     4                    THE COURT:    All right.

     5                           REDIRECT EXAMINATION

     6   BY MS. RAY:

     7       Q.   Now, Issac, you stated that you get home about

     8   9:15ish?

     9       A.   Around that time, yes, ma'am.

   10        Q.   And you had to get those fajitas on the grill?

   11        A.   Yes, ma'am.

   12        Q.   They had been, I guess, just sitting in your

   13    kitchen all day defrosting?

   14        A.   In the refrigerator, yes, ma'am.

   15        Q.   I'm sorry?

   16        A.   In the refrigerator.

   17        Q.   So is that why you were concerned about getting

   18    those on the grill before they went bad?

   19        A.   Yes, ma'am.

   20        Q.   About how long from the time you -- how long

   21    would it have taken you to get set up to get those on

   22    the grill?

   23        A.   Around 15 minutes, maybe.          Ten, 15 minutes.           I

   24    don't know.

   25        Q.   Okay.     So for those 10 or 15 minutes, I'm



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 121 of 303 PageID 694   121


     1   assuming you were in your kitchen getting those

     2   together?

     3       A.   Yes.

     4       Q.   So do you season your --

     5       A.   No.     They were already marinated.          I got them

     6   from the meat market.

     7       Q.   So it took you 15 minutes inside the apartment to

     8   get them ready to actually get them on the grill?

     9       A.   No.

   10        Q.   How long would you say it took you --

   11        A.   They were -- oh, sorry.

   12        Q.   How long would you say it took you to get those

   13    from the refrigerator to the grill?

   14        A.   They were already in a bowl.            I just pretty much

   15    had to wait for the coals to die down so I could put

   16    them on.       Just grab the bowl and put them on.

   17        Q.   Well, tell me about that.          The -- was the grill

   18    on the entire day while you were gone?

   19        A.   No.

   20        Q.   Okay.     So when did you turn the grill on?

   21        A.   As soon as I got home.

   22        Q.   Okay.     So how long would it have taken that grill

   23    to get ready?

   24        A.   It usually takes like ten minutes.

   25        Q.   And you mentioned your son was out there with



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 122 of 303 PageID 695   122


     1   you?

     2       A.   Yes.     The chalk is his.

     3       Q.   The chalk on State's Exhibit 13?

     4       A.   If that's the one facing the door.             Yeah, all

     5   that in front of the front door, that's my son.

     6       Q.   That was all Julian's handiwork?

     7       A.   Yeah.

     8       Q.   When did Julian do all that?

     9       A.   We were outside together.          We -- he was out there

   10    with me and that's what he was doing when we were

   11    outside.

   12        Q.   So while you were out there on the grill, that's

   13    what Julian was doing?

   14        A.   Yes, ma'am.

   15        Q.   So were you watching him do that?

   16        A.   Yeah.    Yes, ma'am.      Right.

   17        Q.   Was he doing the whole "Daddy, look at this."

   18    "Daddy, look at that"?

   19        A.   Yeah, pretty much.

   20        Q.   Pulling your attention the way kids do to look at

   21    their masterpieces.

   22                     And in State's Exhibit 13 we can see a grill

   23    next to that window.         Is that the grill you were doing

   24    your fajitas?

   25        A.   No.     That's -- it's just a little, kind of like a



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 123 of 303 PageID 696   123


     1   fire -- like a -- kind of like a fire pit, kind of, like

     2   a little one my wife bought me.

     3       Q.   So that's not --

     4       A.   Not -- no, that's not even a grill.

     5       Q.   What did you end up doing with the grill that you

     6   were using?

     7       A.   The fajitas never came off of it and I just moved

     8   it to the side out of the way from -- so the fire

     9   department can go through it and stuff.

   10        Q.   You didn't end up --

   11        A.   No, I didn't get to --

   12                     THE COURT:     One at a time.

   13                     THE WITNESS:     Sorry.

   14        Q.   (BY MS. RAY)      You end up wasting those fajitas

   15    after all that work?

   16        A.   Yes, ma'am.

   17        Q.   Now, earlier with Mr. Moore, you said -- he asked

   18    you a question about how -- what was the relationship

   19    between the time when you saw the figure and you saw

   20    the -- and you smelled smoke.

   21                     Did you smell smoke before or after you saw

   22    that figure?

   23        A.   After.

   24        Q.   Okay.     So you see the figure then you smelled

   25    smoke?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 124 of 303 PageID 697   124


     1       A.   I seen the figure, then I seen the glow, then I

     2   smelled the smoke.

     3       Q.   So the glow and smoke are afterwards?

     4       A.   Yes, ma'am.

     5                    MS. RAY:    One second, Your Honor.

     6                    (Pause in proceedings)

     7       Q.   (BY MS. RAY)       Now, Issac, when you're looking at

     8   State's Exhibit 13, can you -- well, let me ask you

     9   this.    While you were grilling, were you just standing

   10    grilling or were you seated next to it?              How were --

   11    what was your setup?

   12        A.   I was leaning on my car, on the front.              And the

   13    grill was in -- on the sidewalk and my son was playing

   14    right there.

   15        Q.   And your son?

   16        A.   My son was playing right there in the -- on

   17    the porch.

   18        Q.   Can you point on -- well, let me ask you this.

   19    Can you see on State's Exhibit 13 where your grill would

   20    have been?

   21        A.   No.

   22        Q.   Okay.     So State's Exhibit 13 -- let me move this

   23    stuff out of the way.

   24                     Where on State's Exhibit 13 -- you said you

   25    can't -- you cannot see where the grill would have been?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 125 of 303 PageID 698   125


     1       A.   No, ma'am.

     2       Q.   Okay.     If you can point on the screen

     3   generally -- why can you not see it?             Where --

     4       A.   It's --

     5       Q.   -- is it cut off?

     6       A.   Right around this area, like over here in front

     7   of my door.       Like right here.

     8       Q.   So the grill was not on the porch?

     9       A.   No.

   10        Q.   And you stated when you saw the figure, you

   11    stated that your dog was with you and your dog did or

   12    did not bark when your dog saw the figure?

   13        A.   Did not.

   14        Q.   So when that figure walked past, that you saw,

   15    your dog didn't bark then?

   16        A.   No, ma'am.

   17                     MS. RAY:     Pass this witness, Your Honor.

   18                     MR. MOORE:     Just a few more questions.

   19                             RECROSS-EXAMINATION

   20    BY MR. MOORE:

   21        Q.   Mr. Lopez, you remember when you talked to

   22    Detective Stewart shortly after this incident and you

   23    told him that you had seen is a Lincoln vehicle in

   24    the -- going through the parking lot?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 126 of 303 PageID 699   126


     1       Q.   And that was a strange vehicle to the area?

     2       A.   It was the only vehicle that I seen drive through

     3   the apartments.

     4       Q.   Okay.     And when did you see that drive through

     5   the apartment complex?

     6       A.   Right before -- it was just right -- like right

     7   after I got home.

     8       Q.   Okay.     And where was that car going, which

     9   direction?

   10        A.   Coming out of the apartments, like to leave out

   11    the front of the apartments, on the south part of the

   12    picture.

   13        Q.   Okay.     And you also remember telling Detective

   14    Stewart about an incident where some guy kicked in

   15    her -- Mechelle Gandy's door?

   16        A.   No.

   17        Q.   You don't recall telling him that?

   18        A.   No.     It was my wife's door.        I told him an

   19    incident about something that happened in the past with

   20    my wife.

   21        Q.   Oh, okay.     But you do remember telling Detective

   22    Stewart that you were out -- outside the whole time

   23    between when you got home and saw the smoke, you

   24    remember that?

   25        A.   Pretty much, yes.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 127 of 303 PageID 700   127


     1       Q.   And you also remember telling him, telling

     2   Detective Stewart, that in your opinion somebody had to

     3   have been in there the whole time because you didn't see

     4   them come or go?

     5       A.   Yes.

     6       Q.   Okay.     Thank you, sir.

     7                    MR. MOORE:     I'll pass the witness.

     8                    MS. RAY:     Briefly, Your Honor.

     9                      FURTHER REDIRECT EXAMINATION

   10    BY MS. RAY:

   11        Q.   The Lincoln that you were talking about, what

   12    sort of -- was it a sedan or an SUV?             What kind of

   13    Lincoln are you talking about?

   14        A.   It was like an older model.           Like a '96 model.

   15        Q.   '96 model of --

   16        A.   Because I can -- yeah.         I work on cars.       It was

   17    about a '90 -- it was like a '96 four-door.

   18        Q.   Four-door?

   19        A.   Yeah.

   20        Q.   Sedan?

   21        A.   Yeah.

   22        Q.   And do you recall describing the figure as being

   23    a little by bit taller than you?

   24        A.   Yes.

   25        Q.   Little beefier than you?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 128 of 303 PageID 701   128


     1       A.   Yes.

     2       Q.   How tall are you?

     3       A.   I'm 5'9.

     4                   MS. RAY:     I pass the witness, Your Honor.

     5                   MR. MOORE:     Judge, I have no other questions

     6   of this witness.

     7                   THE COURT:     May this witness be permanently

     8   excused from these proceedings, if you have no other

     9   questions?

   10                    MR. MOORE:     We would just like him subject

   11    to recall.

   12                    THE COURT:     Just to be available on

   13    reasonable notice?

   14                    MR. MOORE:     Yes.

   15                    THE COURT:     All right.      You still live in

   16    this area?

   17                    THE WITNESS:      I live in Lewisville.

   18                    THE COURT:     Lewisville.       But, I mean, if

   19    someone told you they need you back tomorrow, the judge

   20    will get you a letter if you need to back, if they call

   21    you.

   22                    THE WITNESS:      Yeah.    I just --

   23                    THE COURT:     That would be better than

   24    sitting in the hall for a couple weeks, wouldn't it?

   25                    THE WITNESS:      I started a new job, so it's



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 129 of 303 PageID 702    129


     1   kind of --

     2                   THE COURT:     Listen to me carefully.          Would

     3   that be better than having to sit in the hall and wait

     4   to see if they need you?

     5                   THE WITNESS:      Yes, sir.

     6                   THE COURT:     All right.      Is -- your employer,

     7   you can tell them you're a witness in a criminal trial,

     8   the judge is releasing you to work.              But you -- if you

     9   get notified the day before you're needed back -- you

   10    need to be back, you need to be back.              And if he has a

   11    problem with it, he needs to call me.              Okay?    And if he

   12    needs a letter to verify you had to be back, I can take

   13    care of that for you.

   14                    THE WITNESS:      Yes, sir.

   15                    THE COURT:     They might not need you back.

   16    They know how to get ahold of you.             If they don't call

   17    you, you don't worry about it.            But if they call you,

   18    they will call you the day before you're needed back.

   19    So it won't be like "be here in an hour".

   20                    Does that make sense?

   21                    THE WITNESS:      Yes, sir.

   22                    THE COURT:     Okay.    All right.      I do thank

   23    you for coming in.        Remember those instructions.

   24                    THE WITNESS:      Would --

   25                    THE COURT:     If you've got a question, go



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 130 of 303 PageID 703   130


     1   ahead.

     2                   THE WITNESS:      Would it be like a -- they'll

     3   let me know a day before, correct?

     4                   THE COURT:     Well, if they needed you on

     5   Thursday, they would call you on Wednesday and say we

     6   need you on Thursday.         They won't call you Thursday at

     7   9:00 and say be here at 11:00.

     8                   THE WITNESS:      Yes, sir.

     9                   THE COURT:     Okay.    Does that make sense?

   10                    THE WITNESS:      Yes, sir.

   11                    THE COURT:     All right.      Thanks for coming in

   12    and you're excused as a witness for -- but you're on

   13    call if needed.

   14                    THE WITNESS:      So I'm able to leave after --

   15                    THE COURT:     That means you can go wherever

   16    you want right now.        Just make sure I can get you back

   17    if I need you.

   18                    THE WITNESS:      Yes, sir.

   19                    THE COURT:     All right.      Thanks for coming

   20    in.

   21                    (Witness excused from courtroom)

   22                    THE COURT:     Members of the jury, you can go

   23    have lunch.      Be back in an hour and 15 minutes from

   24    whatever time you walk out the jury room door, after --

   25    if anyone needs to powder their nose or whatever, and



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 131 of 303 PageID 704   131


     1   the sheriff will let us know.

     2                   Everyone else be back in an hour and ten

     3   minutes from whatever time that the sheriff tells you

     4   the jury has left the floor.           Everyone remain in the

     5   courtroom until the jury has left the hall.

     6                   (Lunch break, 12:50 - 2:10 p.m.)

     7                   (OPEN COURT, DEFENDANT PRESENT, NO JURY)

     8                   (Witness on the stand)

     9                   THE COURT:     State your full, legal name for

   10    Karen.

   11                    THE WITNESS:      Celia Lopez.

   12                    THE COURT:     Face me and raise your right

   13    hand.

   14                    (One witness sworn)

   15                    THE COURT:     There's some rules you have to

   16    follow until the trial is over.             Number one, you can

   17    only be in the courtroom when you're answering

   18    questions.      You can't sit in and listen to other people.

   19                    Still with me?

   20                    THE WITNESS:      Uh-huh.

   21                    THE COURT:     Is that a "yes" uh-huh?

   22                    THE WITNESS:      Yes, sir.

   23                    THE COURT:     Rule 1.1 is you've got to answer

   24    out loud.     She can't write nods and shakes and uh-huhs.

   25    You've got to use words.          Okay?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 132 of 303 PageID 705   132


     1                   THE WITNESS:      Yes, sir.

     2                   THE COURT:     You can't talk to anyone about

     3   anything that has to do with the trial or the people

     4   involved, including -- I think your husband was here a

     5   few minutes ago.

     6                   THE WITNESS:      Yes, sir.

     7                   THE COURT:     You can't talk to him about

     8   anything that has to do with the trial until the trial

     9   is over.     You may only talk about what goes on in the

   10    courtroom or what went on at the time of the events

   11    giving rise to the trial, if you're speaking in private

   12    with these lawyers or their staff or you're answering

   13    questions in open court in the presence of the jury or

   14    the judge.

   15                    Still with me?

   16                    THE WITNESS:      Yes, sir.

   17                    THE COURT:     Make sure you hear and

   18    understand any question.          And if you can't hear or don't

   19    understand, just say so.          Make them word it where you

   20    know what you're being asked, but never wing it.

   21                    Do you understand?

   22                    THE WITNESS:      Yes, sir.

   23                    THE COURT:     And make sure -- and you're

   24    doing this very well.         Make sure whoever is talking

   25    stops before you answer because she cannot type two



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 133 of 303 PageID 706   133


     1   people talking at the same time.            So if someone says

     2   slow down, one a time, speak up, they're not picking on

     3   you.    They're helping her do her job.

     4                   Do you understand?

     5                   THE WITNESS:      Yes, sir.

     6                   THE COURT:     If she can't hear and write it,

     7   the jury can't hear and understand it.              That's kind of

     8   what lawyers slowly figured out over time and that court

     9   reporters have always known.           They teach them that in

   10    school.

   11                    You good to go?

   12                    THE WITNESS:      Yes, sir.

   13                    THE COURT:     State, good to go?

   14                    MR. ROUSSEAU:      Yes, Your Honor.

   15                    THE COURT:     Defense good to go?

   16                    MR. MOORE:     We're good to go.

   17                    THE COURT:     Well, the jury apparently is not

   18    good to go, so we will stand down for a minute.

   19                    For the record, the jury returned from lunch

   20    and they've asked for a few more minutes to freshen up.

   21                    (Pause in proceedings)

   22                    (Jury seated in courtroom)

   23                    THE COURT:     You may call and identify your

   24    next witness.

   25                    MS. RAY:     Your Honor, we call Celia Lopez.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 134 of 303 PageID 707   134


     1                   THE COURT:     Will you say your name out loud

     2   for me one more time and for Karen and also for these

     3   people on the jury.

     4                   THE WITNESS:      Celia Lopez.

     5                   THE COURT:     And I swore you in, placed you

     6   under oath -- O-A-T-H, Karen -- explained the rules

     7   of -- witnesses have to follow while a trial is in

     8   progress, and that was all done when they were at lunch;

     9   is that right?

   10                    THE WITNESS:      Yes, sir.

   11                    THE COURT:     All right.      Then you may

   12    proceed.

   13                    MS. RAY:     Thank you, Your Honor.

   14                                 CELIA LOPEZ,

   15    having been first duly sworn, testified as follows:

   16                             DIRECT EXAMINATION

   17    BY MS. RAY:

   18        Q.   Celia, you are currently married to Paul -- or --

   19    Issac, correct?

   20        A.   Yes, ma'am.

   21        Q.   And how long have you and Issac been married?

   22        A.   A year.

   23        Q.   It's a test.

   24        A.   Well, I didn't --

   25        Q.   He apparently thinks y'all have been married four



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 135 of 303 PageID 708   135


     1   and a half years.

     2       A.   No.     We -- our wedding was -- was last July.

     3       Q.   Okay.     But y'all have been together for a very

     4   long time?

     5       A.   Yes.

     6       Q.   Must be flattering to know that he's considered

     7   you his wife since the moment he met you, apparently.

     8       A.   Yes.

     9       Q.   Okay.     Do y'all have children?

   10        A.   Yes.

   11        Q.   Three children, I believe?

   12        A.   Yes.

   13        Q.   And y'all currently live in Lewisville?

   14        A.   Yes.

   15        Q.   Now, what do you currently do?

   16        A.   I'm a schoolteacher.

   17        Q.   So you are missing out on what grade?

   18        A.   Seventh grade math.

   19        Q.   Seventh grade math.        How are those kids treating

   20    you?

   21        A.   There's 150 them.

   22        Q.   You don't teach -- you don't teach 150 children

   23    all at once, correct?

   24        A.   No.     Like 30 at a time.

   25        Q.   Okay.     Thirty at a time.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 136 of 303 PageID 709   136


     1                   Do you enjoy that work?

     2       A.   Yes.

     3       Q.   How long have you been a teacher?

     4       A.   Three years now.

     5       Q.   Three?

     6       A.   Yes.

     7       Q.   Back in 2011 were you and Paul still -- y'all

     8   were dating then?

     9       A.   Yes.

   10        Q.   Do you recall where y'all were living?

   11        A.   We both had our own apartments, but we really

   12    stayed at his apartment.

   13        Q.   So y'all both had separate apartments, but you

   14    were generally at his apartment?

   15        A.   Yes.     And they were across the street from each

   16    other.

   17        Q.   And do you recall the name of his apartment

   18    complex?

   19        A.   Yes.

   20        Q.   What were his apartments called?

   21        A.   Presidents Corner.

   22        Q.   And how close was your apartment to his?

   23        A.   Across the street.

   24                    MS. RAY:     Your Honor, may I approach the

   25    witness?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 137 of 303 PageID 710   137


     1                    THE COURT:     You may.

     2       Q.   (BY MS. RAY)      Celia, I'm showing you what's been

     3   admitted as State's Exhibit 2.             Are you familiar with

     4   what State's Exhibit 2 depicts?

     5       A.   The picture?

     6       Q.   Yes.

     7       A.   Yes.

     8       Q.   Okay.     And these are the apartment complexes --

     9   the apartment complex where Issac lived back in March of

   10    2011?

   11        A.   Yes.

   12        Q.   Can you see the complex where you were living at

   13    the time?

   14        A.   Yes.

   15        Q.   Okay.     If you could, mark on State's Exhibit 2

   16    where you were living back in March of 2011?

   17        A.   My apartment or his?

   18        Q.   Your apartment.

   19        A.   My apartment was in Oak Forest, over here.

   20        Q.   So across the street?

   21        A.   Yes, ma'am.

   22        Q.   Okay.

   23                     THE COURT:     For the record, are you pointing

   24    on the far right side of that picture?

   25                     THE WITNESS:     Yes, sir.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 138 of 303 PageID 711    138


     1                   THE COURT:     In the -- kind of in the middle?

     2                   THE WITNESS:      It's -- actually, there's a

     3   little road this way.         It's not on the picture itself.

     4   Like it's not one of these buildings right here.                 It's

     5   in a building over here, in space.

     6                   THE COURT:     You're pointing off to the right

     7   of the picture?

     8                   THE WITNESS:      Yes, sir.

     9                   THE COURT:     For the purpose of the court

   10    reporter.

   11                    Okay.    You may continue.

   12                    Because I couldn't see the little dot

   13    because it wasn't on the picture.

   14                    THE WITNESS:      Okay.

   15                    THE COURT:     Is that why?       Okay.

   16        Q.   (BY MS. RAY)      So it didn't take you too long to

   17    get back and forth between your -- those two apartments?

   18        A.   No, ma'am.

   19        Q.   And I believe at the time you had a son from a

   20    prior relationship?

   21        A.   Yes, ma'am.

   22        Q.   Julian?

   23        A.   Yes, ma'am.

   24        Q.   How old was Julian back in 2011?

   25        A.   He was four.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 139 of 303 PageID 712   139


     1       Q.   And --

     2       A.   Sorry, five.      Because he was born in '06.           He

     3   was -- he had just turned five.            He was five years old.

     4       Q.   Did he live with you full-time?

     5       A.   Yes.

     6       Q.   And I understand that Issac also has a daughter

     7   from another relationship?

     8       A.   Yes.

     9       Q.   Do you remember how old she was?

   10        A.   Seven.

   11        Q.   Okay.     Did she live with y'all full-time or was

   12    she there on weekends?

   13        A.   Weekends.

   14        Q.   Weekends?

   15        A.   Uh-huh.

   16        Q.   Do you recall ever meeting a woman by the name of

   17    Mechelle Gandy?

   18        A.   Yes.

   19        Q.   And what -- when did you meet Mechelle?

   20        A.   I only met her a couple of times, but I'd seen

   21    her that same month.

   22        Q.   The same month?

   23        A.   In March.

   24        Q.   Okay.     Of -- the same month that she died?

   25        A.   Yes.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 140 of 303 PageID 713   140


     1       Q.   And was that the first time you had seen her, in

     2   March?

     3       A.   I don't remember.

     4       Q.   Had Issac lived in that apartment complex very

     5   long?

     6       A.   No.

     7       Q.   About how long, less than a year?             More than a

     8   year, would you think?

     9       A.   Less than a year.

   10        Q.   Much less?      Like less than six months?

   11        A.   I think he moved in around December-ish.               I don't

   12    remember if it was before Christmas or what, but...

   13        Q.   But it was around Christmastime?

   14        A.   Yes.

   15        Q.   Of -- I guess Christmas of 2010?

   16        A.   Yes.

   17        Q.   And did Mechelle, did she live there before Issac

   18    got there or did she move in afterwards?

   19        A.   I don't know.

   20        Q.   Did you know Mechelle's family situation in terms

   21    of did you know if she had any children?

   22        A.   Yes.

   23        Q.   And how many children did she have?

   24        A.   One.

   25        Q.   And a boy or girl?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 141 of 303 PageID 714   141


     1       A.   Boy.

     2       Q.   And his name?

     3       A.   Asher.

     4       Q.   Had you met Asher?

     5       A.   Yes.

     6       Q.   Were you around when Asher had his birthday

     7   party?

     8       A.   I wasn't around at the birthday party, but I had

     9   seen him -- it was either after or before.               He was

   10    walking.

   11        Q.   He was walking?

   12        A.   Well, she had him on her fingers.             Like he was

   13    holding her fingers, last I remember.

   14        Q.   So that's your last memory of Asher?

   15        A.   Uh-huh.     Yes, ma'am.

   16        Q.   Would it be fair to say that Mechelle was a

   17    pretty friendly neighbor?

   18        A.   Yes, ma'am.

   19        Q.   On -- back in March, where was Issac working?

   20        A.   At Lowe's.

   21        Q.   Do you remember what time it would have been when

   22    he got off work?

   23        A.   Around 9:00 o'clock.

   24        Q.   On March 20th, 2011, that was the night of the

   25    fire, do you recall if Issac would have been working



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 142 of 303 PageID 715        142


     1   that evening?

     2       A.   Yes.

     3       Q.   And would he have gotten off at the same --

     4   around the same time?

     5       A.   Yes.

     6       Q.   Which Lowe's was he working at?

     7       A.   The one on Eastchase.         Right down the street from

     8   the apartment.

     9       Q.   Pretty -- fairly close to y'all -- where y'all

   10    were living?

   11        A.   Yes.

   12        Q.   Do you recall if or when you would have picked

   13    him up from work?

   14        A.   I would have been there like right on time.                   So

   15    probably been there at 9:00.

   16        Q.   At 9:00.     And did y'all come straight home?

   17        A.   I believe so.

   18        Q.   About how long would it have taken you to get

   19    home?

   20        A.   Ten, 15 minutes.

   21        Q.   When you got home, what do you recall y'all

   22    doing?

   23        A.   Him and my son -- he was grilling and my son was

   24    drawing with chalk, but I was doing laundry.

   25        Q.   So where were you doing laundry?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 143 of 303 PageID 716   143


     1       A.    I had done the laundry at my house, so I had just

     2   brought it over from my house and I was hanging up all

     3   the wet clothes in his house to dry.

     4       Q.    And when you first got home from the Lowe's, did

     5   you drop Issac and your boy off and then go get your

     6   clothes?

     7       A.    Most likely.     But I don't remember.

     8       Q.    But by the time you came back with your clothes,

     9   Issac was grilling.        Is that what you just said?

   10        A.    Yes.

   11        Q.    And what about Julian, what was Julian doing?

   12        A.    He was playing with chalk.          He was drawing on the

   13    ground.

   14        Q.    What did you do when you got back to the

   15    apartment?

   16        A.    I was hanging up the clothes in the back, the

   17    back closet.

   18        Q.    If you could, describe the layout of Issac's

   19    apartment back then?           Was it a large apartment?

   20        A.    No.     It was just one bedroom.        And it didn't have

   21    any furniture, really, in it.

   22        Q.    It didn't have any furniture in it?

   23        A.    Not really.     He had a couch and two blowup

   24    mattresses.

   25        Q.    Okay.     So he --



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 144 of 303 PageID 717   144


     1       A.   All the furniture was at my apartment.              He was a

     2   single guy so he just had --

     3       Q.   Okay.     Did you change that?

     4       A.   When we moved back to my apartment.

     5       Q.   So when y'all finally got together, made it

     6   serious, you moved him back to your apartment?

     7       A.   Yes.

     8       Q.   Where there was furniture?

     9       A.   Yes.

   10        Q.   Like a proper adult?

   11        A.   Yes.

   12        Q.   Okay.     So while -- so Issac's apartment is a

   13    one-bedroom apartment?

   14        A.   Yes, ma'am.

   15        Q.   With --

   16                     MS. RAY:     May I approach, Your Honor?

   17                     THE COURT:     Yes, ma'am.

   18        Q.   (BY MS. RAY)       Showing you what's already been

   19    admitted as State's Exhibit 13.            Take a look at State's

   20    Exhibit 13.       And State's Exhibit 13, is that a picture

   21    of the doorway to Issac's apartment and Mechelle's

   22    apartment?

   23        A.   Yes.

   24        Q.   And there's a window in between?

   25        A.   Yes.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 145 of 303 PageID 718   145


     1       Q.   That window went to which apartment?

     2       A.   To Issac's.

     3       Q.   And do you know that window -- what room would

     4   that have been?

     5       A.   That's the living room.

     6       Q.   You stated earlier that Julian was drawing on the

     7   sidewalk.       Is that what's depicted in 13?

     8       A.   Yes.     Yes.

     9       Q.   When Julian was out there doing these kind of

   10    masterpieces, did he require attention?              Did he want

   11    people to watch him and see his work as it unfolded?

   12        A.   If he did, it would have been Issac's job.

   13        Q.   Okay.     Issac was in charge of watching Julian?

   14        A.   Yes, because I was busy with the clothes.

   15        Q.   Okay.     Training him up and testing him out to see

   16    if he was going to be a good dad.

   17                     The -- so you're in the apartment.           Which

   18    part of the apartment were you when you were hanging up

   19    the clothing?

   20        A.   I was in the one bedroom that they have, in the

   21    back closet.

   22        Q.   So is that close to where that living -- is

   23    that -- where -- close to where that window is, or is it

   24    in the back of the apartment?

   25        A.   No.     It goes the window and then the living room



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 146 of 303 PageID 719   146


     1   and then the room.        And against the back window, sliding

     2   glass door thing, is where the closet is.               And I was in

     3   the closet hanging up, because it was a big closet.

     4       Q.   So were you aware of any comings and goings in

     5   the apartment?

     6       A.   No.

     7       Q.   At some point were you made aware that

     8   something was going wrong or something had happened?

     9       A.   Yes.

   10        Q.   What happened?

   11        A.   Issac came in saying -- asking me if I smell that

   12    and I was like no.        And then he -- they have plastic

   13    blinds and he had pulled the plastic blinds back and

   14    when he pulled the plastic blinds back, you just saw

   15    gulfs of flames.

   16        Q.   Could you see where those gulfs of flames were

   17    coming from?

   18        A.   It was so bright.        It was right there where his

   19    room is.

   20        Q.   Where whose room is?

   21        A.   Asher's.

   22        Q.   Did you -- you had an idea of how Mechelle's

   23    apartment was laid out?

   24        A.   Yes.

   25        Q.   So you knew which room belonged to Asher?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 147 of 303 PageID 720   147


     1       A.   Yes.

     2       Q.   Now, when y'all first got to the apartment, did

     3   you see -- or -- did you see Mechelle or Asher when you

     4   first got home?

     5       A.   No.

     6       Q.   Did you have reason to believe that Mechelle was

     7   home?

     8       A.   When I saw her car.

     9       Q.   And when you saw that Asher's bedroom was on

   10    fire, what did you do?

   11        A.   I called 9-1-1.

   12                     MS. RAY:     May I approach the witness, Your

   13    Honor?

   14                     THE COURT:     Yes.

   15        Q.   (BY MS. RAY)       Celia, I'm showing you what's been

   16    marked as State's Exhibit 1.           Are you familiar with

   17    State's Exhibit 1?

   18        A.   Yes.

   19        Q.   Okay.     And it is a CD?

   20        A.   Yes.

   21        Q.   And do you recall what is depicted on State's

   22    Exhibit 1?

   23        A.   Yes.

   24        Q.   And what is on State's Exhibit 1?

   25        A.   The 9-1-1 phone call I made.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 148 of 303 PageID 721        148


     1       Q.   And you've listened to State's Exhibit 1 before?

     2       A.   Yes.

     3       Q.   Looks like you've initialed and dated it when you

     4   listened to it?

     5       A.   Yes, ma'am.

     6       Q.   And does it appear to be an accurate copy of the

     7   9-1-1 call you made?

     8       A.   Yes, ma'am.

     9       Q.   You recognize your voice?

   10        A.   Yes, ma'am.

   11                    MS. RAY:     Your Honor, I offer State's

   12    Exhibit 1, after tendering to Defense Counsel for

   13    inspection.

   14                    MR. MOORE:     I have no objection, Your Honor.

   15                    THE COURT:     All right.      State's 1 is

   16    admitted.

   17                    (State's Exhibit No. 1 admitted)

   18        Q.   (BY MS. RAY)      Celia, while you were on the --

   19    Celia, while you were on the phone with dispatch, what

   20    was Issac doing?

   21        A.   He kept asking me to ask them if they want him to

   22    kick in the door.

   23        Q.   And what were you doing, did you relay that to

   24    the 9-1-1 dispatch?

   25        A.   Yes, but they didn't answer me fast enough.                   He



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 149 of 303 PageID 722   149


     1   had already kicked in the door.

     2       Q.   So before you could even get an answer, Issac is

     3   kicking in the door?

     4       A.   Yes, because he was afraid about the baby.

     5       Q.   I'm sorry?

     6       A.   He was worried about the baby.

     7       Q.   How about you, were you concerned?

     8       A.   Yeah.     Because it was massive flames.           It was...

     9                    MS. RAY:     Your Honor, at this time I would

   10    ask permission to publish State's Exhibit 11 -- or

   11    sorry -- State's Exhibit No. 1.

   12                     THE COURT:     Do you intend to do that by

   13    playing it through the audio/visual equipment in the

   14    courtroom?

   15                     MS. RAY:     Yes, Your Honor.

   16                     THE COURT:     Using your laptop?

   17                     MS. RAY:     Yes, Your Honor.

   18                     THE COURT:     You may do so.

   19                     (State's Exhibit No. 1 played in open court)

   20        Q.   (BY MS. RAY)       Now, Celia, parts of that call, of

   21    course, are hard -- somewhat difficult to understand.

   22    While you were on the phone, I can hear some banging in

   23    the background.       What was that?

   24        A.   It was -- it would have been him banging on the

   25    door, or I went around and was telling -- and seeing if



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 150 of 303 PageID 723   150


     1   any of the neighbors were upstairs to tell them to get

     2   out of the apartments, as well.

     3       Q.   So while you're on the phone with 9-1-1 dispatch,

     4   you're also running around trying to warn your

     5   neighbors?

     6       A.   Yes.

     7       Q.   And what is -- what was Julian doing at the time?

     8       A.   I tried to get Julian and the dog into the car,

     9   but I don't remember when I did that.

   10        Q.   You were trying to get them out of harm's way?

   11        A.   Uh-huh.

   12        Q.   At some point did the firefighters get there, the

   13    fire department?

   14        A.   Yes, ma'am.

   15        Q.   About how long did it seem to take for the fire

   16    department to get there?

   17        A.   I don't think very long.          It was just right down

   18    the street.

   19        Q.   The fire department was down the street from you

   20    guys?

   21        A.   Yes, ma'am.

   22        Q.   It sounds like we can hear some sirens on that

   23    recording.      Would that have been the fire department?

   24        A.   Possibly.

   25        Q.   Did you watch when the fire department arrived?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 151 of 303 PageID 724   151


     1       A.   Yes, ma'am.

     2       Q.   What did you see them do?

     3       A.   I saw them bring Mechelle out.

     4       Q.   You saw them bringing Mechelle out?

     5       A.   Uh-huh.

     6       Q.   And where did they carry Mechelle?

     7       A.   Right in front of where Julian was doing the

     8   chalk.

     9       Q.   Did you see how she was dressed?

   10        A.   Yes, ma'am.

   11        Q.   What was she wearing?

   12        A.   She had no clothes on.

   13        Q.   Did she appear to be conscious?

   14        A.   No, ma'am.

   15        Q.   Did you watch as they tried to save Mechelle's

   16    life?

   17        A.   Yes, ma'am.

   18        Q.   How long did it appear that they tried to save

   19    her?

   20        A.   I don't know.

   21        Q.   Did it seem like a long time?

   22        A.   I don't know.

   23        Q.   At that time did you know what, if anything, had

   24    happened to Asher?

   25        A.   No.    I kept telling the fire department that



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 152 of 303 PageID 725   152


     1   there was a baby in there.

     2       Q.   Did they appear to be responding to you when you

     3   told them there was a baby in there?

     4       A.   I told everyone that came out that there was a

     5   baby, because they couldn't tell me where the baby was.

     6   And they kept saying maybe the baby wasn't there, maybe

     7   he was with family.        And I told them that if the car was

     8   there, the baby was there.

     9       Q.   So you're asking them where is the baby and

   10    they're telling you, well, we're not even sure there's a

   11    baby in there?

   12        A.   Yes, ma'am.

   13        Q.   And you told them that if that car is there,

   14    Mechelle is there and that baby is there?

   15        A.   Yes, ma'am.

   16        Q.   Were you there when they stopped working on

   17    Mechelle?

   18        A.   Yes, ma'am.

   19        Q.   Were you there when they declared her dead?

   20        A.   Yes, ma'am.

   21        Q.   Did you ever see Asher?

   22        A.   No, ma'am.

   23        Q.   Did you ever find out what had happened to Asher

   24    that night?

   25        A.   We did find out.        I don't remember if it was that



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 153 of 303 PageID 726   153


     1   night or early that morning.

     2       Q.   At some point did you leave the apartment to go

     3   to your apartment?

     4       A.   Yes, ma'am.

     5       Q.   By the time you left to go to your apartment, had

     6   you heard any news about Asher?

     7       A.   No, ma'am.

     8                   MS. RAY:     I'll pass this witness, Your

     9   Honor.

   10                    THE COURT:     Defense may cross.

   11                    MR. MOORE:     Judge, I don't have any

   12    questions.

   13                    THE COURT:     May this witness be excused?

   14                    MR. MOORE:     She may.

   15                    THE COURT:     Ditto?

   16                    MS. RAY:     No objections, Your Honor.

   17                    THE COURT:     Then you're going to be excused

   18    from the trial.       You're not on call.        You don't have to

   19    come back.      But you can't talk to anyone about anything,

   20    including your husband, until you find out the trial is

   21    over, if it relates to anything having to do with court,

   22    versus kids or baseball or whatever.

   23                    Do you understand the difference?

   24                    THE WITNESS:      Yes, sir.

   25                    THE COURT:     All right.      Thank you for coming



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 154 of 303 PageID 727   154


     1   in.     And take your water with you, too.

     2                   THE WITNESS:      Will y'all let us know when

     3   it's over?

     4                   THE COURT:     I think the lawyers will try to

     5   keep up with you.        If there's any doubt you have, call

     6   the court number and ask one of the staff if it's over

     7   or not.     The number -- get one of the deputies in the

     8   back to give you the phone number.             Okay?

     9                   THE WITNESS:      Thank you.

   10                    (Witness excused from courtroom)

   11                    THE COURT:     You may call your next witness.

   12                    MR. ROUSSEAU:      Your Honor, we're going to

   13    call Officer Arias, A-R-I-A-S.

   14                    (Witness takes the stand)

   15                    THE COURT:     State your full, legal name out

   16    loud.

   17                    THE WITNESS:      Jason Michael Arias.

   18                    THE COURT:     I need you to face me and raise

   19    your right hand.

   20                    (One witness sworn)

   21                    THE COURT:     Have you ever testified before?

   22                    THE WITNESS:      No, sir.

   23                    THE COURT:     There are certain rules you need

   24    to know about that will apply pretty much in any

   25    district court trial.         The first rule is you cannot be



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 155 of 303 PageID 728   155


     1   in the courtroom when other people are answering

     2   questions, only when it's your turn to testify.                 For the

     3   same reason, you're not allowed to talk to those people

     4   during the trial about anything you know or they know

     5   about anything that has to do with the trial or the

     6   people involved.       The rule says you cannot discuss your

     7   testimony with other witnesses.

     8                   Are you still with me?

     9                   THE WITNESS:      Yes, sir.

   10                    THE COURT:     You may speak in private with

   11    the attorneys for either side or their staffs so they

   12    know what questions to ask you or to respond to their

   13    requests, but you must make sure other witnesses cannot

   14    listen in on your conversations.            Make sure you hear and

   15    understand the question asked and if you can't hear or

   16    don't understand, then just say so, but never wing it.

   17    Don't guess.      And if you do understand the question,

   18    answer that question, stop, wait for the next question.

   19    Don't volunteer information, because her hands have to

   20    rest and she can't write it down if we're all talking at

   21    the same time, and she doesn't like it when we're all

   22    talking as fast as I am right now.

   23                    Do you understand?

   24                    THE WITNESS:      Yes, sir.

   25                    THE COURT:     Kevin.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 156 of 303 PageID 729       156


     1                                JASON ARIAS,

     2   having been first duly sworn, testified as follows:

     3                            DIRECT EXAMINATION

     4   BY MR. ROUSSEAU:

     5       Q.   Good afternoon.       Well, as I was just about call

     6   your name as our next witness, I realized I am very

     7   familiar with calling officers, police officers, as

     8   officer so and so.        What would be the appropriate term

     9   for you?     What is your title?

   10        A.   I'm an engineer.        It's a fancy word for a driver.

   11        Q.   Fancy word for driver.

   12                     You work for the Arlington Fire Department,

   13    correct?

   14        A.   Yes, sir.

   15        Q.   And "engineer," it may speak for itself, but tell

   16    the jury exactly what that means.

   17        A.   My responsibility, I'm a driver/operator.               I

   18    drive the fire truck.         We respond to emergencies.             I'm

   19    responsible for getting the truck there safely.                 On the

   20    fire ground I'm responsible for the tool and equipment

   21    on the truck.       I'm responsible for assuring that my

   22    crews inside have water.

   23        Q.   Okay.    And how long have you been -- I'm going to

   24    refer to the term -- use the term "firefighter"

   25    generally to speak about your career with the Arlington



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 157 of 303 PageID 730   157


     1   Fire Department.       If I've got -- if I -- if that's an

     2   incorrect term, let me know if it needs to be corrected.

     3   Okay?

     4       A.   Yes, sir.

     5       Q.   And how long have you been a firefighter with the

     6   City of Arlington?

     7       A.   Almost six years.

     8       Q.   And did you do that type of work anywhere else

     9   before joining the City of Arlington?

   10        A.   Yes, sir.

   11        Q.   With whom?

   12        A.   The City of Keller.

   13        Q.   Altogether how long have you been a firefighter?

   14        A.   About ten years.

   15        Q.   During that time -- well, how do you go about

   16    becoming a firefighter?          What type of educational

   17    requirements did you have?

   18        A.   I hold a State of Texas Fire Commission

   19    certification which allows me to be firefighter in the

   20    state of Texas.       I also hold a paramedic certificate

   21    through the State of Texas which allows me to practice

   22    as a paramedic on sick and injured people.               On top of

   23    that, I've had some training for my job specifically as

   24    a driver/operator.        I'm also certified as a hazard --

   25    hazardous materials technician through the State of



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 158 of 303 PageID 731   158


     1   Texas, as well as an instructor.

     2       Q.   And as a starting point for all of that, did you

     3   have to -- was there -- were there any formal

     4   educational requirements to get your first job?

     5       A.   Just to be certified through the State of Texas.

     6       Q.   Okay.     And you've been with the City of Arlington

     7   for about six years now?

     8       A.   Almost.

     9       Q.   You said that your -- and your current position

   10    is that of an engineer, correct?

   11        A.   Yes, sir.

   12        Q.   Is that a rank, as well as just a job?

   13        A.   Yes, sir.

   14        Q.   Okay.     And is that a rank that is higher than you

   15    held back in March of 2011?

   16        A.   That's correct.

   17        Q.   In March of 2011, what was your job title then?

   18        A.   Firefighter.

   19        Q.   And it may speak for itself, but why don't you

   20    tell the jury what the job of a firefighter is.

   21        A.   So on fire truck there are different roles and

   22    responsibilities.        As a driver, I drive now.          At the

   23    time of the incident, I was a firefighter.               Typically

   24    those are the guys riding in the back.              The guys in the

   25    back are responsible for -- if we arrive to a fire,



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 159 of 303 PageID 732   159


     1   those are the guys going inside typically on the

     2   hoseline.     They'll be going in, along with the officer

     3   on that fire truck, which is the lieutenant.                So during

     4   this incident I was a firefighter, riding backwards, who

     5   arrived on the scene and our job was to make entry on

     6   the hoseline with our lieutenant.

     7       Q.   Well, let's start with, where were you

     8   stationed -- well, if I use -- maybe I'm not phrasing

     9   that very well.       Are -- as a firefighter, were you

   10    assigned to a specific fire station?

   11        A.   Yes, sir.

   12        Q.   Okay.    And where was that fire station?

   13        A.   That particular night?

   14        Q.   Yes, sir.

   15        A.   That particular night, it was Station 8.

   16        Q.   Station what?

   17        A.   Station No. 8.

   18        Q.   Station No. 8.

   19        A.   Yes, sir.

   20        Q.   And in -- and where in proximity to the location

   21    of this fire was Station 8 located?

   22        A.   Station 8 is southeast of the location by

   23    about -- I don't know the exact distance.

   24        Q.   If you're in a car drive -- normal driving, how

   25    long would it take you to get there?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 160 of 303 PageID 733   160


     1       A.   Two minutes.

     2       Q.   So you're just down the street?

     3       A.   Yes, sir.

     4       Q.   How did you first become aware that you were

     5   being -- that you were -- your services were needed at

     6   this location?

     7       A.   We got the tones for the emergency, came in as a

     8   structure fire.       And we responded, like we do for any

     9   structure fire.       I got on the truck and started to bunk

   10    out, which is putting our gear on and getting ready.                   We

   11    knew that it was in our district so we knew the

   12    likelihood of us being first on was very good.                And then

   13    en route was -- when actually en route, we could see a

   14    column of smoke so we knew that it was probably going to

   15    be a legitimate fire.

   16        Q.   So let's -- well, what time of the night was this

   17    when you got this call?

   18        A.   I don't remember the exact numbers.             It was

   19    around 10:30, give or take, p.m.

   20        Q.   Okay.    Do you -- after everything was over and

   21    done that night, did you go back to the fire station or

   22    somewhere and write out a -- the narrative of your

   23    experiences that night?

   24        A.   Yes, sir.

   25        Q.   Okay.    And have you had a chance to review that?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 161 of 303 PageID 734   161


     1       A.   Yes, sir.

     2       Q.   Do you have a copy of it with you, by any chance?

     3       A.   No.     No, sir, I don't.

     4       Q.   Okay.     If I told you that you had written

     5   22:11:23 hours as the time of dispatch, would that be --

     6   would that jibe with your memory?

     7       A.   That sounds pretty close.

     8       Q.   That would be -- in civilian speak, that would be

     9   about ten hours -- 10:00 o'clock and 11 minutes, right?

   10        A.   Yes.

   11        Q.   10:11 at night?

   12        A.   Yes, sir.

   13        Q.   Okay.     So you said you could see a column of

   14    smoke while you were en route?

   15        A.   Yes, sir.

   16        Q.   Tell me, as a firefighter, what does that

   17    indicate to you.

   18        A.   It indicates that something is actually burning

   19    and that the call for our service is probably

   20    legitimate.

   21        Q.   Is there a -- is it -- so you're on your way over

   22    there, you could already see the smoke, correct?

   23        A.   Yes, sir.

   24        Q.   When you arrived, tell me what your initial

   25    observations were.



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                                OFFICIAL COURT REPORTER
                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 162 of 303 PageID 735   162


     1       A.    There was a first floor corner unit that was --

     2   had thick black smoke pushing from it.              I don't recall

     3   if the second floor was on fire.            I do know that the

     4   first floor was on fire for sure.

     5       Q.    Okay.   Common or uncommon to have a fire like

     6   that in an apartment in Arlington?

     7       A.    I mean, I've made several of them, so just

     8   depends on by whose standards.

     9       Q.    As -- well, as these -- as fires go, as your --

   10    in your experience as an Arlington firefighter, would

   11    this be a --

   12        A.    Fairly common.

   13        Q.    -- would this be a big incident or fairly common?

   14        A.    No, it's fair -- I would say fairly common.

   15        Q.    Okay.   So as you got there, did you already --

   16    you said you were bunked out?

   17        A.    Yes, sir.

   18        Q.    Tell the jury what that means.

   19        A.    By the time we arrived on scene, fully bunked out

   20    means that we're stepping off the truck with all our

   21    gear on, including coat, pants, mask, helmet, air pack,

   22    gloves.     The only thing that we lack is getting to the

   23    front door and clicking in to our air.              We wait until

   24    the last second to put on our air on so that we conserve

   25    all that air for when we need it.             So fully bunked out



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 163 of 303 PageID 736   163


     1   is everything minus the air until we get to that front

     2   door.

     3       Q.   And that's ready to go?

     4       A.   Yes, sir.

     5       Q.   What are your -- what was your initial

     6   responsibilities when you got there?             You told us you

     7   stepped off the truck, what was your initial

     8   responsibility?

     9       A.   My responsibility, I went around to the driver's

   10    side of the engine and pulled a hoseline and we extended

   11    the hoseline to the front door.            The engineer at the

   12    time charged the hoseline, means they basically just

   13    filled it with water for us to make entry.

   14        Q.   Is that water carried on the truck?

   15        A.   Yes, sir.

   16        Q.   Go ahead.

   17        A.   And the hoseline was charged and we were just

   18    about to make entry into that first floor unit.

   19        Q.   Do you recall if the front door was open or if

   20    you had to open it?

   21        A.   It was already open.

   22        Q.   Standing open?

   23        A.   Yes, sir.

   24        Q.   As you're standing there in the front door, can

   25    you see fire?



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                                OFFICIAL COURT REPORTER
                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 164 of 303 PageID 737   164


     1       A.   Fire, no; smoke, yes.

     2       Q.   Okay.    So what did you do?

     3       A.   We go through a process whenever we charge our

     4   hoseline, fill it with water, where we bleed it off, the

     5   air, so that when we get inside, we open a nozzle, we

     6   have water, we don't have to wait for the water through

     7   the air.     So I was bleeding off the hoseline.             And my

     8   partner who was with me, about to make entry with me,

     9   was knelt down, starts hitting me on my leg.                So I

   10    looked down at him and that's when he told me that we

   11    had a victim inside the front door.              His job is to gain

   12    access through the front door if it -- if it's

   13    already -- if it's closed still, which it was not, and

   14    then do a primary sweep with a tool inside the front

   15    door.    The majority of our victims are found within a

   16    few feet from the front door.           So that's what he did and

   17    that's when he struck the victim's leg.

   18        Q.   So once you -- once he alerted you to the fact

   19    that you had a victim very near the front door, what's

   20    the next thing that you did?

   21        A.   Dropped the hoseline.         She was close enough that

   22    we could gain access to her.           There was no need for the

   23    hoseline.     So we made entry into the kitchen area and we

   24    just brought her outside.

   25        Q.   Okay.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 165 of 303 PageID 738   165


     1                    MR. ROUSSEAU:     Your Honor, may I step around

     2   here just for a moment?

     3                    THE COURT:    Yes, you may.

     4       Q.   (BY MR. ROUSSEAU)        If I am standing in the front

     5   door, standing ready to enter the apartment front door,

     6   okay, I guess you would be inside the apartment, where

     7   in relation to my location would this victim have been?

     8       A.   Probably halfway between me and you.

     9       Q.   Okay.     Would she have been directly ahead of --

   10    directly between me and you?           Would she have been off to

   11    the left or off to the right?

   12        A.   Directly in line with me.

   13        Q.   Okay.     And that's where you found her?

   14        A.   Yes, sir.

   15        Q.   Okay.     Did you -- were you able -- while you were

   16    still inside the apartment with her, were you able to

   17    notice anything, anything about her condition?

   18        A.   Yes.

   19        Q.   What was that?

   20        A.   For starters, she was not clothed.             And then once

   21    we started dragging her out of the apartment, I made --

   22    I noticed that there was blood, which I did not expect.

   23    My initial, I guess, thought was that maybe she had been

   24    overcome by smoke and that's why she was down in the

   25    kitchen.     While we were dragging her out, I noticed



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 166 of 303 PageID 739   166


     1   there was blood.       I remembered thinking that that was

     2   odd.     And then didn't think anything else past that

     3   because of what else transpired.

     4       Q.    So you began dragging her out, I assume with the

     5   help of your partner?

     6       A.    Yes, sir.

     7       Q.    Did you get her all the way outside?

     8       A.    We got her to the threshold of the front door.

     9       Q.    And what happened at the threshold of the front

   10    door?

   11        A.    We passed her off to another crew that was

   12    outside.

   13        Q.    Did you have to set her down for a minute to do

   14    that?

   15        A.    Yes, sir.

   16        Q.    So there was another team of firefighters just

   17    outside the door?

   18        A.    Yes, sir.

   19        Q.    And when she -- you handed her off to them,

   20    what's the next thing that you did then?

   21        A.    We took the hoseline and went back inside to a...

   22        Q.    That's the thing you had -- were originally

   23    prepared to do, correct?

   24        A.    Yes, sir.

   25        Q.    So you went back to your original responsibility?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 167 of 303 PageID 740   167


     1       A.   Yes, sir.

     2       Q.   All right.      By this time did you have -- had you

     3   turned on your air supply?

     4       A.   The air supply was already on when we made entry

     5   to drag her out.

     6       Q.   Okay.    Thank you.      About -- what's the extent of

     7   the air supply, how long do you have?              I guess does it

     8   depend on the amount of physical activity you're doing?

     9       A.   It does.     It -- the air bottles that we wear are

   10    rated for 30 minutes.         That's sitting still, breathing

   11    slowly and controlled breathing.            Typically on a working

   12    fire, adrenaline is running, we're breathing fast, we're

   13    working, they're probably good for 15 minutes.

   14        Q.   All right.      So you grab the hose and you went

   15    into the apartment.        Once you were able to get in there

   16    and start seeing the conditions that existed, what did

   17    you see?

   18        A.   We encountered a lot of smoke and heat in the

   19    front living room area.          Zero visibility.       The heat was

   20    moderate.     We made our way back to the hallway leading

   21    to the back bedroom, and that's where we entered a lot

   22    of fire and a lot of heat.

   23        Q.   You say "we," who was with you?

   24        A.   My partner on engine eight.

   25        Q.   Do you remember that partner's name?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 168 of 303 PageID 741   168


     1       A.   Yes, sir.

     2       Q.   Who was that?

     3       A.   A.J. Keeling.

     4       Q.   A.J. Keeling?

     5       A.   Keeling, yes, sir.

     6       Q.   Would that be K-E-E-L-I-N-G?

     7       A.   That's correct.

     8       Q.   And were -- was an Officer Kornegay with you,

     9   also, that night?

   10        A.   Firefighter Kornegay on that particular incident

   11    was on Quint 8, which is a separate fire apparatus.

   12        Q.   And is he with you here today?

   13        A.   He is.

   14        Q.   And I don't mean with you, but --

   15        A.   Yes, sir.

   16        Q.   -- you guys were sitting in the back together?

   17        A.   Yes, sir.

   18        Q.   And Firefighter Kornegay was on a second -- I'm

   19    going to call it a truck, but you call it a separate

   20    piece of equipment?

   21        A.   Yes, sir.

   22        Q.   Was he there fighting the fire inside that

   23    apartment at the same time you were?

   24        A.   At one point, yes, but that's not his initial.

   25    His initial responsibilities are different from what our



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 169 of 303 PageID 742   169


     1   responsibilities were.

     2       Q.   Okay.    Well, we'll talk to him in a minute

     3   about --

     4       A.   Okay.

     5       Q.   -- about his responsibilities.            But you do recall

     6   seeing him there that night?

     7       A.   Yes, sir.

     8       Q.   Okay.    Once you were able to -- your hoseline was

     9   running in the front door, correct?

   10        A.   Yes, sir.

   11        Q.   Did you -- where did you first encounter fire

   12    that you actually had to utilize that firehose in order

   13    to knock the fire down?

   14        A.   It was in that hallway leading to the back

   15    bedroom.

   16        Q.   And after that, where did you progress, where did

   17    you proceed to?

   18        A.   We stayed in that hallway for, I'd say probably,

   19    about a minute to two minutes fighting fire before we

   20    could knock it down enough to move into the back

   21    bedroom.

   22        Q.   And that -- is that just you with your firehose

   23    or was there another one going, that you were aware of,

   24    by then?

   25        A.   That was me with my partner on one hose and at



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 170 of 303 PageID 743   170


     1   that same time, another hoseline had come in from a

     2   different bedroom window with another crew who was also

     3   attacking that fire.

     4       Q.   So there are two firehoses now running inside

     5   this apartment, correct?

     6       A.   That's correct.

     7       Q.   Would you call it a large apartment?

     8       A.   I wouldn't say large.

     9       Q.   The area where you were paused having to fight

   10    this fire, describe it for us.

   11        A.   We had had to fight some furniture coming in to

   12    get to that point.        There was a --

   13        Q.   What does that mean?

   14        A.   Well, with zero visibility, it's sometimes

   15    difficult, as it is, just trying to make way around the

   16    unit.    There's couches, there's tables, there's -- you

   17    know, depending on what they have in the unit, sometimes

   18    it can be difficult to get -- maneuver past all that

   19    stuff.    You have to kind of feel around and use your

   20    senses to figure out what it is and what -- where it is.

   21    So, you know, it takes us a second to, if we bump into a

   22    couch, to figure out which way it's going and maneuver

   23    around it.      On top of that, we can't see and we've got a

   24    hoseline that we're dragging in, as well, so...

   25        Q.   All right.      So the area where you were, where you



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 171 of 303 PageID 744   171


     1   were having to stop and knock the fire down before you

     2   could do anything else, describe that for us.

     3       A.   That area is probably halfway between the front

     4   door and the hallway.          If you're walking in the unit

     5   from the front door, the living room -- living room

     6   opens to the right.          On the left, I believe, there was a

     7   bar that kind of comes out from the kitchen.                And right

     8   there in that little walkway, there's a couch, I think,

     9   that was sitting there, that we had run into.

   10        Q.   Okay.     Is that where you had to pause to fight

   11    the fire?

   12        A.   Negative.

   13        Q.   Okay.     Where was that?

   14        A.   That was once we made it past the couch into the

   15    hallway to the bedroom, going to the right, that's where

   16    we stopped to fight fire.

   17        Q.   Okay.     You were in a -- it sounds like it was a

   18    fairly enclosed space?

   19        A.   Uh-huh.     Yeah.     It's kind of a small hallway area

   20    where it comes in from the living room.              It breaks off

   21    to another bedroom and then the little hallway going to

   22    the back bedroom.

   23        Q.   The little hallway going to the back bedroom,

   24    were you able to proceed down that hallway?

   25        A.   Yes.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 172 of 303 PageID 745   172


     1       Q.    And what did you find when you got down there?

     2       A.    We found that there wasn't a door where there

     3   should have been a door.          I believe that door burned

     4   off.     And then once we got into the bedroom, there

     5   was -- we noticed some tracking on the right-hand side

     6   of the bedroom, which we figured out later was where was

     7   a closet had been.

     8       Q.    You say "tracking," you mean like metal tracking

     9   attached to the floor?

   10        A.    That's correct, where maybe a sliding door had

   11    been on the tracking, but there were no doors.                So

   12    pretty sure those had burned off.             Everything in that

   13    back room had burned off, as far as the doors go.

   14        Q.    Were there any identifiable structures left in

   15    that back room?

   16        A.    Negative.

   17        Q.    How long did it take -- well, were you able to

   18    knock the fire down completely, I mean at least

   19    sufficiently to be able to go in and out of the house

   20    safely before running out of the oxygen, or did you have

   21    to go and replenish?

   22        A.    We were able to do it on our first tank.

   23        Q.    There's a term in your report -- I say -- I'm

   24    calling it your report.          It's actually a narrative that

   25    you typed up.       There's a term called "hydraulic



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 173 of 303 PageID 746   173


     1   ventilation".       Can you tell us what that means?

     2       A.   Uh-huh.     There's a couple different types of

     3   ventilation.       The most noticeable -- I don't know if

     4   you've ever seen -- is firefighters just basically

     5   setting a fan in the front door, you open a front door

     6   and you open a back door, or a back window, or some sort

     7   of opening, turn the fan on and it ventilates the

     8   structure or the compartment that we're working in.

     9   That's mechanical ventilation, is what we consider it.

   10                    Hydraulic ventilation, what he's referring

   11    to, is actually using our hoseline with the water and

   12    the nozzle to ventilate a structure.             So what we do is

   13    go to a window, which we went to the back window in the

   14    back bedroom, open up your nozzle and basically flow

   15    water out the window.         You open up your pattern as to a

   16    wide kind of fog and what that does is it sprays water

   17    out the window and the air movement comes in from behind

   18    and creates a Venturi effect and pulls the air -- draws

   19    the air out of the room that you're in.              That's

   20    hydraulic ventilation.         Maybe we don't have time to wait

   21    for somebody to set a fan.          We can do it real quick

   22    right there where we are and it quickly betters the

   23    conditions for us inside in what we're trying to do.

   24        Q.   Is this something you do after you've got the

   25    fire knocked down a bit?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 174 of 303 PageID 747   174


     1       A.   That's correct.

     2       Q.   And it essentially clears the area of the smoke?

     3       A.   That's correct.       Yeah.    We do that after the

     4   fire.    We don't do it before we put water on the fire.

     5   And reason for that is we can draw the fire in the wrong

     6   direction if we don't have a good hold on the fire yet,

     7   because it interferes a lot with airflow.

     8       Q.   You've already told us that you passed the female

     9   victim off to another team of firefighters and then you

   10    went back to fighting the fire.            Did you have any more

   11    responsibilities regarding the female victim?

   12        A.   Once we passed her off to the other crew, we

   13    were -- our job with her was complete.

   14        Q.   Did you have an occasion to check on her status

   15    while you were there on scene, whether it was your

   16    responsibility or not?

   17        A.   We didn't have -- we weren't assigned to check on

   18    her or any job specifically with her.              I just -- I do

   19    remember, you know, talking with other crews as we came

   20    out and them telling us what they had -- you know, what

   21    had progressed with her after we had brought her out.

   22        Q.   You are trained at -- in addition -- you already

   23    told us, in addition to being a firefighter, you are

   24    also a trained paramedic, correct?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 175 of 303 PageID 748   175


     1       Q.   And an EMT?

     2       A.   Yes, sir.

     3       Q.   And as -- in that capacity would it be your

     4   responsibility, under other circumstances, to try to

     5   save the life of a victim such as her?

     6       A.   Yes, sir.

     7       Q.   Have you done that on other occasions?

     8       A.   Yes, sir.

     9       Q.   And do you know whether or not that was done on

   10    this occasion?

   11        A.   I don't know the specifics of what was done with

   12    her once we handed her off.

   13        Q.   Do you know if lifesaving measures were

   14    attempted?

   15        A.   I honestly don't know.         I honestly don't know

   16    what they did once --

   17        Q.   You were occupied, weren't you?

   18        A.   Yeah, I was.      Yes, sir.

   19        Q.   Okay.

   20                     MR. ROUSSEAU:     May I approach, Your Honor?

   21                     THE COURT:    Yes.

   22        Q.   (BY MR. ROUSSEAU)        I'm going to show you what

   23    I've had marked as State's Exhibit No. 3.               You recognize

   24    this chart?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 176 of 303 PageID 749   176


     1       Q.   You had a chance to look at this earlier down

     2   today in my office; is that correct?

     3       A.   Yes, sir.

     4       Q.   Do you recognize this as a diagram showing the

     5   layout of the apartment that we've been talking about?

     6       A.   Yes, sir.

     7       Q.   Okay.     Other than the fact that it may or may not

     8   be to scale, does it fairly and accurately depict the

     9   general layout of the apartment?

   10        A.   Yes, sir.

   11        Q.   And does it show the locations that you've been

   12    describing in your testimony so far?

   13        A.   Yes, sir.

   14        Q.   Do you recognize the various -- the -- there

   15    aren't very many labels on here, but do you recognize

   16    the locations, less indicated by the labels, as being

   17    accurate?

   18        A.   Yes, sir.

   19                     MR. ROUSSEAU:     Your Honor, I will offer

   20    State's Exhibit No. 3, subject to any objection by

   21    Defense.

   22                     MR. MOORE:    Judge, we don't have any

   23    objection.

   24                     THE COURT:    All right.      State's 3 is

   25    admitted.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 177 of 303 PageID 750   177


     1                     (State's Exhibit No. 3 admitted)

     2       Q.    (BY MR. ROUSSEAU)       Can you see this, Engineer

     3   Arias?

     4       A.    Yes, sir.

     5       Q.    Can you see this okay?

     6       A.    Yes, sir.

     7       Q.    There's a yellow button right in the middle of

     8   that --

     9                     THE COURT:    Do you see that?       That makes

   10    the laser point --

   11        Q.    (BY MR. ROUSSEAU)       -- remote --

   12                      THE COURT:    Yeah.

   13        Q.    (BY MR. ROUSSEAU)       Why don't you point it out

   14    over there and test it out.             I think you'll find that

   15    the laser works.        Okay.

   16                      THE COURT:    There you go.

   17        Q.    (BY MR. ROUSSEAU)       Why don't you point out for us

   18    the location of the front door.

   19        A.    The front door is right here.

   20        Q.    Okay.     And where did you find the victim in

   21    relation to that front door?

   22        A.    The victim was right here in the kitchen.

   23        Q.    Okay.     So the door is here, so right -- pretty

   24    much dead ahead?

   25        A.    Yes, sir.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 178 of 303 PageID 751   178


     1       Q.   Okay.    And you said your partner had some sort of

     2   a tool that he swept -- did a sweep of the floor and

     3   that's how he found her, correct?

     4       A.   Correct.

     5       Q.   Okay.    Was it that -- were the conditions that

     6   black inside there that you could not see that far in

     7   front of you without using a tool?

     8       A.   That's correct.

     9       Q.   So you guys were essentially blind at that point?

   10        A.   Correct.

   11        Q.   All right.      So would this be the same door -- I'm

   12    pointing now to the door you just pointed at, correct?

   13        A.   That's correct.

   14        Q.   Would this be the same -- would that be the

   15    threshold where you had to set her down --

   16        A.   That's --

   17        Q.   -- while you handed her off to another team?

   18        A.   That's correct.

   19        Q.   Now, out here in the parking lot there's -- the

   20    word "decedent" is written.           Does that accurately show

   21    the location where she ultimately came to be laid in the

   22    parking lot?

   23        A.   That's correct.

   24        Q.   Okay.    You saw her there after you were able --

   25        A.   I did.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 179 of 303 PageID 752   179


     1       Q.   -- to step back and catch your breath?

     2       A.   Yes, sir.

     3       Q.   Okay.     Wait for me to finish because she's having

     4   trouble taking us both --

     5       A.   I'm sorry.

     6       Q.   -- down.

     7                    You're doing great, but it's not a normal

     8   conversation.       You have to take turns.         Let's see.

     9   Point on here, if you would, the area where you had to

   10    pause to knock that fire down, you said for a minute,

   11    minute and a half, before you could proceed any farther.

   12    Where was that?

   13        A.   That was right here.

   14        Q.   Right in there.         Okay.   I see the words "dryer

   15    and washer", and that's just so -- it would be just to

   16    the right of that as you're facing this chart?

   17        A.   Right and down enough that we could look down the

   18    hallway.

   19                     JUROR:     Judge --

   20                     THE COURT:      I'm sorry.

   21                     JUROR:     -- we're having trouble seeing --

   22                     MR. ROUSSEAU:      Oh --

   23                     THE COURT:      You're blocking --

   24                     JUROR:     -- with the --

   25                     THE COURT:      -- the projector.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 180 of 303 PageID 753   180


     1                   JUROR:     -- projector.

     2                   MR. ROUSSEAU:      I'll move this.

     3                   THE COURT:      Yeah.   Why don't you pull it up

     4   closer.     That's a good idea.

     5                   (Pause in proceedings)

     6       Q.    (BY MR. ROUSSEAU)       Step down here, Engineer.

     7   Yeah, that -- you're in a good enough spot.

     8                   Point out for us, please, the location then

     9   where you were having to -- where you had to stop to

   10    fight -- to knock the fire down before going any

   11    further.

   12        A.    It would have been here.

   13        Q.    Right in there.       Okay.   Now, there's a big space

   14    right here in the lower right-hand, I guess, as you're

   15    facing it and then there's a big open space in the lower

   16    left-hand as you're facing it.            It would be -- the

   17    left-hand would be west, the right-hand would be east,

   18    according to this little diagram.

   19                    Where -- did one of these rooms seem to be

   20    the point of origin for the fire?

   21        A.    Yes, sir.

   22        Q.    And how can you tell the point of origin?

   23        A.    It was where the majority of the body of the fire

   24    was.

   25        Q.    Is -- and which room was that?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 181 of 303 PageID 754   181


     1       A.   This one.

     2       Q.   Okay.    You're pointing to the area -- the room on

     3   the west side, according to this diagram, correct?

     4       A.   That's correct.

     5       Q.   Now, there's a line, a green line, that runs

     6   across that room at the top of that room, the north end

     7   of that room.       What would that line indicate?

     8       A.   That line is the metal track that we saw when we

     9   came in the room, where the sliding closet doors may

   10    have been.

   11        Q.   And there's a detail on the drawing right here,

   12    again on the far western wall, right in the middle of

   13    the wall.     It appears to be a little bit thick -- the

   14    line appears to be thicker than the others.                Would you

   15    tell me what that line might indicate?

   16        A.   That line is the exterior window to that bedroom

   17    where we performed the hydraulic ventilation.

   18        Q.   That's the window where you were spraying water

   19    out at a high rate to draw that smoke out, correct?

   20        A.   That's correct.

   21        Q.   Did it work?

   22        A.   Yes, sir.

   23        Q.   Do you recall any -- does anything about this

   24    open area outside of the bedroom, do you remember

   25    anything that might have been going on out there?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 182 of 303 PageID 755    182


     1       A.   No, sir.

     2       Q.   Okay.    Thank you.      You can have a seat.

     3       A.   Sure.

     4       Q.   Officer, do you recall how many pieces of

     5   equipment were ultimately dispatched to this scene?                    If

     6   you don't, that's fine.

     7       A.   I can tell you what was dispatched initially.

     8   It's -- our initial response procedures are one ladder

     9   truck -- at the time, one ladder truck, a battalion

   10    chief, three engines -- I'm sorry -- four engines, and

   11    that was it.

   12        Q.   Is --

   13        A.   I'm sorry -- excuse me -- they've changed since

   14    then.    So it was about a battalion chief, one ladder

   15    truck and four engines.

   16        Q.   So that's six different, for lack of a better

   17    term, fire trucks?

   18        A.   Five, with the battalion chief.            It's a Suburban

   19    with a chief on it, commanding officer.

   20        Q.   And then would the chief be in charge of

   21    the whole -- the entire scene?

   22        A.   That's correct, ultimately.

   23        Q.   Ultimately.      Sounds like you guys have an awful

   24    lot of autonomy as you go about your business; is that a

   25    fair assessment?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 183 of 303 PageID 756   183


     1       A.   Yes, sir.

     2       Q.   Because you have to because you're in

     3   life-threatening situations?

     4       A.   Yes, sir.

     5       Q.   Thank you very much.

     6                    MR. ROUSSEAU:     I'll pass the witness.

     7                    THE COURT:    Defense may cross.

     8                             CROSS-EXAMINATION

     9   BY MR. MOORE:

   10        Q.   Engineer Arias, you testified that your fire

   11    station is just minutes away from the fire or where the

   12    apartment was on fire, correct?

   13        A.   Yes, sir.

   14        Q.   You -- in your report you're dispatched at

   15    2211 hours and you arrived at the fire at 2214 hours; is

   16    that correct?

   17        A.   I don't know the exact numbers.            That sounds

   18    correct.

   19        Q.   That's in your report.         I mean...

   20        A.   Yes, sir.

   21        Q.   Okay.     So it took about 13 minutes from the call

   22    being dispatched to you arriving?

   23        A.   Three.

   24        Q.   My math again.       Three minutes.

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 184 of 303 PageID 757   184


     1         Q.   So y'all are there just -- I mean, three minutes

     2   is nothing, isn't it?          I mean, that quick.

     3         A.   Yes, sir.

     4         Q.   And if the call had come in at ten after,

     5   then -- well, I guess my point is this.              You're the

     6   first one on the scene, correct?

     7         A.   Correct.

     8         Q.   And the door is already opened and the body --

     9   you find the body of Mechelle Gandy in the kitchen,

   10    correct?

   11          A.   Correct.

   12          Q.   Is -- are -- is she laying with her feet out

   13    towards the door?

   14          A.   Correct.

   15          Q.   And her head is laying inside the kitchen?

   16          A.   Correct.

   17          Q.   Okay.    You had your hose with you at that point

   18    in time when you entered the apartment, correct?

   19          A.   Negative.

   20          Q.   No?

   21          A.   We dropped the hoseline at the front door when we

   22    realized we had a victim inside the kitchen.

   23          Q.   Right.     Right.   But you were carrying the hose

   24    in?

   25          A.   We left it outside when we made entry to bring



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 185 of 303 PageID 758   185


     1   her out of the kitchen.

     2       Q.   Okay.    You didn't spray water in there?

     3       A.   No, sir.

     4       Q.   She was brought out within minutes of y'all

     5   arriving on the scene, correct?

     6       A.   Correct.

     7       Q.   And is it standard procedure to hand -- if you

     8   find somebody, to hand them off to some other

     9   firefighters to take them out?

   10        A.   That's not a standard procedure.            Every scenario

   11    is different.       That's just what worked best for that

   12    particular scenario.

   13        Q.   Okay.    But as far as you know, she was in the

   14    same condition when she was brought out and laid there

   15    in the parking lot, nothing had changed about her

   16    condition?

   17        A.   Her responsiveness, is that what you're asking?

   18        Q.   Yeah.

   19        A.   Correct, nothing changed.

   20        Q.   And besides you -- you and your fellow

   21    firefighters carrying her, I assume by her arms and

   22    legs?

   23        A.   That's correct.

   24        Q.   She was removed from that apartment immediately

   25    and nobody disturbed her in any way?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 186 of 303 PageID 759   186


     1       A.   Correct.

     2       Q.   Okay.     You went further into the apartment and

     3   that's when you encountered flames, when you got into

     4   the hall?

     5       A.   Correct.

     6       Q.   Correct.     That's when you started using any kind

     7   of water to douse the fire out?

     8       A.   Correct.

     9       Q.   Okay.     Thank you.

   10                     Oh, do you know if -- was she laying

   11    facedown or face up when she was --

   12        A.   She was laying supine, which is face up.

   13        Q.   Face up?

   14        A.   Correct.

   15        Q.   Thank you, sir.

   16                     MR. MOORE:     I'll pass the witness.

   17                     MR. ROUSSEAU:     I have no further questions,

   18    Your Honor.

   19                     THE COURT:     All right.     May this witness be

   20    permanently excused?

   21                     MR. ROUSSEAU:     As far as we're concerned,

   22    yes, Your Honor.

   23                     MR. MOORE:     Yes.

   24                     THE COURT:     All right.     You're released from

   25    the trial.       You're not on call, but you can't talk to



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 187 of 303 PageID 760   187


     1   anyone about what goes on here until you find out the

     2   trial is over.

     3                   THE WITNESS:      Yes, sir.

     4                   THE COURT:     Thanks for coming in.

     5                   (Witness excused from courtroom)

     6                   THE COURT:     You may call and identify your

     7   next witness.

     8                   MR. ROUSSEAU:      I'll try to get the term --

     9   the title right, Your Honor, but it's Firefighter

   10    Kornegay.

   11                    THE COURT:     Off the record.

   12                    (Discussion off the record)

   13                    (Witness takes the stand)

   14                    THE COURT:     State your full, legal name out

   15    loud for the court reporter, and if she needs spellings,

   16    she'll ask.

   17                    THE WITNESS:      Robert Daniel Kornegay.

   18                    THE REPORTER:      Could you spell your last

   19    name?

   20                    THE WITNESS:      K-O-R-N-E-G-A-Y.

   21                    THE COURT:     Thank you.

   22                    And face me and raise your right hand.

   23                    (One witness sworn)

   24                    THE COURT:     All right.      Put your hand down.

   25                    Have you ever testified before?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 188 of 303 PageID 761   188


     1                   THE WITNESS:      No, sir.

     2                   THE COURT:     All right.      There's rules you

     3   have to know about and they will apply any time you

     4   testify in a district court.           The first rule is you may

     5   only be in the courtroom when you are actually

     6   testifying.      You cannot sit in the courtroom and listen

     7   to other witnesses when they testify.              Clear?

     8                   THE WITNESS:      Okay.

     9                   THE COURT:     All right.      Rule two, you cannot

   10    talk to other witnesses, whether you know them or

   11    they're strangers, about anything you or they know about

   12    anything that has to do with what's being asked about in

   13    court.    You cannot discuss your testimony with other

   14    witnesses.

   15                    Still clear?

   16                    THE WITNESS:      Yes, sir.

   17                    THE COURT:     You may speak in private with

   18    the attorneys for either side or their investigators or

   19    staffs about what you know so they can be prepared to

   20    know what questions to ask you in court, but you must

   21    make sure other witnesses cannot overhear your

   22    conversations with the lawyers.

   23                    Still clear?

   24                    THE WITNESS:      Yes, sir.

   25                    THE COURT:     Make sure you hear and



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 189 of 303 PageID 762   189


     1   understand the questions asked.            And if you can't hear

     2   or don't understand what you're being asked, look them

     3   in the eye and say so.         They'll rephrase it.         If you do

     4   understand the question, answer that a question, stop,

     5   wait for the next question.           Don't just keep talking.

     6   Do not explain something unless you're asked to explain.

     7   There can always be a followup question.

     8                   THE WITNESS:      Okay.

     9                   THE COURT:     All good?

   10                    THE WITNESS:      Yes, sir.

   11                    THE COURT:     All right.      These rules stay in

   12    effect until the trial is over, which will be a couple

   13    of weeks, even if you're allowed to leave after your own

   14    testimony.      So keep that in mind.         Thanks for coming in.

   15                    All right.     Kevin.

   16                    MR. ROUSSEAU:      Thank you, Judge.

   17                               ROBERT KORNEGAY,

   18    having been first duly sworn, testified as follows:

   19                             DIRECT EXAMINATION

   20    BY MR. ROUSSEAU:

   21        Q.   You are Robert Kornegay, correct?

   22        A.   Yes, sir.

   23        Q.   Would you, please -- what is your current rank

   24    within the Arlington Fire Department?

   25        A.   I'm an engineer apparatus operator.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 190 of 303 PageID 763   190


     1         Q.   Okay.   I'm having to get used to -- I'm used to

     2   talking to police officers so if I say "officer," please

     3   bear with me.

     4         A.   Okay.

     5         Q.   How long have you been with Arlington Fire

     6   Department, sir?

     7         A.   Just over seven years.

     8         Q.   Were you a firefighter anywhere else before that?

     9         A.   Yes, sir.

   10          Q.   Where else?

   11          A.   I started off with the Ranger Fire Department and

   12    then Forest Hill and then Mansfield.

   13          Q.   That sounds like definite progression upward to

   14    me.

   15          A.   Thank you.

   16          Q.   And you've been with Arlington for seven years?

   17          A.   Yes, sir.

   18          Q.   So altogether how many years as a firefighter?

   19          A.   Almost 16.

   20          Q.   And are -- do you have any other certifications

   21    that come into play in your job?

   22          A.   I do special operations within the department.              I

   23    do trench rescue, high and low rescue, confined space

   24    rescue, swift water rescue, dive rescue, hazmat.

   25          Q.   Sounds like --



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 191 of 303 PageID 764   191


     1       A.   And structural collapse.

     2       Q.   Sounds like you have an extremely dangerous job,

     3   and I want to talk to you about exactly the things you

     4   did in connection with that job on one night in

     5   particular.

     6                   I want to turn your attention to March the

     7   20th of 2011.       Were you assigned to a particular fire

     8   station that night?

     9       A.   Station 8.

   10        Q.   And is that -- and where in -- this -- we're

   11    talking about an incident that happened in an apartment

   12    called Presidents Corner -- apartment complex called

   13    Presidents Corner.

   14                    How far from Presidents Corner would Station

   15    8 have been?

   16        A.   Maybe just over a mile.          Just down the road.

   17        Q.   Pretty quick?

   18        A.   Pretty quick.

   19        Q.   Pretty quick.       Do you recall receiving a dispatch

   20    to go to that location?

   21        A.   Yes, sir.

   22        Q.   Do you recall about what time that was?

   23        A.   Just after 10:00 o'clock at night.

   24        Q.   And what -- how did you get from the fire station

   25    to the location of the fire?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 192 of 303 PageID 765   192


     1       A.   I was riding backwards, getting dressed, ready to

     2   go to the fire.       I didn't watch the driver.

     3       Q.   That's what I meant.         How -- you were transported

     4   there, you rode on a fire truck, correct?

     5       A.   Yes, sir.

     6       Q.   What type of engine were you driving -- what type

     7   of truck were you on?

     8       A.   I was on Quint 8, which is a ladder truck.

     9       Q.   Quint 8?

   10        A.   Yes, sir.

   11        Q.   So when you got to the fire, the location of the

   12    fire, was there -- well, let me back up just a moment.

   13                    While you were en route to the fire, did

   14    you -- were you able to make any observations?                Could

   15    you see any smoke coming the -- any smoke in the

   16    direction you were headed?

   17        A.   I didn't look that way.

   18        Q.   Didn't really have time, did you?

   19        A.   No, sir.

   20        Q.   Once you got there, what were your initial

   21    observations?

   22        A.   There was fire coming out of the unit, the

   23    apartment unit that was affected, and smoke.

   24        Q.   Where did you -- where did this fire -- where was

   25    the fire coming from, what part of the structure?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 193 of 303 PageID 766    193


     1       A.    You could see it from the front windows we passed

     2   and then the front door.

     3       Q.    What did you do when you first got there?              What

     4   were your initial responsibilities?

     5       A.    Search and rescue is our first responsibility on

     6   that.

     7       Q.    So did you take a -- did you grab a firehose and

     8   run it to the door -- house yourself?

     9       A.    No, sir.

   10        Q.    So you had a different responsibility?

   11        A.    Yes, sir.

   12        Q.    Did you have a partner, or were you working

   13    alone?

   14        A.    There were two of us.

   15        Q.    And -- so tell us what you actually did.

   16        A.    When we got off the rig, we were walking up to

   17    the door and heard some bystanders talking to us and

   18    telling us that there was a -- potentially a mother and

   19    a baby inside and if there was a baby, where that baby

   20    was at.     We walked up to the door -- the door was

   21    already opened and we went in, pushed the door open.

   22    There was smoke about halfway down and then --

   23        Q.    When you say halfway down, what --

   24        A.    Halfway --

   25        Q.    -- could you explain to the jury what you're



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 194 of 303 PageID 767   194


     1   talking about?

     2       A.   Halfway from the ceiling to the floor.

     3       Q.   Okay.    So getting into the range of below the

     4   level of your head, correct?

     5       A.   Correct.

     6       Q.   All right.

     7       A.   Then we started a right-handed search, which --

     8       Q.   What does that mean?

     9       A.   Means when we walk in the door, we stay on a wall

   10    because the visibility is so poor in there that you --

   11    and without a hoseline, we have no way getting back out

   12    without knowing where we're oriented in the -- inside

   13    the structure.       So we start down a wall and we stay on

   14    that wall or stay close to each other so that we have a

   15    way to get back out if we had to, all we have to do is

   16    turn around, or essentially follow the right hand, to go

   17    back to the door.

   18        Q.   So unless you do something like that, unless you

   19    keep to the right -- keep your hand -- essentially

   20    keeping your hand on the wall, correct?

   21        A.   Correct.

   22        Q.   If you don't do that or if you don't have a

   23    firehose to track your way back out, you can actually

   24    get lost even inside a small structure?

   25        A.   Very easy.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 195 of 303 PageID 768    195


     1       Q.    Why is that?

     2       A.    Because if you get -- you can't see.             Pretty

     3   simple.     I mean...

     4       Q.    It's smoke, correct?

     5       A.    Correct.

     6       Q.    And also nighttime, correct?

     7       A.    Correct.

     8       Q.    All right.     So you went inside and you're doing a

     9   right-handed search.         What's the first room that you

   10    recall observing?

   11        A.    It appeared to be a living room.           There was some

   12    sofas in there, a fireplace, and like a sliding glass

   13    door.     And that was the only room that we made it to on

   14    the initial entry before we made it to the hallway.

   15        Q.    When you got to the hallway, what did you -- did

   16    something cause you to stop?

   17        A.    The heat picked up when we got to the hallway.

   18    It feels like just -- just more heat coming at you.                    And

   19    then there was a lot of fire right there and so we got

   20    down even lower, we were crawling, and had to stop a

   21    couple feet into that.         The fire got lower to the ground

   22    and paint -- you could see the paint on the wall was

   23    bubbling and kind of the steam or off-gassing of the

   24    carpet was coming up.

   25        Q.    So from where you were, can you tell us what



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 196 of 303 PageID 769   196


     1   we -- we've had the opportunity to see a diagram by now

     2   so we have --

     3       A.   Okay.

     4       Q.   -- some familiarity with the layout.              And I'll

     5   show it to you in a minute.

     6                    But where approximately would you have been

     7   when you were on your hands and knees?

     8       A.   In the hallway just off the living room, right at

     9   the beginning of the hallway.

   10        Q.   And you said there was -- the fire was visible,

   11    the actual flames were visible?

   12        A.   Yes.

   13        Q.   Where were they?

   14        A.   They were above us and coming down, just banking

   15    down like the smoke would.

   16        Q.   All --

   17        A.   From the ceiling --

   18        Q.   Ceiling high and coming down?

   19        A.   Yes.

   20        Q.   Okay.    And you were on your hands and knees?

   21        A.   Yes.

   22        Q.   And so you've already described -- said that the

   23    place was very, very smoky.           And this is flames coming

   24    through the smoke?

   25        A.   It's flames prior -- yeah, it's going to be what



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 197 of 303 PageID 770   197


     1   would be prior to the smoke.

     2       Q.    Prior to the smoke?

     3       A.    Yes, sir.

     4       Q.    And you said something about the carpet.              Explain

     5   that again.

     6       A.    Whenever synthetics melt or get to a certain

     7   temperature, they start to off-gas and it's right before

     8   they combust.

     9       Q.    So --

   10        A.    So you can see that.

   11        Q.    -- you can see these gases coming off of the

   12    carpet?

   13        A.    Yes, sir.

   14        Q.    What does it look like?

   15        A.    Look likes steam or like a light smoke coming

   16    off.

   17        Q.    When you have -- when those gases come into

   18    contact with flame, open flame, what happens?

   19        A.    It's about to be -- about to flashover.

   20        Q.    And what does that mean?

   21        A.    That means all the room, that whole area and

   22    contents would be fully engulfed in flames.

   23        Q.    Including you?

   24        A.    Including us.

   25        Q.    When you see flames coming down the wall and you



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 198 of 303 PageID 771   198


     1   see gases coming off the carpet, how long do you have

     2   before everything starts into a fireball?

     3       A.   Seconds.

     4       Q.   What did you do when you saw this condition?

     5       A.   We -- I grabbed my partner and we backed up, got

     6   back to the living room.

     7       Q.   When you get back to the living room, did you

     8   note -- did anything catch your attention?

     9       A.   We were down low enough and could see the crew

   10    working at the door and we headed straight towards the

   11    door instead of following the wall back out.                And when

   12    we got there, there was a crew removing the body.

   13        Q.   Did you have any opportunity to make any

   14    observations of that body?

   15        A.   I know that there was a minimum amount of

   16    clothing on the body and then that crew was dragging her

   17    out.

   18        Q.   What did you do next?

   19        A.   I went to another entry point, which was a front

   20    window, where I could see flames visible from and I took

   21    my tool and broke out the window.             Got in --

   22        Q.   What kind of a tool?

   23        A.   It's called a New York hook.            It's about a

   24    four-foot-long steel hook that has some different pry

   25    points on it so we can force entry or aid us and assist



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 199 of 303 PageID 772    199


     1   with search.      Grabbed an additional hoseline off the

     2   engine so that we could push the flames back to try to

     3   make it to the back bedroom where the baby was reported.

     4       Q.   You said you grabbed an additional hoseline.                  Did

     5   you go in through that window that you talked about

     6   breaking out?

     7       A.   Yes, sir.

     8       Q.   When you get inside the apartment, did you --

     9   with that secondary -- second hoseline, was there -- did

   10    you come into contact with the other firefighters who

   11    are already in there with a hose?

   12        A.   Not initially.       But we did a quick search on that

   13    room there, where we look under the bed, over the top,

   14    and the closets and so forth and then try to push back

   15    towards the back bedroom.          Then we came in contact with

   16    them in the hallway.

   17        Q.   So you searched the room that you initially made

   18    entry in from the outside?

   19        A.   On our second entry, yes.

   20        Q.   Okay.    Did you have an opportunity while the fire

   21    was still -- and still going strong -- did you have an

   22    opportunity to see the fire in the back bedroom?

   23        A.   Yes, sir.

   24        Q.   Describe what you saw.

   25        A.   It was flames from the ceiling to the floor, wall



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 200 of 303 PageID 773   200


     1   to wall.     It was almost like daylight there was so much

     2   fire.

     3       Q.    How did you manage to get the fire under control

     4   or put out?

     5       A.    Well, we took both hoselines and the engine crew

     6   was pushing back the fire towards that back bedroom and

     7   putting it out.       We got into the hallway and the heat

     8   was so much that my partner and I got into the bathroom

     9   adjacent -- just right on the other side of the wall

   10    from the bedroom while they put more water on it to try

   11    to cool it down more so we could get in there and

   12    search.     We didn't know if we were going to be able to

   13    make entry with them there or if they would be able to

   14    hold back.       So we started to breach that wall to try to

   15    make another entry point to that room.

   16        Q.    What do you mean by "breach that wall"?

   17        A.    Started breaking the Sheetrock to get through the

   18    bathroom to the room.

   19        Q.    Was it -- ultimately was it necessary to utilize

   20    that hole to go into the other room?

   21        A.    It could have been.

   22        Q.    Were they able to get the fire under control

   23    before that became necessary?

   24        A.    Yes.

   25        Q.    Were -- at any one time were there two firehoses



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 201 of 303 PageID 774   201


     1   running into that bedroom?          When I say running in, I

     2   mean spraying water into that bedroom?

     3         A.   Yes.

     4         Q.   A lot of water comes out of a firehose, right?

     5         A.   Yes, sir.

     6         Q.   And they had sprayed water also in the hallway;

     7   is that correct?

     8         A.   Correct.

     9         Q.   What about in the front room, in the front -- in

   10    the living room, do you know if any water was sprayed in

   11    there?

   12          A.   I don't know.     I would -- I don't know what they

   13    did in the front bedroom -- or the front room we come

   14    in.

   15          Q.   How about the front bed -- the bedroom you

   16    initially made entry into from the parking lot, did you

   17    have to spray any water in there?

   18          A.   We had to spray water from that bedroom down the

   19    hall to get down the hall.

   20          Q.   Which is obviously not a clean maneuver.             It

   21    makes a mess, correct?

   22          A.   Correct.

   23          Q.   You said you wanted to get into that back bedroom

   24    to continue the search.          What were you searching for?

   25          A.   A baby.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 202 of 303 PageID 775   202


     1       Q.    Did you find the baby?

     2       A.    I did not find the baby.

     3                     MR. ROUSSEAU:    May I approach the easel,

     4   Your Honor?

     5                     THE COURT:   Sure.

     6       Q.    (BY MR. ROUSSEAU)       Get to you step down just a

     7   moment.     I would like to -- this is Exhibit No. 3 and

     8   it's already in evidence.          You can see this is a laser

     9   pointer, this yellow dot, yellow button right there.

   10    Step back a little bit so the jury can see.

   11                      And we've already had the benefit of Officer

   12    Arias testifying, so we have an understanding, generally

   13    speaking, of what we're looking at.

   14                      But would you, please, point out for us the

   15    room -- the window through which -- the window that you

   16    had to break out in order to gain entry a second time?

   17        A.    This window right here.

   18        Q.    Okay.     And it's a -- you're pointing to an area

   19    on the bottom right-hand side of the diagram and it's

   20    a -- appears to be double lines in an otherwise solid

   21    wall, correct?

   22        A.    Correct.

   23        Q.    Okay.

   24        A.    There's two windows there.

   25        Q.    It indicates the windows.         And it's on the far



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 203 of 303 PageID 776   203


     1   east end of the apartment, correct?

     2       A.   Yes, sir.

     3       Q.   Okay.    And where would the area -- the room that

     4   you were talking about that had all the fire in it, the

     5   fire that was from ceiling to the floor and wall to

     6   wall, which room would that have been?

     7       A.   This room right here.

     8       Q.   You're pointing to an area on the other end, the

     9   east -- the west end of the apartment, correct?

   10        A.   Yes, sir.

   11        Q.   Was it your understanding that was the baby's

   12    room?

   13        A.   Yes, sir.

   14        Q.   Now, you had a chance to review this in my office

   15    earlier today, correct?

   16        A.   Yes, sir.

   17        Q.   Was there some other structures or some items

   18    that you recall that -- being in the apartment that did

   19    not show up on this diagram?

   20        A.   On this diagram there is -- it's missing a --

   21    another sofa somewhere in here.            And then the bedroom,

   22    bed -- a big bed was in here.           And that's -- and then

   23    right here, while we were going through, the A/C and

   24    heating unit fell down on us.

   25        Q.   Okay.    Earlier you talked about another sofa and



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 204 of 303 PageID 777   204


     1   you were pointing to the area in the top left-hand

     2   corner of the diagram that's -- has a fireplace marked

     3   in there -- that room, correct?

     4       A.   Yes, sir.

     5       Q.   Okay.    And when you said there was a bed that you

     6   were calling a bed that was not shown in this diagram,

     7   that was in the eastern -- east bedroom where you said

     8   you made entry from the -- through the window, correct?

     9       A.   Yes, sir.

   10        Q.   All right.      Now, you said something about this

   11    area right here, the hallway adjacent to -- basically

   12    adjacent to the washer/dryer area.

   13        A.   Okay.

   14        Q.   What was it you just now talked there, happening

   15    there?

   16        A.   The A/C and heating unit fell down, came through

   17    the ceiling.

   18        Q.   So it was in the ceiling and it fell down?

   19        A.   Yes, sir.

   20        Q.   Okay.    Were you in the room when that happened?

   21        A.   We were in the hall when it happened.

   22        Q.   Did it hit you?

   23        A.   It came down on us.        I don't know if it was it or

   24    Sheetrock or whatever, but...

   25        Q.   Okay.    Did you end up -- did you receive any



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 205 of 303 PageID 778   205


     1   injuries the night that this -- you were fighting this

     2   fire?

     3       A.   This fire burned my ears and my partner's face.

     4       Q.   How severely burned?

     5       A.   Mine were first-degree and his were second.

     6       Q.   It required medical attention?

     7       A.   Not for myself.

     8       Q.   Did you get into any kind of trouble for that?

     9       A.   No, sir.

   10        Q.   Are you supposed to stay in a room that's on fire

   11    long enough to get burned yourself?

   12        A.   No, sir.

   13        Q.   Why did you stay?

   14        A.   We had a mission to accomplish, to save a baby.

   15        Q.   Thank you.      You can sit down.

   16                    Thank you, Engineer Kornegay.

   17                    MR. ROUSSEAU:      I'll pass the witness, Your

   18    Honor.

   19                              CROSS-EXAMINATION

   20    BY MR. MOORE:

   21        Q.   Do y'all prefer to go by firefighter, engineer?

   22    What do you prefer?

   23        A.   Engineer.

   24        Q.   Engineer?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 206 of 303 PageID 779   206


     1         Q.     I have just a few questions, Engineer Kornegay.

     2   You've been a firefighter 16 years in all, correct?

     3         A.     Coming up on it, yes, sir.

     4         Q.     Been to a lot of fires?

     5         A.     Yes, sir.

     6         Q.     They're all dangerous, aren't they?

     7         A.     Yes, sir.

     8         Q.     You made a report after this incident, correct?

     9         A.     Yes, sir.

   10          Q.     And have you reviewed that report before you

   11    testified here today?

   12          A.     Not today, sir.

   13          Q.     But before you testified, you reviewed it?

   14          A.     Yes, sir.

   15          Q.     The -- I'm -- I have one area I'd like to clear

   16    up.        You testified that at one point in time you were

   17    down on your knees crawling, correct?

   18          A.     Yes, sir.

   19          Q.     Where in the apartment was that?

   20          A.     That was from the living room to the hallway.

   21          Q.     Okay.   And I believe you testified -- and that

   22    wasn't in your report, though, was it?

   23          A.     I'm not sure, sir.

   24          Q.     Okay.   I just didn't see it in there.         I wanted

   25    to clear it up.          And you were on your knees, I assume,



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 207 of 303 PageID 780   207


     1   crawling to go into the hall?

     2       A.   Yes, sir.

     3       Q.   And where did you see the gases coming off the

     4   floor?

     5       A.   Right in front of me, in the carpet right in

     6   front of me.

     7       Q.   Which would be in the hall?

     8       A.   Yes, sir.

     9       Q.   Right before the bedroom?

   10        A.   Right before the first bedroom, it would have

   11    been.

   12        Q.   Right.     And we would call that the --

   13        A.   East bedroom.

   14        Q.   -- east bedroom?

   15        A.   Yes, sir.

   16        Q.   And I believe you testified that when you saw

   17    those gases coming up, there was also a whole bunch of

   18    smoke from the ceiling to the -- almost to the floor

   19    that just couldn't -- you couldn't see in there,

   20    correct?

   21        A.   No, sir.     The smoke was in the living room.

   22        Q.   Okay.    Was there no smoke in the hall?

   23        A.   No, sir.     It was fire.

   24        Q.   Just fire?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 208 of 303 PageID 781   208


     1       Q.   And I believe you testified that when the fire

     2   and gases meet, that's called -- you called that -- it

     3   was fixing to...

     4       A.   Flashover.

     5       Q.   A flashover?

     6       A.   Yes, sir.

     7       Q.   Okay.    What is a flashover?

     8       A.   A flashover is when everything in a room reaches

     9   ignition temperature and ignites.

   10        Q.   Okay.    So obviously that area had not reached

   11    that point of flashover, correct?

   12        A.   Not at the time that we entered.

   13        Q.   Right.     There was still gases coming up and

   14    flames coming down that had not met to cause a

   15    flashover, right?

   16        A.   Correct.

   17        Q.   Did it ever flashover?

   18        A.   Not with me in it.

   19        Q.   Okay.    Did it flashover with you not in it?

   20        A.   I'm not aware.

   21        Q.   Well, y'all were putting the fire out, weren't

   22    you?

   23        A.   No, sir.     I went back outside the structure and

   24    got another hoseline and made entry.

   25        Q.   Okay.    So you don't know whether there was a



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 209 of 303 PageID 782   209


     1   flashover or not?

     2       A.   Not at that particular time.

     3       Q.   Okay.     But there was certainly an abundance of

     4   smoke in the other part of the apartment?

     5       A.   Yes, sir.

     6       Q.   Enough where you couldn't breathe?

     7       A.   Yes, sir.

     8       Q.   Okay.     Thank you.

     9                    MR. MOORE:     I'll pass the witness.

   10                     MR. ROUSSEAU:     I don't have any further

   11    questions, Your Honor.

   12                     THE COURT:     May this witness be permanently

   13    excused?

   14                     MR. ROUSSEAU:     He may, Your Honor.

   15                     MR. MOORE:     He may.

   16                     THE COURT:     All right.     You're permanently

   17    excused from these proceedings just subject to those

   18    witness rules.       Remember who you can and cannot talk to

   19    until you find out the trial is over, which will be

   20    probably several weeks from now.

   21                     THE WITNESS:     Okay.

   22                     THE COURT:     And thank you for coming in.

   23                     THE WITNESS:     Yes, sir.

   24                     THE COURT:     You're not on call.

   25                     THE WITNESS:     Okay.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 210 of 303 PageID 783   210


     1                   (Witness excused from courtroom)

     2                   MR. ROUSSEAU:      Judge, may we approach?

     3                   THE COURT:     Yes.

     4                   (Discussion at the bench, off the record)

     5                   THE COURT:     All right.      Y'all go take a

     6   short stretch break.

     7                   (Break taken, 3:55 - 4:10 p.m.)

     8                   (OPEN COURT, DEFENDANT PRESENT, NO JURY)

     9                   THE COURT:     Officially, for the record,

   10    state your full, legal name out loud.

   11                    THE WITNESS:      Lester Warren Hicks.

   12                    THE COURT:     And if you'll face me and raise

   13    your right hand.

   14                    (One witness sworn)

   15                    THE COURT:     All right.      There's certain

   16    rules that apply to all witnesses in a trial.                We're

   17    going to bend them a little bit --

   18                    THE WITNESS:      Okay.

   19                    THE COURT:     -- out of respect, the lawyers

   20    for both sides have agreed to have family members who

   21    don't really know anything as far as being witnesses of

   22    what happened, to sit and watch the trial as long as

   23    they can keep their emotions together.

   24                    THE WITNESS:      Okay.

   25                    THE COURT:     As long as they can sit and



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 211 of 303 PageID 784   211


     1   listen, keep on their poker face, watch the trial and

     2   not talk to anyone about it unless they're speaking in

     3   private with the DA or defense attorneys or their staff,

     4   but you can't talk to anyone else about what you see or

     5   hear in the courtroom if we let you stay in.

     6                   Can you make that promise, sir?

     7                   THE WITNESS:      Yes, sir.      Absolutely.

     8                   THE COURT:     Well, here's the rules that

     9   apply to everyone.        You can't normally be in the

   10    courtroom when anyone else is testifying.               You can only

   11    be here when you do.         We're going to let you stay in the

   12    courtroom after your testimony to watch the trial and

   13    sit with the family, as long as you do not talk to

   14    anyone about anything that you see or hear, except in

   15    private with the officers of the court.

   16                    THE WITNESS:      Okay.

   17                    THE COURT:     Good so far?

   18                    THE WITNESS:      Yes, sir.

   19                    THE COURT:     No witness is allowed to talk to

   20    anyone else about anything they say or hear in the

   21    courtroom, much less anything they know about the case

   22    or the people involved, while the trial is in progress.

   23    That's the rule for everyone, not just for you.                 The

   24    other people don't get the opportunity to see and hear,

   25    so that's where I give you a little bit more of a riot



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 212 of 303 PageID 785   212


     1   act than I just would anyone.             Okay?

     2                   THE WITNESS:      Okay.

     3                   THE COURT:     Make sure you hear and

     4   understand the question asked.             And if you can't hear or

     5   you don't understand, just say so, but you never wing

     6   it.    You never guess.

     7                   THE WITNESS:      Okay.

     8                   THE COURT:     If they don't speak plain

     9   English, then you say I'm not sure what your question

   10    is, will you run it by me again.             If you do understand

   11    the question, though, you answer that question, you

   12    stop, you wait for the next question.

   13                    THE WITNESS:      Okay.

   14                    THE COURT:     You never talk at the same time

   15    as anyone else because her hands can't keep up with it.

   16    She's good, but she can't type in stereo.               Okay?

   17                    THE WITNESS:      Okay.

   18                    THE COURT:     If someone asks you do you have

   19    a watch, you say yes.         If they want to know where you

   20    got it, what time is it or any other stuff, they'll ask

   21    about your watch.        Otherwise, "yes" or "no" if that

   22    answers the question, answer, wait for the question.

   23                    THE WITNESS:      All right.

   24                    THE COURT:     They can ask all the questions

   25    they need to do their job.          It's not going to be a



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 213 of 303 PageID 786   213


     1   problem.

     2                   THE WITNESS:      Okay.

     3                   THE COURT:     Do you have any questions about

     4   these rules?

     5                   THE WITNESS:      No, sir.

     6                   THE COURT:     And you promise to follow them?

     7                   THE WITNESS:      Yes, sir.

     8                   THE COURT:     And they go on until the jury

     9   makes their last decision.

   10                    THE WITNESS:      Okay.

   11                    THE COURT:     Even after your testimony.

   12                    THE WITNESS:      Okay.

   13                    THE COURT:     So if you want to, you can have

   14    a seat right here and wait for them to come back in.

   15    You can go have a seat by David, do whatever you want.

   16                    Off the record.

   17                    (Break taken, 4:08 - 4:15 p.m.)

   18                    (OPEN COURT, DEFENDANT AND JURY PRESENT)

   19                    (Witness on the stand)

   20                    THE COURT:     You may call and identify your

   21    next witness.

   22                    MR. ROUSSEAU:      Thank you, Judge.        We'll call

   23    Lester Hicks.

   24                    THE COURT:     And if you will state your name

   25    one more time for Miss Karen and also for the members of



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 214 of 303 PageID 787   214


     1   the jury, please.

     2                   THE WITNESS:      Lester Hicks.

     3                   THE COURT:     And, Mr. Hicks, while the jury

     4   was on break, I brought you into court, swore you in,

     5   placed you under rules and all that stuff; is that

     6   correct?

     7                   THE WITNESS:      Yes, sir.

     8                   THE COURT:     I guess so the jury is not

     9   confused, one of the rules that most people are under is

   10    that you can't be in the courtroom to watch the trial,

   11    but because of your role in the case and you're an

   12    immediate family member, the parties have agreed that

   13    after your testimony you may remain in the courtroom and

   14    you're not breaking any rule.           But you can't talk to

   15    anyone about what you see or hear in the courtroom until

   16    the trial is over.        You understood that?

   17                    THE WITNESS:      Yes, sir.

   18                    THE COURT:     All right.      Kevin.

   19                                 LESTER HICKS,

   20    having been first duly sworn, testified as follows:

   21                             DIRECT EXAMINATION

   22    BY MR. ROUSSEAU:

   23        Q.   Good afternoon.

   24        A.   Good afternoon, sir.

   25        Q.   You are Lester Hicks; is that correct?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 215 of 303 PageID 788    215


     1       A.   That's correct.

     2       Q.   Mr. Hicks, what do you do for a living?

     3       A.   I'm a supervisor for the DART light rail,

     4   maintenance department.

     5       Q.   What does that mean, exactly?

     6       A.   All the maintenance that gets done to the trains,

     7   I help bring them in, schedule all the maintenance that

     8   gets repaired to them.

     9       Q.   Before you became a supervisor, what did you do?

   10        A.   I was also a mechanic before then on GSA

   11    equipment, the stuff that the -- loads airplanes.                 And

   12    before that, I was also a mechanic.

   13        Q.   Pretty much been a mechanic your whole life?

   14        A.   Yes, sir.

   15        Q.   Are you originally from Texas?

   16        A.   No, sir.     I'm originally from California.

   17        Q.   How long have you lived in Texas?

   18        A.   Approximately 22, 24 years, something like that.

   19        Q.   Did you serve any time in the military?

   20        A.   Yes, sir.     I served four years in the Marine

   21    Corps.

   22        Q.   How is it that you are connected to Mechelle

   23    Gandy and Asher Olivas?

   24        A.   Mechelle was my daughter and Asher was my

   25    grandson.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 216 of 303 PageID 789   216


     1       Q.   Was Mechelle your natural daughter?

     2       A.   No, sir.     She was my stepdaughter.

     3       Q.   And how long -- how -- you referred to her as

     4   your daughter?

     5       A.   Yes, sir.

     6       Q.   How long were you her father?

     7       A.   Since she was about two and a half, three years

     8   old.

     9       Q.   So you raised her from that age?

   10        A.   Yes, sir.

   11        Q.   And during the time that she was growing up,

   12    where did the family live?

   13        A.   We started off in California, but after I joined

   14    the Marine Corps, we moved here to Dallas, Fort Worth

   15    area.

   16        Q.   And does -- do you -- does Mechelle have family

   17    from her -- that is from her natural father's family

   18    still out in California?

   19        A.   Yes, sir.     That's correct.

   20        Q.   And are there some family members living in Reno,

   21    Nevada, as well?

   22        A.   Yes, sir.     That's correct.

   23        Q.   What type of a -- well, first of all, at the time

   24    of her death, how old was Mechelle?

   25        A.   Twenty-eight, I believe.          I don't know.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 217 of 303 PageID 790   217


     1   Twenty-six, I believe.

     2       Q.    That's okay.

     3       A.    Yeah.

     4       Q.    I didn't tell you I was going to ask you that.

     5   I'm sorry.

     6                     And did she -- you said y'all moved here

     7   after just a few years in California.              Did she do most

     8   of her growing up in Arlington?

     9       A.    Yes, sir.

   10        Q.    Did she go to Arlington schools?

   11        A.    Yes, sir.

   12        Q.    Did -- was she ever married?

   13        A.    No, sir.

   14        Q.    What type of girl was Mechelle?

   15        A.    Mechelle is, I want to say, a typical teenager.

   16    She grew up, high school, did typical teenager things.

   17    I had to wake her up, had to get her up to go to school.

   18    Make her get up.        Make her go.      You know, that's --

   19    that -- as -- as a teenager.           As she got older, she got

   20    better.     I mean, we all do.        We all grow up, so...

   21        Q.    So for those of us with teenagers, there is hope?

   22        A.    There is hope.

   23        Q.    What type of work did Mechelle do?

   24        A.    Mechelle mainly was a -- a waitress and a

   25    bartender.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 218 of 303 PageID 791   218


     1       Q.   Do you know if she ever worked any retail jobs?

     2       A.   Yes, at 7-Eleven.        She also worked there, too.

     3       Q.   What part of town -- just generally speaking,

     4   what part of town did you and Mechelle's mom live in?

     5       A.   The southeast part of Arlington.

     6       Q.   Okay.    I'm going to use some -- a lot of us are

     7   familiar with some of the major streets there.                In

     8   relation to, say, New York, where would that -- where

     9   would y'all live?

   10        A.   New York where?

   11        Q.   New York Avenue, I'm sorry.

   12        A.   Right.     Right.    What part of New York Avenue?

   13        Q.   Oh, down -- down in Southeast Arlington.

   14        A.   We lived west of New York Avenue.

   15        Q.   And I'm not trying to get exact.

   16        A.   Right.

   17        Q.   Did -- the 7-Eleven where Mechelle worked, was

   18    that somewhere in that general vicinity?

   19        A.   Yes, sir.

   20        Q.   So we've been talking about Mechelle quite a

   21    been.    Tell us about Asher.

   22        A.   Very good kid.       Very quiet.      Always smiling.

   23    Yeah.

   24        Q.   Did he --

   25        A.   A bundle of joy.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 219 of 303 PageID 792   219


     1       Q.    Did you spend a lot of time with him?

     2       A.    Yes.

     3       Q.    Did he spend time -- did he have a room at your

     4   house?

     5       A.    Yes, sir.

     6       Q.    Did he have a lot of toys at your house?

     7       A.    Yes, sir.

     8       Q.    Were there -- was there a period of time when he

     9   and Mechelle actually lived at your house?

   10        A.    Yes, sir.

   11        Q.    Did he have a bed there?

   12        A.    I'm sorry?

   13        Q.    Did he have a bed there?

   14        A.    Yes, sir.

   15        Q.    Can you tell me, did Mechelle have a job working

   16    in Grapevine, Texas, as far as you know?

   17        A.    Yes, sir.    She had a job there, yes.

   18        Q.    Do you know the name of the place where she

   19    worked?

   20        A.    She worked at Red Robin at one point and Pluckers

   21    at one point.

   22        Q.    And what is Pluckers?

   23        A.    It is a wing place.       A wing place.

   24        Q.    Did she ever work at a place called Boston's?

   25        A.    I can't tell you that for sure, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 220 of 303 PageID 793   220


     1       Q.   Or do you know if she -- if it was a place that

     2   she ever just went to and hung out?

     3       A.   I know she went there and hung out.

     4       Q.   Did she have a -- did she have many friends?

     5       A.   Yes, sir, a lot of friends.

     6       Q.   Pretty large circle of friends?

     7       A.   Yes, sir.

     8       Q.   Was she a social person?

     9       A.   Absolutely.

   10        Q.   Did Mechelle ever have any other children?

   11        A.   Not that I'm aware of.

   12        Q.   You were in a position to know?

   13        A.   Yes, sir.

   14        Q.   Asher was her only child?

   15        A.   Yes, sir.

   16        Q.   I want to turn your attention to the time --

   17    well, let me -- maybe we can just work backward.                 At the

   18    time of the fire, which was March the 20th of 2011, how

   19    old was Asher?

   20        A.   Just over one year old.

   21        Q.   If I said 13 months, would that be about right?

   22        A.   Yes, sir.

   23        Q.   So if my math is correct, backing up, that would

   24    have had Mechelle getting pregnant with him sometime in

   25    late spring, early summer of 2009?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 221 of 303 PageID 794   221


     1       A.   Yes, sir.

     2       Q.   Was she living in your house at that time?

     3       A.   Yes, sir.

     4       Q.   Did you know the father?          The -- who was supposed

     5   to be the father, did you know who that was?

     6       A.   I didn't know him personally.           I knew his name.

     7       Q.   And what was that?

     8       A.   Thomas Olivas.

     9       Q.   And how did you know that name?

   10        A.   Mechelle had told me that.

   11        Q.   And was there ever a time when -- well, did the

   12    fact -- was there any friction between yourself and, I

   13    guess, Mechelle's mother -- by the way, what is

   14    Mechelle's mother's name?

   15        A.   Georgia Hicks.

   16        Q.   Was there any friction between yourself and

   17    Georgia and Mechelle that evolved from her pregnancy?

   18        A.   Yes, sir.

   19        Q.   And what was -- describe that for us.

   20        A.   Mechelle was living with us whenever she had

   21    Asher and me and her mother took care of them, so...

   22        Q.   You mean financially?

   23        A.   Financially and babysitting and feed and -- until

   24    Mechelle got her job.         She was working two jobs as a

   25    single mom and we were just thinking that she shouldn't



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 222 of 303 PageID 795   222


     1   be doing that by herself.          So we thought the father

     2   should be responsible for helping her so she wouldn't

     3   have to work two jobs and never see her child and us

     4   always being her babysitter.           So it definitely caused

     5   friction for us.

     6       Q.   Well, I can understand why it would -- why you

     7   would want her to not have to go through all that pain.

     8   But why was -- what was the friction?              Was she resistant

     9   to something?

   10        A.   Yes --

   11                    MS. KEENE:     Your Honor, I'm going to object

   12    to any hearsay.

   13                    THE COURT:     What's your response to her

   14    hearsay objection?

   15                    MR. ROUSSEAU:      I can rephrase the question,

   16    Your Honor.

   17                    THE COURT:     I'll allow you to do that.

   18        Q.   (BY MR. ROUSSEAU)        Was there anything that you

   19    desired for Mechelle to do in regard to this child?

   20        A.   Yes, sir.     I wanted her to file the proper

   21    paperwork to get support from the father.

   22        Q.   And did you ever -- was that a part of the -- was

   23    that a source of the friction between you?

   24        A.   Yes, sir.     That was a big part of the friction.

   25        Q.   Was she resistant to that idea?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 223 of 303 PageID 796   223


     1       A.   Yes, sir.

     2       Q.   Was there ever a time before Asher was born when

     3   you actually met the person you refer to Thomas Olivas?

     4       A.   Yes, sir.

     5       Q.   Describe that for us.         Tell us about that

     6   encounter.

     7       A.   Which one, the first one or the second one?

     8       Q.   The first one.       The first time you -- and by the

     9   way, you ended up meeting the person, correct?

   10        A.   Yes, sir.

   11        Q.   Do you see that person present in the courtroom

   12    today?

   13        A.   Yes, sir.

   14        Q.   Could you point him out and describe something

   15    that he's wearing, please?

   16        A.   Sitting right here with a blue tie on.

   17        Q.   Okay.

   18        A.   At the end of this table.

   19        Q.   This gentleman right here --

   20        A.   Yes, sir.

   21        Q.   -- that I'm pointing at?

   22                     MR. ROUSSEAU:     May the record reflect the

   23    witness has identified the Defendant?

   24                     THE COURT:    The record will reflect he

   25    pointed at the Defendant in open court and accurately



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 224 of 303 PageID 797   224


     1   described his clothing.

     2       Q.   (BY MR. ROUSSEAU)        Where did you meet him and

     3   under what conditions?

     4       A.   Met him at the front of my house, and he had come

     5   over to talk to Mechelle.          That's when I met him.

     6       Q.   And was this before Asher was born?

     7       A.   Yes, sir.

     8       Q.   Is this a period of time -- was this early in her

     9   pregnancy or late?

   10        A.   Yes, sir.     It was early in the pregnancy.

   11        Q.   It was early.       Was there ever any possibility of

   12    Mechelle not giving birth to that child, that is, ending

   13    in -- ending her pregnancy by abortion?              Was there

   14    ever -- was that ever even a possibility?

   15        A.   Not that I'm aware of, no.

   16        Q.   When -- you said that you met Thomas early in her

   17    pregnancy outside of your house, correct?

   18        A.   Yes, sir.

   19        Q.   Was it day or night?

   20        A.   It was nighttime, sir.

   21        Q.   And describe the encounter.           Tell us what

   22    happened.

   23        A.   That night I had gotten home from work, because I

   24    work evening shift and --

   25        Q.   About what time do you get home -- did you get



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 225 of 303 PageID 798   225


     1   home then?

     2       A.   Approximately 12:00 o'clock at night.

     3       Q.   Okay.     Go ahead.     I'm sorry.

     4       A.   And typical thing, come in and start winding down

     5   from work.       Noticed that Mechelle was up getting

     6   dressed, which was odd.          Started talking to Mechelle to

     7   find out what was going on and she let me know that

     8   Thomas was coming over to the house, that they were

     9   talking about the pregnancy.

   10        Q.   How did that sit with you?

   11        A.   At that time I thought it was a good thing

   12    because I didn't know the person.             So at that time, I

   13    mean, good, taking care of business.

   14        Q.   So did you meet him that night?

   15        A.   Yes, sir.

   16        Q.   Did he come into your home?

   17        A.   No, sir.

   18        Q.   Where did you meet and talk to him?

   19        A.   I went outside and they were -- I have a two-car

   20    garage and they were on the farthest north side of the

   21    two-car garage, outside by the vehicles, speaking, and

   22    that's when I met him.

   23        Q.   Okay.     Was the encounter pleasant?

   24        A.   Yes, sir.     The first encounter was pleasant.

   25    Shook his hand.       We introduced each other and I was



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 226 of 303 PageID 799   226


     1   planning on asking him what he was doing there.                 He said

     2   he was there to take care of business.

     3       Q.    He said he was what?

     4       A.    He was there to take care of business.

     5       Q.    Do you know what that meant?

     6       A.    I don't know for sure what it meant, but I was

     7   taking it he was there to make arrangements due to the

     8   fact that Mechelle was pregnant.

     9       Q.    Did he give you any understanding or did he

   10    explain at all who he was, what he did for a living,

   11    anything like that?

   12        A.    No, sir.

   13        Q.    So I take it the conversation was pretty short?

   14        A.    Yes, sir, it was pretty short.

   15        Q.    Did you basically shake hands, introduce yourself

   16    and then go back in the house?

   17        A.    That's correct.

   18        Q.    Well, that was early in her pregnancy, right?

   19        A.    Yes, sir.

   20        Q.    When is the next time that you encountered Thomas

   21    Olivas?

   22        A.    I can't remember for sure of the exact day, but

   23    it was a couple of months later.            At the house, also.

   24        Q.    Where was that?

   25        A.    At the house, also.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 227 of 303 PageID 800   227


     1       Q.   Same sort of situation?

     2       A.   Sort of.     I mean, me and Mechelle were talking.

     3   At this time I had came home and me and Mechelle were

     4   talking on the couch and all of sudden she received a

     5   text and she pretty much just ended our conversation and

     6   was anxious.      And I was trying to find out what was

     7   going on.     And as it turned out, Thomas was coming over

     8   again that night.

     9       Q.   Did that trouble you in any way?

   10        A.   Yes, because of the timing.           Yes, sir.

   11        Q.   What do you mean "the timing"?

   12        A.   It was closer to 2:00 o'clock in the morning at

   13    that point.

   14        Q.   And did he -- when he came over, did he come up

   15    and knock on the door?

   16        A.   No, sir.

   17        Q.   How did you know that he was there?

   18        A.   Mechelle had went outside to meet him.

   19        Q.   Did you go outside and meet him, also?

   20        A.   At first I didn't.        After a little bit, I did go

   21    out there.

   22        Q.   Why did you go out there?

   23        A.   Because I didn't like the fact that he came to my

   24    house at 2:00 o'clock in the morning.

   25        Q.   Did you explain that to him when you went out



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 228 of 303 PageID 801   228


     1   there?

     2       A.   Yes, sir.

     3       Q.   How did you explain that to him?

     4       A.   I asked Mr. Olivas that if he did not have enough

     5   respect for my daughter to come in the daytime, that he

     6   shouldn't come to -- excuse my language -- but don't

     7   come to my fucking house at 2:00 o'clock in the morning.

     8       Q.   That's fine.      And, by the way, here, you can use

     9   the language that happened, that you used at the time.

   10    That's okay.

   11        A.   Okay.

   12        Q.   It sounds like you were a little angry?

   13        A.   Yes, sir.

   14        Q.   And how did he respond when you said that?

   15        A.   He responded that that's the only time he could

   16    come because he had school and he had to work.

   17        Q.   He said he was in school?

   18        A.   Yes, sir.

   19        Q.   Did he say where he was in school?

   20        A.   No, sir.

   21        Q.   Did he say what type of job he had?

   22        A.   No, sir.

   23        Q.   Did he say what hours -- what his hours were?

   24        A.   No, sir.

   25        Q.   Just that he goes to school and he goes to work



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 229 of 303 PageID 802   229


     1   and this is the only time he can come?

     2       A.    Yes, sir.

     3       Q.    How long did that encounter between the two of

     4   you last?

     5       A.    Less than five minutes.

     6       Q.    Have you pretty much described the conversation

     7   for us?

     8       A.    Yes, sir.

     9       Q.    Did it get heated?       Was there ever any chance of

   10    it turning into a fight or anything like that?

   11        A.    No, sir.

   12        Q.    Was there ever another time when you came into

   13    contact with him?

   14        A.    No, sir.

   15        Q.    So Mechelle at that time was still pregnant?

   16        A.    Yes, sir.

   17        Q.    Farther along, obviously?

   18        A.    Yes, sir.

   19        Q.    And Asher had not yet been born?

   20        A.    No, sir.

   21        Q.    So did Mechelle continue to live at your house

   22    throughout her pregnancy?

   23        A.    Yes, sir.

   24        Q.    Did -- to your knowledge, to your knowledge, did

   25    Thomas Olivas come to your house any more while she was



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 230 of 303 PageID 803   230


     1   pregnant?

     2       A.   Not that I'm aware of.

     3       Q.   To your knowledge, did Mechelle meet him anywhere

     4   away from your house?

     5       A.   Not that I'm aware of.

     6       Q.   It was not reported to you?

     7       A.   No, sir.

     8       Q.   Did she ever -- I'll pass on that.

     9                   Before Asher was born, how many jobs was

   10    Mechelle working?

   11        A.   Two, I believe.

   12        Q.   Did she continue working two jobs after he was

   13    born?

   14        A.   Yes, sir.

   15        Q.   And she continued living at your house?

   16        A.   Yes, sir.

   17        Q.   Did -- to your knowledge, did Mechelle ever

   18    receive any financial support from Thomas?

   19        A.   No, sir.

   20        Q.   Was there ever a time when Mechelle actually

   21    moved out of your house with Asher?

   22        A.   Yes, sir.

   23        Q.   And when was that?

   24        A.   It would have been, I believe, around November,

   25    December of 2012, I believe.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 231 of 303 PageID 804   231


     1       Q.    And what was the reason for her moving out?

     2       A.    Not '12.     It was the child support thing.           She

     3   would -- just never acted on trying to get the paperwork

     4   done and it turned into, you know, as you said, friction

     5   and she opted to move out.

     6       Q.    Okay.     You and your wife basically took a hard

     7   line and said this is something you must do?

     8       A.    Yes, sir.

     9       Q.    Did she ever flatly refuse to do it?

   10                      MS. KEENE:     Objection to hearsay, Judge.

   11                      THE COURT:     Read the prior question and

   12    answer back.

   13                      THE REPORTER:     "Okay.    You and your wife

   14    basically took a hard line and said this is something

   15    you must do?"

   16                      "Yes, sir."

   17                      "Did she ever flatly refuse to do it?"

   18                      THE COURT:     Overruled to that one question.

   19    Yes or no is the answer based on the state of the

   20    record.

   21                      MR. ROUSSEAU:     Should I ask the question

   22    again, Judge?

   23                      THE COURT:     Do you remember the question?

   24                      THE WITNESS:     Actually, I didn't hear the

   25    whole thing.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 232 of 303 PageID 805    232


     1                   THE COURT:     Read it back to him.          Read the

     2   question and answer and the followup question.

     3                   THE REPORTER:      "Okay.     You and your wife

     4   basically took a hard line and said this is something

     5   you must do?"

     6                   "Yes, sir."

     7                   "Did she ever flatly refuse to do it?"

     8                   THE COURT:     And the answer is yes or no to

     9   that question.

   10                    THE WITNESS:      No, sir.

   11                    THE COURT:     All right.

   12        Q.   (BY MR. ROUSSEAU)        And a moment ago I asked you

   13    when did she -- when was it that she moved out of your

   14    house and I think you said 2012?

   15        A.   That's not correct.        I'm trying to get that date

   16    in my head.      I know it was in November.          2010?

   17        Q.   How about this.       Our offense date is March of

   18    2011.

   19        A.   Yes, then it would be 2010, sir.

   20        Q.   Well, did Mechelle ever go to visit relatives in

   21    California, with Asher?

   22        A.   I don't know about California for sure, but I

   23    know that she went to Nevada.

   24        Q.   And I apologize.        That is the trip that I'm

   25    talking about.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 233 of 303 PageID 806   233


     1       A.   Yes, sir.

     2       Q.   And about what period of time would that have

     3   been?

     4       A.   That would have been Christmas of the same year.

     5       Q.   Once she returned, did -- eventually was she able

     6   to get an apartment?

     7       A.   Yes, sir.

     8       Q.   Now, did she suddenly come into a lot of money or

     9   did she find someone to help her?

   10        A.   No, sir.     Her aunt and grandmother helped her.

   11        Q.   And who are they?

   12        A.   Regina Scambler and Gail Wickman.

   13        Q.   Say last name again, please.            The last -- Gail,

   14    I'm sorry.

   15        A.   Wickman, I believe it is.

   16        Q.   Regina Scambler.        And that's S-C-A-M-B-L-E-R; is

   17    that correct?

   18        A.   Yes, sir.

   19        Q.   Okay.     A little bit of an unusual name.           That's

   20    why I thought I should spell it.

   21                     Did Mechelle have a cell phone?

   22        A.   Yes, sir.

   23        Q.   Did Mechelle pay for the phone herself?

   24        A.   No, sir.

   25        Q.   Whose name would that phone have been under?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 234 of 303 PageID 807   234


     1       A.   It would be under Regina Scambler's.

     2       Q.   Tell me, when Mechelle got back from Nevada and

     3   eventually moved into her apartment, do you recall

     4   approximately when it might have been that she moved

     5   into that apartment?

     6       A.   It had to be early January, early to mid January,

     7   pretty quick.

     8       Q.   She had not -- had she been living there very

     9   long when this happened?

   10        A.   No, sir.

   11        Q.   Was there a date in -- well, do you know when

   12    Asher's birthday was?

   13        A.   March 25th, the 25th of March.

   14        Q.   Okay.    He was 13 months old at the time of his

   15    death in March.       Would his birthday have been in

   16    February?

   17        A.   Yes, I'm sorry.       Yes.

   18        Q.   The 25th?

   19        A.   Yes, sir.

   20        Q.   Okay.    And did you attend a birthday party for

   21    him?

   22        A.   Yes, sir.

   23        Q.   A one-year-old birthday party?

   24        A.   Yes, sir.

   25        Q.   And where did that party take place?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 235 of 303 PageID 808   235


     1       A.    At Mechelle's apartment, Mechelle and Asher's

     2   apartment.

     3       Q.    The same one that burned?

     4       A.    Yes, sir.

     5       Q.    Okay.     Did you ever -- well, describe that

     6   complex.     Is it a complex that you felt comfortable her

     7   living in?        I mean, there are good neighborhoods and

     8   bad.     That's what I'm getting at.

     9       A.    The neighborhood appeared okay; the complex,

   10    maybe not so much.

   11        Q.    Did you have any concerns about their safety?

   12        A.    Not really.     Not safety.      But the complex just, I

   13    mean...

   14        Q.    You would prefer to see them live somewhere

   15    nicer?

   16        A.    Sure.

   17        Q.    Okay.     Did you ever provide Mechelle with a

   18    weapon of any sort for her own protection?

   19        A.    Yes, sir.

   20        Q.    And what was that weapon?

   21        A.    It was a 20-gauge shotgun, single-shot.

   22        Q.    Single-shot, 20-gauge shotgun?

   23        A.    Yes, sir.

   24        Q.    Is it one that you already own?

   25        A.    Yes, sir.



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                                 OFFICIAL COURT REPORTER
                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 236 of 303 PageID 809   236


     1       Q.   Was there a particular reason that you gave it to

     2   her, any reason in particular?

     3       A.   Because I believe in guns and think you should

     4   have one to protect yourself.

     5       Q.   And what I'm asking is, was there a specific

     6   reason, I guess I should say?           For example, I'm afraid

     7   of a person, a specific person who's trying to hurt me,

     8   anything like that?        Was there a specific threat that

     9   you were concerned about?

   10        A.   No, sir.

   11        Q.   Okay.    Just generally speaking, you felt that she

   12    needed a weapon in the home?

   13        A.   Yes, sir.

   14        Q.   Did she know how to use it?

   15        A.   Yes, sir.

   16        Q.   Had you taught her?

   17        A.   Yes, sir.

   18        Q.   Did you eventually recover that weapon?              Did

   19    someone bring it back to you?

   20        A.   No, sir.     The City of Arlington -- the police

   21    department recovered it.

   22        Q.   But they never gave it back to you?

   23        A.   No, sir.

   24        Q.   I want to move -- turn your attention now to the

   25    date of March 20th, 2011.          Did you see Mechelle and



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 237 of 303 PageID 810   237


     1   Asher that day?

     2       A.   No, sir.

     3       Q.   Were you -- that was a Sunday.            Were you working

     4   that day?

     5       A.   I was actually going to go in early.              So I was

     6   sleeping quite a bit in the afternoon because I had to

     7   go in at 3:00 o'clock in the morning.

     8       Q.   Were they at your house?

     9       A.   Yes, sir.

   10        Q.   Mechelle and Asher were at your house that day,

   11    but you were asleep?

   12        A.   Yes, sir.     Asher was there.        My wife was taking

   13    care of him.      And Mechelle came to pick him up.             Yes,

   14    sir.

   15        Q.   Did -- so you never saw Asher or Mechelle that

   16    day?

   17        A.   No, sir.

   18        Q.   When is the -- how did you find out that

   19    something had happened?

   20        A.   I had got up to get ready for work and a police

   21    officer had called our home phone and left a message on

   22    the recorder saying that they needed to speak with us.

   23        Q.   Did you return the call?

   24        A.   I did not at the time.         I just walked outside,

   25    walked back in, and they called again.              I was able to



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 238 of 303 PageID 811   238


     1   answer the phone at that time.

     2       Q.   And eventually did the policer officer come to

     3   your home?

     4       A.   Yes, sir.

     5       Q.   There were two police officers?

     6       A.   Yes, sir.

     7       Q.   And did they explain to you at that time that

     8   something had happened to Mechelle?

     9       A.   Yes, sir.

   10        Q.   Did you know yet -- did they know yet whether or

   11    not Asher was okay?

   12        A.   They did not know there was a child in that

   13    apartment.

   14        Q.   Did you inform them that there should have been a

   15    child in that apartment?

   16        A.   Yes, sir.

   17        Q.   Did you do anything or did anyone in your family

   18    do anything to try and help the police locate Asher?

   19        A.   Yes, sir.

   20        Q.   What did y'all do?

   21        A.   We got ahold of one of the people that may watch

   22    Asher on occasion to see if Mechelle had dropped him off

   23    over there.      And we also got ahold of one -- a couple of

   24    her friends to see if maybe they had Asher.

   25        Q.   Would the person who watched Asher, would her



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 239 of 303 PageID 812       239


     1   name by Lana Murphy?

     2       A.   Yes, sir.

     3       Q.   Did Ms. Murphy eventually come to the house?

     4       A.   Yes, sir.

     5       Q.   And did any -- did the police obtain any -- were

     6   they able to obtain any -- to your knowledge, and if you

     7   don't know that's fine, were they able to obtain any

     8   phone numbers to call individuals that might know where

     9   Asher had been, or where Asher was?

   10        A.   I don't know for sure if they obtained them.                  I

   11    believe they went to somebody's house.

   12        Q.   Okay.     But that's just something you would have

   13    been told, correct?

   14        A.   I'm sorry?

   15        Q.   That's just something you would have been told,

   16    correct?

   17        A.   Yes.

   18        Q.   Okay.     We'll pass on that topic for now.

   19        A.   Okay.

   20                     MR. ROUSSEAU:     May I approach, Your Honor?

   21                     THE COURT:    Yes.

   22        Q.   (BY MR. ROUSSEAU)        I want to show you what I've

   23    had marked as State's Exhibit No. 164 and ask you if you

   24    recognize this photograph?

   25        A.   Yes, I do.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 240 of 303 PageID 813   240


     1       Q.   Who is depicted in that photograph?

     2       A.   That's Mechelle and Asher.

     3       Q.   Is it a fair and accurate depiction of Mechelle

     4   and Asher as they looked shortly before their death?

     5       A.   Yes, sir.

     6       Q.   Deaths?

     7       A.   Deaths, yes, sir.

     8       Q.   Do you know where this photograph was taken?

     9       A.   Yes, sir.     It was taken in Nevada at her

   10    grandma's house.

   11        Q.   At Christmastime?

   12        A.   Yes, sir.

   13                    MR. ROUSSEAU:      I'll offer State's Exhibit

   14    No. 164, subject to any objection by Defense.

   15                    MS. KEENE:     No objection, Judge.

   16                    THE COURT:     State's 164 is admitted.

   17                    (State's Exhibit No. 164 admitted)

   18                    MR. ROUSSEAU:      May I publish, Your Honor?

   19                    THE COURT:     Yes, you may.

   20        Q.   (BY MR. ROUSSEAU)        Mr. Hicks, was there a

   21    memorial service held for Mechelle and Asher?

   22        A.   Yes, sir.

   23        Q.   Did you attend?

   24        A.   Yes, sir.

   25        Q.   Where was that?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 241 of 303 PageID 814   241


     1       A.   At Wade Funeral Home in Arlington.

     2       Q.   Was there a lot of people there?

     3       A.   Standing room only, sir.

     4       Q.   Sir, I forgot to ask you something and I realize

     5   you're feeling a little bit upset right now.

     6       A.   Yeah.

     7       Q.   So -- and I should have asked you this earlier.

     8   I apologize.       I need to do this before I pass you over

     9   to the Defense.

   10                     Do you know Georgia's, your wife's, do you

   11    know her cell phone number?

   12        A.   Yes, sir.

   13        Q.   And what number would that have been?

   14        A.   269-1226.

   15        Q.   269-1226.     Do you know what area code that is?

   16        A.   817.

   17        Q.   And do you know what Mechelle's phone number was?

   18        A.   I can't recall right offhand.

   19        Q.   Okay.     Who was paying for her phone again?

   20        A.   Her Aunt Regina was.

   21        Q.   Would it have -- and the name on the account

   22    would have been what?

   23        A.   Regina Scambler.

   24        Q.   Regina Scambler?

   25        A.   Scambler.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 242 of 303 PageID 815   242


     1       Q.    Just one moment, please.

     2                     Thank you very much, sir.

     3                     MR. ROUSSEAU:    I'll pass the witness, Your

     4   Honor.

     5                     THE COURT:   Defense may cross.

     6                             CROSS-EXAMINATION

     7   BY MS. KEENE:

     8       Q.    Are you doing okay, sir?

     9       A.    Yeah.

   10        Q.    If you need a break, it doesn't mean you're not a

   11    tough person.

   12        A.    No, I'm good.

   13        Q.    Are you okay?

   14        A.    Yeah.

   15        Q.    My name is Joetta Keene and I represent Thomas

   16    Olivas.     You and I have never met, have we?

   17        A.    No, ma'am.

   18        Q.    Is it okay if I ask you some questions about your

   19    stepdaughter?

   20        A.    Yes, ma'am.

   21        Q.    Did you ever go meet with the police and give

   22    them a statement?

   23        A.    Concerning?

   24        Q.    This case, the death of your stepdaughter.

   25        A.    I never went and met with them and gave them a



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 243 of 303 PageID 816   243


     1   statement.      I met with him.

     2       Q.   All right.      When did -- who do you meet with?

     3       A.   Detective Stewart.

     4       Q.   When did you meet with Detective Stewart?

     5       A.   The first time I met Detective Stewart was about

     6   5:00 o'clock the morning of the death.

     7       Q.   5:00 a.m.?

     8       A.   Yes, ma'am.

     9       Q.   So the first person you talked to that was a

   10    police officer was one that called you on the telephone?

   11        A.   Yes, ma'am.

   12        Q.   And was that an Officer Mathews, if you remember?

   13        A.   I don't recall.

   14        Q.   About how long was the conversation you had with

   15    the police officer on the telephone?

   16        A.   Just long enough to let me know that they were

   17    coming over.

   18        Q.   And then they came over?

   19        A.   Yes, ma'am.

   20        Q.   And did they come over with Detective Stewart or

   21    did they come over, police officers in uniform?

   22        A.   Two police officers in uniform came over.

   23        Q.   And were they male or female?

   24        A.   They were male.

   25        Q.   Do you remember either of their names?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 244 of 303 PageID 817   244


     1       A.   No, ma'am.

     2       Q.   And about how long did you talk with the two male

     3   police officers at your house that early morning?

     4       A.   We talked at -- for a while, until they realized

     5   that there should be a baby in that place and then they

     6   kind of stepped aside and started calling other people.

     7       Q.   Did they ever talk to you about a person by the

     8   name of Timothy, as opposed to Thomas?

     9       A.   No.    No, ma'am.

   10        Q.   Was there ever a time in which you told them, you

   11    or your wife whenever you were present, about Timothy?

   12        A.   No, ma'am.

   13        Q.   Was there ever a time that you told Officer

   14    Mathews, or this other male officer, or Detective

   15    Stewart about this boy named Timothy was really stalking

   16    Mechelle in the two weeks prior?

   17        A.   No, ma'am.

   18        Q.   Was there ever a time that you told them that you

   19    had given the shotgun because of the stalking of Timothy

   20    two weeks earlier?

   21        A.   No, ma'am.

   22        Q.   Were you present when your wife told them

   23    anything about the shotgun and about stalking or

   24    anything like that?

   25        A.   No, ma'am.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 245 of 303 PageID 818   245


     1       Q.    Did you have any idea where Officer Mathews would

     2   have obtained information that says that you were

     3   very --

     4                     MR. ROUSSEAU:     Objection, Your Honor.        She's

     5   reading from a report not in evidence.              It's hearsay.

     6                     THE COURT:     It sounds like it.

     7                     MS. KEENE:     I'm --

     8                     THE COURT:     Or asking what -- why --

     9   sustained on other grounds of why someone else would

   10    have done something.           That's not in evidence.

   11        Q.    (BY MS. KEENE)       Is that just something you've

   12    never heard of until today?

   13        A.    Correct.

   14        Q.    Okay.     Did you know your daughter's boyfriends?

   15        A.    Boyfriends?

   16        Q.    Yes.

   17        A.    I don't know that my daughter had boyfriends.

   18        Q.    Did she have a boyfriend, one?

   19        A.    I don't recall my daughter having a boyfriend,

   20    period.     She had a lot of acquaintances but no

   21    boyfriends.

   22        Q.    Okay.     What is an acquaintance to you?

   23        A.    A friend, from work.        I mean...

   24        Q.    Did you ever get in any conflicts with any of the

   25    other males, friends of hers, acquaintances?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 246 of 303 PageID 819   246


     1       A.   No.

     2       Q.   Did you ever get any conflict with a male,

     3   an acquaintance of hers, named Christopher Gant?

     4       A.   Say that again.

     5       Q.   An acquaintance by the name of Christopher Gant?

     6       A.   Any conflict?

     7       Q.   Yeah.     Any sort of dispute, argument?

     8       A.   Yes.

     9       Q.   Is that somebody that you believed was having a

   10    relationship with Mechelle?

   11        A.   No.

   12        Q.   That was just a friend?

   13        A.   Yes.

   14        Q.   Was there any other persons -- or were there any

   15    persons that you got into a conflict or verbal argument

   16    with that you believed was more than just a friend of

   17    hers?

   18        A.   No.

   19                     MR. ROUSSEAU:     Your Honor, I'm going to

   20    object to relevance.

   21                     THE COURT:    He said no to that question, so

   22    at this point I'll overrule to that, if there was any

   23    conflict.       He said no.    You may move forward.

   24                     MS. KEENE:    Thank you, Judge.

   25        Q.   (BY MS. KEENE)       Did Mechelle live with y'all



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 247 of 303 PageID 820   247


     1   until she moved out in November or December 2010?

     2       A.   Yes.

     3       Q.   Was that the first time that she had moved out of

     4   your house?

     5       A.   No.

     6       Q.   When had she moved back into your house?               Do you

     7   understand that question?

     8       A.   Yeah.    I understand.       I cannot give you an exact

     9   date whenever she moved back in.

   10        Q.   Can you give us an idea?

   11        A.   I can give you no idea when she moved back in.

   12        Q.   What -- had she been living with y'all for a

   13    year?

   14        A.   I don't recall, ma'am.

   15        Q.   So you can't even give us an idea if it was a

   16    month or a year or five years?

   17        A.   I can't recall exactly.

   18        Q.   Okay.    Is it safe to say that you don't know very

   19    much about your -- the personal dealings with -- of your

   20    daughter?

   21        A.   Yes.

   22        Q.   I mean, you're stepfather, correct?

   23        A.   By name, yes.

   24        Q.   Okay.    You're father?

   25        A.   Yes.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 248 of 303 PageID 821   248


     1       Q.   We'll leave it at that.          Because you are.       You

     2   raised her since she was two.

     3                    And I'm sorry I'm asking you hard questions,

     4   but you understand why I have to, don't you?

     5       A.   Yes.

     6       Q.   Okay.     Y'all had to take Asher, did you not?

     7       A.   Excuse me?

     8       Q.   Child Protective Services had to take --

     9                    MR. ROUSSEAU:     Your Honor, I am going to

   10    object to that.

   11                     THE COURT:    Members of the jury -- time

   12    out -- we need to take a short recess.              If y'all will go

   13    to the jury room, reload your coffee, we'll be right

   14    back with you.

   15                     (Jury excused from courtroom)

   16                     THE COURT:    The jury is out.        I'm not

   17    exactly sure where you're going.            I'm not exactly

   18    remembering ruling on specific motions in limine on that

   19    point, but discretion, valor, I'll let you ask the

   20    questions and then I'll make a ruling on --

   21                     MS. KEENE:    Okay.

   22                     THE COURT:    -- whether or not it has

   23    anything to do with this trial, outside the jury's

   24    presence.

   25                     MR. ROUSSEAU:     I don't believe there has



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 249 of 303 PageID 822    249


     1   been a motion in limine on that topic, Your Honor,

     2   specifically because I ask Ms. Keene if she was going to

     3   go into it with this witness and she told me no.                 That's

     4   why there's no motion in limine on this topic.

     5                   THE COURT:     Well, and I will just say I'll

     6   allow the questions to be asked and answered outside the

     7   jury's presence and we'll go from there.

     8                   MS. KEENE:     Judge, this is in response to

     9   his questions, just so you know, as you're thinking

   10    about the questions I'm going to ask, where he said

   11    could you tell us the type of -- what type of girl was

   12    Mechelle.

   13                    THE COURT:     Well, and I will just say this.

   14    Under the discretion and valor rule of officers of the

   15    court, of the standing and quality and character of

   16    those involved in this trial, I might have expected you

   17    to approach, "Look, I'm fixing to go into this and I'm

   18    just giving you a heads-up as the umpire," even if the

   19    witness isn't entitled to one because he's fair game on

   20    the witness stand, as is proper.            But there wasn't a

   21    specific motion and so I don't have a dog in this fight

   22    directly.     But you can ask your questions and I'll

   23    determine if they're relevant.

   24                    MS. KEENE:     And I apologize, Judge.          I do.

   25                           VOIR DIRE EXAMINATION



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 250 of 303 PageID 823   250


     1   BY MS. KEENE:

     2       Q.    When Asher was born, he was born with narcotics

     3   in his system; is that correct?

     4       A.    Possibly.

     5       Q.    And Child Protective Services was notified,

     6   really, to come to the hospital when he was born by the

     7   hospital?

     8       A.    I can't tell you who notified who on that.

     9       Q.    Did you meet with Child Protective Services at

   10    the hospital or within days after Asher was born?

   11        A.    I don't recall meeting with them there, no,

   12    ma'am.

   13        Q.    Did you meet with Child Protective Services at

   14    all in the -- let's say, a week, within that vicinity,

   15    after Asher was born?

   16        A.    I don't believe it was a week.           I believe it was

   17    a little bit longer than that.

   18        Q.    And were you and your wife directed to be

   19    supervisors of Asher?

   20        A.    That's correct.

   21        Q.    And that was because of the narcotics in his

   22    system?

   23        A.    Possible narcotics, yes.

   24        Q.    And after several months of working with Child

   25    Protective Services and y'all being the supervisors,



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 251 of 303 PageID 824       251


     1   Child Protective Services left Asher in the care of your

     2   daughter, they got out of her life?

     3       A.   I don't think that's the correct statement.                   I

     4   don't believe -- there was no working with them.                 I

     5   believe they came out to our house for one visit to see

     6   exactly what was going on and right after that visit

     7   everything was determined to be okay.

     8       Q.   Okay.    But did you not testify that they wanted

     9   you to be the supervisor, you and your wife to be the

   10    supervisors, of Asher in regards to Mechelle?

   11        A.   I did say that.

   12        Q.   Okay.    When was that?

   13        A.   That was so we could get Asher out of the

   14    hospital.

   15        Q.   Okay.    So they came to the hospital and said

   16    basically the grandparents need to take custody of the

   17    child until we do a further investigation?

   18        A.   I can't tell you for sure on that because I

   19    wasn't there during that part of it.             But I did have to

   20    sign him out of the hospital, yes.

   21        Q.   And then within a month or so they released --

   22    they got you guys out of it?

   23        A.   It was pretty fast after they came to our house

   24    and had an interview with our whole family, yes.

   25        Q.   And so it's your testimony that they did not stay



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 252 of 303 PageID 825   252


     1   involved in the case after that interview?

     2       A.    That's correct.      They did not stay involved.

     3                   MS. KEENE:     Well, Judge, then I would --

     4                   THE COURT:     Time out.

     5                   MS. KEENE:     Sorry, Judge.

     6                   THE COURT:     Will you walk out with the

     7   sheriff, outside the earshot of the lawyers for just a

     8   second.

     9                   (Witness excused from courtroom)

   10                    THE COURT:     Question one, what of that do

   11    you want to ask in the presence of the jury?                Of

   12    everything you just asked outside the jury's presence,

   13    what do you want to ask in the presence of the jury?

   14                    MS. KEENE:     All of it.

   15                    THE COURT:     All right.      And do you have

   16    objection to any or all of it?

   17                    MR. ROUSSEAU:      Every bit of it, Your Honor.

   18                    THE COURT:     All right.      And your legal

   19    objection is?

   20                    MR. ROUSSEAU:      The legal objection is

   21    character assassination.          It's irrelevant and any

   22    relevance is currently outweighed by the danger that it

   23    might be prejudice.        And I did not open the door.           I

   24    said what type of person was she, generally speaking,

   25    what type of person was she.           And his answer is



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 253 of 303 PageID 826   253


     1   essentially she's a decent person.             And Ms. Keene --

     2                   THE COURT:     Well, she hasn't given her

     3   reasons yet.      You don't have to respond to her reasons,

     4   even if you're anticipating them.

     5                   MR. ROUSSEAU:      Well, I do need to respond to

     6   address her questions themselves, though, Your Honor.

     7                   THE COURT:     Okay.

     8                   MR. ROUSSEAU:      Because Ms. Keene is working

     9   from the same set of records that I have and the

   10    narcotics that she's referring to --

   11                    THE COURT:     Uh-huh.

   12                    MR. ROUSSEAU:      -- this lifelong veteran of

   13    the criminal justice system, the narcotics that she's

   14    referring to is marijuana, a trace of marijuana, at the

   15    time the baby was born.          That's the question she wants

   16    to ask in front of the jury, is narcotics.

   17                    THE COURT:     Well, that would explain why one

   18    home visit and we're all done, versus meth or heroin or

   19    lots of other things.         That would clearly explain that

   20    if this were a child welfare hearing.              But having said

   21    that, yeah, I might expect more, too, personally, but

   22    professionally I've listened to 30-year veterans,

   23    narcotics officers, call marijuana narcotics.                And

   24    that's not what I, as a chemistry major with

   25    pharmacology, would call narcotics, but I hear it all



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 254 of 303 PageID 827   254


     1   the time, whether I should be hearing it here or not, in

     2   the form of questions, versus just saying marijuana.

     3   And if I allow the questions, I'll allow you to go back

     4   and point that out.

     5                   But, Joetta, why is this relevant based on

     6   current state of the record?           Your turn.

     7                   MS. KEENE:     The -- that he's opened the door

     8   to her character when he asked what type of girl was

     9   Mechelle.     And they talked about how -- the reason they

   10    had been watching the child is because she's working all

   11    these jobs, et cetera.         And this is just to rebut what

   12    he's already brought out.          You know, quite frankly, it's

   13    not relevant to talk about what type of girl she is in a

   14    general sense.       So just to rebut that alone, it is

   15    admissible, in my opinion.

   16                    THE COURT:     All right.      Accepting at face

   17    value that it's arguably relevant to the generic

   18    question of what kind of girl, what kind of daughter --

   19                    MS. KEENE:     He said girl.

   20                    THE COURT:     -- based upon the type of girl

   21    in the context of the statement, his daughter, what kind

   22    of girl, she lived with you, I think it's way overkill,

   23    403, the objection is sustained.

   24                    MS. KEENE:     Well --

   25                    THE COURT:     Is there anything else of this



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 255 of 303 PageID 828   255


     1   nature you feel obligated to explore with him so we

     2   don't have the jury come in and out, in representing

     3   your client, if there's any other --

     4                   MS. KEENE:     Yeah, I --

     5                   THE COURT:     -- of those kind of things?

     6                   MS. KEENE:     -- I don't have to explore --

     7   I -- well, I won't say it in front of him, but I --

     8   there's another subject matter that you can rule on.                   I

     9   would proffer that, Judge, she has been to a rehab for

   10    methamphetamine addiction.

   11                    THE COURT:     Uh-huh.

   12                    MS. KEENE:     And I would like to ask him

   13    about his knowledge of that, since he was talking about

   14    this type of girl that she was and the struggle that

   15    they have had with her that is beyond just a struggle of

   16    whether or not she's going to get the money out of the

   17    baby daddy.      This has been a struggle about whether or

   18    not she's going to quit using methamphetamine, which is

   19    actually why the marijuana became even a bigger issue

   20    when the baby was born that way.

   21                    THE COURT:     Well, let me just ask you this.

   22    The postmortem examination, toxicology, are there any

   23    drugs in her system?

   24                    MR. ROUSSEAU:      No, sir.

   25                    MS. KEENE:     I believe there was marijuana.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 256 of 303 PageID 829   256


     1                   THE COURT:     I mean meth, is what I meant.

     2   That's what --

     3                   MS. KEENE:     I don't believe there's

     4   methamphetamine, Judge.

     5                   THE COURT:     Okay.    Do you have any idea of

     6   when this rehab would have been?

     7                   MS. KEENE:     I do not.

     8                   THE COURT:     Okay.    I'll allow you to bring

     9   him in, ask him has she ever been to a meth rehab, do

   10    you know when it was, what did you know about it, what

   11    was your involvement, and then I'll send him back out

   12    and then we'll talk.

   13                    MR. ROUSSEAU:      You want to do that outside

   14    the presence --

   15                    THE COURT:     Yes.    Yeah.     That's why I

   16    said -- that's what I was telling her, if there's any

   17    other, let's get it out of the way so the jury isn't

   18    playing jack-in-the-box or pop-goes-the-weasel.

   19                    All right.

   20                    (Witness retakes the stand)

   21                    THE COURT:     Okay.    While the jury is out,

   22    there's some other issues I'm going to let them talk

   23    about and see if it's any of the jury's business or has

   24    anything to do with the trial.

   25                    So while you're still here, she has some



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 257 of 303 PageID 830   257


     1   more questions, and pull your microphone back, please.

     2                    All right.

     3                          VOIR DIRE EXAMINATION

     4   BY MS. KEENE:

     5       Q.   Do you have knowledge about whether or not

     6   Mechelle ever went to drug rehabilitation or drug rehab?

     7       A.   Not to my knowledge.

     8       Q.   Okay.

     9                    MS. KEENE:    Then that really answers --

   10                     THE COURT:    That keeps that simple.

   11                     MS. KEENE:    It does keep it simple.

   12                     THE COURT:    Yep.

   13        Q.   (BY MS. KEENE)       Did you have problems with her

   14    with using methamphetamine?

   15        A.   Not to my knowledge.

   16        Q.   Okay.

   17                     MS. KEENE:    That keeps it simple.         I won't

   18    ask those questions just to get a no.              It's silly.

   19                     THE COURT:    Well, no.      Now you know that's

   20    not an issue.       All right.     All right.

   21                     MS. KEENE:    And, Judge, in talking to my

   22    co-counsel, really additional reason of bringing up the

   23    Child Protective Services is that at this point she's

   24    been painted as this -- as a person who's working hard,

   25    working all these jobs and the character of her is being



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 258 of 303 PageID 831   258


     1   presented as one way, when, if she has had a baby,

     2   whatever the drugs are in it, it is still to the level

     3   that Child Protective Services is not going to let her

     4   take the child home from the hospital.

     5                   THE COURT:     Well, let me tell you that, and

     6   if this baby had died at five weeks old, I might say you

     7   have a point, but the 403 objection is still sustained.

     8                   MS. KEENE:     Okay.

     9                   THE COURT:     But I note your additional

   10    argument and reconsider my rulings and it remains the

   11    same, all right, at least based on the current state of

   12    the record.      403 objections, ruled for or against either

   13    side, are always subject to change when balanced against

   14    the entire record.        But as of right now, I'm very

   15    comfortable with the decision I have made as a matter of

   16    fact and law.

   17                    Do any of -- either of y'all, any of y'all,

   18    need two minutes to run get --

   19                    MR. ROUSSEAU:      No, sir.

   20                    MS. KEENE:     We're good, Judge.

   21                    THE COURT:     -- coffee?

   22                    Everybody good.        All right.    Go get them.

   23                    (Jury seated in courtroom)

   24                    THE COURT:     All right.      Members of the jury,

   25    this is the kind of thing when I do my job then you have



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 259 of 303 PageID 832   259


     1   to do your job where the rubber meets the road.                 You

     2   will ignore the last question that was asked.                I've

     3   sustained the objection to the question.               It didn't

     4   happen.     You will not consider or talk about it when you

     5   make your decision of what are the facts of the case.

     6                   Does everyone understand my instruction?

     7                   SEVERAL JURY MEMBERS:         Yes.

     8                   THE COURT:     You may continue, Counsel.

     9                   MS. KEENE:     We pass the witness, Judge.

   10                    MR. ROUSSEAU:      No further questions, Your

   11    Honor.

   12                    THE COURT:     All right.      May this witness be

   13    excused under the prior agreement but allowed for recall

   14    if needed?

   15                    MS. KEENE:     Yes.

   16                    THE COURT:     All right.      You can have a seat

   17    with the family.       Just remember, you cannot talk to

   18    anyone about anything that happens during the course of

   19    the trial.

   20                    THE WITNESS:      Thank you.

   21                    THE COURT:     And thank you for coming in.

   22                    (Witness excused from the stand)

   23                    MR. ROUSSEAU:      We'd call Officer Mathews.

   24                    (Witness takes the stand)

   25                    THE COURT:     Then state your full, legal name



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 260 of 303 PageID 833   260


     1   for the court reporter and members of the jury, please.

     2                   THE WITNESS:      Jamon Mathews.

     3                   THE COURT:     All right.      Corporal Mathews, I

     4   need you to face me and raise your right hand.

     5                   (One witness sworn)

     6                   THE COURT:     Have you testified in district

     7   court?

     8                   THE WITNESS:      Yes, sir.

     9                   THE COURT:     Are you familiar with all the

   10    rules that apply to witnesses in a criminal trial, who

   11    you may and may not talk to, where you may and may not

   12    be when testimony is being conducted?

   13                    THE WITNESS:      Yes, sir.

   14                    THE COURT:     Those rules apply in this case

   15    as they do in most.        Make sure you follow them.

   16                    THE WITNESS:      Yes, sir.

   17                    THE COURT:     All right.      Kevin.

   18                    MR. ROUSSEAU:      Thank you, Judge.

   19                          CORPORAL JAMON MATHEWS,

   20    having been first duly sworn, testified as follows:

   21                             DIRECT EXAMINATION

   22    BY MR. ROUSSEAU:

   23        Q.   Would you, please, introduce yourself to the

   24    jury.

   25        A.   Officer -- or -- Corporal Jamon Mathews with the



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 261 of 303 PageID 834   261


     1   Arlington Police Department.

     2       Q.    Is it a recent promotion?

     3       A.    Do what, sir?

     4       Q.    Is it a recent promotion?

     5       A.    About a year.

     6       Q.    Okay.     You're with the Arlington Police

     7   Department, correct?

     8       A.    Yes, sir.

     9       Q.    How long have you been with the Arlington PD?

   10        A.    About seven years.

   11        Q.    Is that the totality of your police experience?

   12        A.    No.     I had four years prior.

   13        Q.    Where was that?

   14        A.    I was with Irving Police Department and Iowa Park

   15    Police Department.        It's right beside Wichita Falls.

   16        Q.    What is your current assignment in Arlington

   17    Police Department?

   18        A.    I'm assigned as a corporal to North District on

   19    the midnight shift and I'm also assigned to S.W.A.T. as

   20    a sniper.

   21        Q.    As a -- your primary responsibility being a

   22    corporal in the Northern District, is that related to

   23    patrol?     You are a patrol supervisor?

   24        A.    A patrol -- yes, I'm a training officer.

   25        Q.    Training officer.       And have you been -- have you



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 262 of 303 PageID 835   262


     1   worked in patrol most of the time you've been with

     2   Arlington Fire Department -- Arlington Police

     3   Department?       I apologize.

     4       A.   Yes, sir.

     5       Q.   And in March of 2011 were you assigned to patrol

     6   at that time?

     7       A.   I was.

     8       Q.   And what shift were you working?

     9       A.   I was working the midnight shift, which starts at

   10    2300 hours, or 11:00 o'clock p.m., and it ends at the

   11    0700 hours, or 7:00 a.m.

   12        Q.   What are the duties of a patrol officer?

   13        A.   Patrol officers, our main responsibility is to --

   14    once dispatch calls, we answer calls for service, 9-1-1

   15    calls for services.        We also conduct investigations,

   16    whether we view them ourselves or we get dispatched.

   17    And then we also respond to -- or also conduct traffic

   18    stops, as well.

   19        Q.   Okay.    So if somebody calls 9-1-1, you're the one

   20    who shows up?

   21        A.   Correct.

   22        Q.   At least back then?

   23        A.   Yes.

   24        Q.   Were you working the same part of town back then?

   25        A.   Yes, sir.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 263 of 303 PageID 836   263


     1       Q.    Well, I want to -- we're here talking about an

     2   incident that happened on March 20th of 2011, starting

     3   just after 10:00 o'clock at night.             Did you become

     4   involved in the -- did you respond to, become involved

     5   in the subsequent investigation revolving around a fire

     6   and two victims that occurred at Presidents Corner

     7   Apartment on that day?

     8       A.    I did.

     9       Q.    Tell us how you came to be involved in that case.

   10        A.    Officers were dispatched initially for -- because

   11    there was -- for the assistance of the fire department,

   12    because they had firehoses and stuff in the roadway and

   13    we generally go to assist them, to either make sure

   14    their hoses don't get ran over and we also get

   15    dispatched to assist on a fire as far as helping out

   16    with other victims and relocation and stuff like that.

   17        Q.    And so when you first got to the scene, what did

   18    you do?

   19        A.    When we were first dispatched, we were advised

   20    that the fire department had located a body there at the

   21    scene.

   22        Q.    And was there anything -- I mean, is that unusual

   23    in a fire?

   24        A.    It's very unusual, yes.

   25        Q.    Was there anything that immediately required the



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 264 of 303 PageID 837   264


     1   attention of the police department regarding that body?

     2       A.   Yeah.    The fact that the body was not burned.

     3   The fact that the body appeared to have been stabbed and

     4   was bleeding.

     5       Q.   What did you do when you found that out?

     6       A.   Myself and the other officer, we made the scene

     7   and began speaking with potential witnesses that might

     8   have seen what happened with the fire investigation.

     9       Q.   And is that even though -- you're not a homicide

   10    detective, correct?

   11        A.   Right.

   12        Q.   But would that -- is that the role of a patrol

   13    officer to at least help out in the very initial

   14    investigation, that is, asking questions of people who

   15    are immediately on the scene?

   16        A.   It is.

   17        Q.   Okay.    So did you talk to a woman named Celia

   18    Murillo?

   19        A.   I did.

   20        Q.   How long had you been on duty when this all

   21    started?

   22        A.   In 2011, approximately a little over four years.

   23        Q.   No, I'm sorry, on duty that night.

   24        A.   Oh.     I had -- our shift actually started at 2200,

   25    at 11:00 o'clock.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 265 of 303 PageID 838   265


     1       Q.   Okay.

     2       A.   We were actually notified at briefing what was

     3   going on.

     4       Q.   Well, once you got there and you found out that

     5   there was a victim of an apparent homicide and you

     6   started -- you conducted your initial canvassing, your

     7   initial investigations, was there another duty that you

     8   were asked to fulfill?

     9       A.   Yes, sir.     We had located family members of the

   10    deceased female and I was requested to go make contact

   11    with them and make the death notification.

   12        Q.   Do you remember how y'all were able to find

   13    out -- how you were able to come up with a number of

   14    family members?

   15        A.   We had gotten the name from the neighbor and we

   16    did some research and discovered her name associated

   17    with her family's name through our computer system.

   18        Q.   So did you go to that house?

   19        A.   We did.

   20        Q.   Did you call first?

   21        A.   I did.     I called to make sure we did have the

   22    right location, being the address, and that also it was

   23    the correct family members so we weren't making a

   24    mistake.

   25        Q.   Not a mistake you want to make, is it?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 266 of 303 PageID 839   266


     1       A.   No, sir.

     2       Q.   So did you go to that home?

     3       A.   We did.

     4       Q.   And when you got there, who did you meet with?

     5       A.   I made contact there at the parents' address and

     6   I spoke with a Georgia Hicks, who is the biological

     7   mother of Mechelle, the deceased, and also Lester Hicks,

     8   who's the father.

     9       Q.   Has it ever been your responsibility before to

   10    have to notify someone that a family member has died?

   11        A.   Yes, several times.

   12        Q.   What's the normal routine when you have to do

   13    something like that?

   14        A.   Normally on the nightshift, it's a little bit

   15    different.      We contact a chaplain, victim service, to

   16    assist them if they have family that has any questions,

   17    as far as funeral arrangements, what to do with the

   18    deceased, stuff like that.          Midnight shift it's a little

   19    different because those type people aren't on duty, or

   20    not available to us.         So we call and we just have

   21    to either sometimes do it by ourselves or that

   22    assistance will show up later.

   23        Q.   Did you have a chaplain with you this time?

   24        A.   He showed up after the fact, I believe.

   25        Q.   So when you walked into this -- these people's



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 267 of 303 PageID 840   267


     1   home, did you know yet whether or not there was a baby

     2   who was missing?

     3       A.   We knew there was a baby missing.             We believed

     4   that there was a baby missing, just due to the fact we

     5   couldn't locate the child at the time.

     6       Q.   So it was your understanding already that there

     7   was -- there should have been a baby in the apartment?

     8       A.   Yes.     Correct.

     9       Q.   Did you personally notify the parents of Mechelle

   10    that she had passed away?

   11        A.   I did.

   12        Q.   Okay.     And what was their response?

   13        A.   Crushed, as you can imagine.            Their daughter had

   14    just been over there a couple hours ago with the son and

   15    they were pretty well devastated.

   16        Q.   Did you make any -- did you do anything, any

   17    investigation to try to locate anybody who might have

   18    Asher?

   19        A.   Yeah.     We -- I contacted the babysitter to see if

   20    she might have Asher, being the one-year-old.                We also

   21    spoke with the parents and asked if anybody -- who the

   22    father of the child was and, also, if there were any

   23    more contacts of people who might know or have Asher.

   24        Q.   Did you -- at any time were you able to obtain

   25    the telephone number for -- well, let me ask you, did a



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 268 of 303 PageID 841   268


     1   person by the name of -- did the name Timothy pop up in

     2   your investigation?

     3       A.   It did.

     4       Q.   And how did you come up with the name Timothy?

     5   And if you need to refer to your report at any time,

     6   please do so, if it will help you remember.

     7       A.   We located Timothy's name through an old cell

     8   phone number that the victim had had through Ms. Hicks.

     9       Q.   Was it an actual old cell phone?

   10        A.   It was.

   11        Q.   So you're actually -- you picked the phone up and

   12    scrolled through the contacts?

   13        A.   Correct.

   14        Q.   All right.      So you came up with this name

   15    Timothy.     Did you make contact with the person named

   16    Timothy?

   17        A.   I did.     I called him once and then -- through

   18    that cell phone and then he called back.

   19        Q.   You called on that phone that you found his

   20    number in?

   21        A.   Correct.

   22        Q.   So this was a phone that Mechelle had previously

   23    used but was no longer using?

   24        A.   Right.     But it was still working.

   25        Q.   Okay.     And you had to leave a message for him at



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 269 of 303 PageID 842   269


     1   first?

     2       A.   I did.

     3       Q.   And he called back?

     4       A.   He did.

     5       Q.   I'm not going to go into all the details of what

     6   he had to say to you, but I will ask you this.                Was it a

     7   pleasant conversation?

     8       A.   It was not.

     9       Q.   Was he abusive, verbally abusive?

   10        A.   Verbally, yes.

   11        Q.   Did he use profanity?

   12        A.   He did.

   13        Q.   Did he -- was his mood -- would you describe his

   14    mood as calm or agitated?

   15        A.   Extremely agitated.

   16        Q.   Could you hear anything in the background?

   17        A.   It was like loud music or just kind of loudness

   18    in the background.

   19        Q.   Okay.     Could you tell -- did you have an

   20    impression one way or another about whether or not he

   21    was having difficulty hearing you?

   22        A.   I don't know if he had difficulty hearing me, but

   23    I could tell it was extremely loud, which would cause a

   24    normal person to have difficulty.

   25        Q.   Okay.     Did you have a meaningful conversation in



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 270 of 303 PageID 843   270


     1   any way with him?

     2       A.   No.     It was not a good conversation.

     3       Q.   Okay.     How did you end the conversation?

     4       A.   After the continued profanity, I saw we were not

     5   getting anywhere so I told him that somebody else would

     6   be contacting him and I hung up the phone.

     7       Q.   Did you have a sense one way or another whether

     8   or not the person on the end of the line might have been

     9   intoxicated?

   10        A.   Could have been.

   11        Q.   Did that even occur to you, is what I'm saying.

   12    I don't want you to agree with me for --

   13        A.   I mean, his speech was slurred, but I really

   14    didn't know him from anybody else so I couldn't testify

   15    whether or not I believed he was.

   16        Q.   Okay.     Did the name "Thomas" come up?

   17        A.   It did.

   18        Q.   And how did you -- how did that name come up?

   19        A.   It came up through the parents of Mechelle saying

   20    that that was the --

   21                     MS. KEENE:    Objection to hearsay, Judge.

   22                     THE COURT:    All right.

   23                     Read the question back.

   24                     THE REPORTER:     "And how did you -- how did

   25    that name come up?"



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 271 of 303 PageID 844   271


     1                    THE COURT:    Rephrase your question.

     2       Q.   (BY MR. ROUSSEAU)        At some point in time did you

     3   become aware of the name Thomas?

     4       A.   I did.

     5       Q.   As -- and was that person potentially significant

     6   to you in your investigation?

     7       A.   It was.

     8       Q.   Did you -- were you able to obtain a telephone

     9   number for Thomas?

   10        A.   I did.

   11        Q.   And did you dial that telephone number, or I

   12    guess I should say, punch it in?

   13        A.   I did.

   14        Q.   And what phone did you use, if you recall?

   15        A.   I believed I used the house phone of the parents.

   16        Q.   When you called the number of Thomas, do you

   17    recall talking to a family member of Mechelle's, that

   18    is, Mechelle Gandy, the victim?            Do you recall talking

   19    to family member by the name of Regina Scambler on the

   20    telephone?

   21        A.   Yes.     That was the aunt.

   22        Q.   Okay.

   23        A.   Who also was the one paying for the cell phone.

   24        Q.   After talking to her, did you have -- were you

   25    able to -- did you obtain the telephone number that's --



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 272 of 303 PageID 845   272


     1   for Thomas?

     2       A.   I did.

     3       Q.   And is that -- so you called the number that she

     4   gave you?

     5       A.   I did.

     6       Q.   And when you called the number, did you actually

     7   make contact with a live human being on the other end?

     8       A.   No.     It was like somebody picked up and hung up

     9   real quick.

   10        Q.   Do you recall receiving -- do you recall

   11    getting -- having to leave a voice message?

   12        A.   I didn't.

   13        Q.   You did not, okay.        I want to turn your

   14    attention, please, to page four of your report.                 It's

   15    going to be the second full paragraph down.

   16        A.   Okay.

   17        Q.   And your report, it's the original, correct?

   18        A.   Yes, it is.

   19        Q.   Arlington police report.

   20                     The second full sentence, and just read it

   21    to yourself, please, beginning with "I then

   22    contacted..."

   23        A.   Uh-huh.

   24        Q.   The number that you called, did you get a

   25    recording?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 273 of 303 PageID 846   273


     1       A.    I did.

     2       Q.    And was there a name that was announced during

     3   that recording?

     4       A.    It was.

     5       Q.    And what was that name?

     6       A.    Thomas Olivas.

     7       Q.    At any point in time did you make contact with a

     8   woman named -- well, why did you want to contact Thomas

     9   Olivas?

   10        A.    To see if we could locate Asher's whereabouts,

   11    due to the fact that he was the father of the child.

   12        Q.    Was there any -- other than the fact he was the

   13    father of the child, was there any reason to suspect

   14    that he might have been with him?

   15        A.    No.

   16        Q.    You were just checking everything?

   17        A.    Right.

   18        Q.    Did you have any contact at any point with a

   19    woman named Rebeca?

   20        A.    I did.

   21        Q.    How did you come into contact with her?

   22        A.    I was given that cell phone number by the aunt,

   23    as well.

   24        Q.    And this is -- you're getting this information

   25    from the aunt in a telephone call, correct?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 274 of 303 PageID 847    274


     1       A.   Correct.

     2       Q.   So you called this woman named Rebeca.              And did

     3   you make contact with her?

     4       A.   I did.

     5       Q.   While you were speaking with Rebeca, can you tell

     6   us, describe whether -- well, were you able to get a

     7   sense of what her mental state was during that telephone

     8   call?

     9       A.   Yes.     She was -- when I asked her about Thomas

   10    and his whereabouts and what I was calling about, she

   11    became very nervous, extremely afraid.

   12        Q.   How did -- how were you able to tell that she was

   13    extremely afraid?

   14        A.   She was just -- her voice was breaking up.               She

   15    was extremely -- kind of like "what's going on," asking

   16    basically a thousand questions about, you know, what was

   17    happening, to the point she was so afraid I actually had

   18    to dispatch officers over to her residence due to the

   19    fact she feared for her safety so much.

   20        Q.   Would they have been Arlington officers?

   21        A.   No, sir.

   22        Q.   Tell us what you had to do.

   23        A.   I had to contact Grapevine PD and actually have

   24    them dispatched over there.

   25        Q.   And did you hang up the phone and let it go at



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 275 of 303 PageID 848   275


     1   that, after requesting the dispatch?

     2       A.   No.    I actually stayed on the phone with her

     3   until Grapevine PD arrived on scene.

     4       Q.   And I'm not going to go into all the things that

     5   Rebeca might have told you, but did you come away from

     6   it with the understanding that there was some connection

     7   between Rebeca and Thomas Olivas?

     8       A.   Yes, there was.

     9       Q.   Did you come away from it with an understanding

   10    that there was some connection between Rebeca and

   11    Mechelle Gandy?

   12        A.   Yes.

   13        Q.   Did she tell you what she was afraid of?

   14                    MR. MOORE:     Your Honor, I --

   15                    MS. KEENE:     Object --

   16                    MR. MOORE:     -- object to that.        That's

   17    hearsay.

   18                    THE COURT:     Sustained in the -- based on the

   19    current record.

   20                    MR. ROUSSEAU:      Give me just a moment.

   21                    (Pause in proceedings)

   22        Q.   (BY MR. ROUSSEAU)        At some point in time did you

   23    become aware that the body of Asher Olivas had been

   24    located?

   25        A.   I did.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 276 of 303 PageID 849   276


     1       Q.   How did you become aware of that, sir?

     2       A.   I was made aware by Arlington arson investigators

     3   that Asher had been found there in his room.

     4       Q.   Where were you at the time you found that out?

     5       A.   I was at Mechelle's parents' house, the Hicks.

     6       Q.   What did you do when you found out?

     7       A.   I went outside and spoke with the chaplain and

     8   also victim assistance, along with the other officer

     9   that was there, and made aware of what I was about to

   10    tell the family, that we had located Asher.

   11        Q.   Then what did you do?

   12        A.   Due to the fact that I had -- made some, I guess,

   13    some camaraderie or, I guess, made relationship with the

   14    family, I went ahead and made the notification to both

   15    of the parents.

   16        Q.   And what happened when you made that

   17    notification?

   18        A.   Ms. Hicks collapsed to the floor.             She was very

   19    distraught.      Mr. Hicks went to a table, basically

   20    started kind of pounding his fists on the table and put

   21    his head down.       They were both uncontrollably sobbing.

   22        Q.   Was there anything about their house that caught

   23    your attention?

   24        A.   Yeah.    All of Asher's -- all of the baby toys,

   25    diapers, clothes, stuff like that, was still there in



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 277 of 303 PageID 850   277


     1   the living room when we made the notification, as if

     2   they had just left.

     3                   MR. ROUSSEAU:      I'll pass the witness, Your

     4   Honor.

     5                             CROSS-EXAMINATION

     6   BY MS. KEENE:

     7       Q.   How are you doing?

     8       A.   Well, ma'am.

     9       Q.   Did you bring your report with you?

   10        A.   Yes, ma'am.

   11        Q.   Is it five pages long?

   12        A.   Yes, ma'am.

   13                    MS. KEENE:     Can I approach him just to make

   14    sure it's the same report, Judge?

   15                    THE COURT:     Yes.

   16                    MS. KEENE:     And may I approach the board,

   17    Judge?

   18                    THE COURT:     Yes.    The write-on-it board?

   19                    MS. KEENE:     The write-on-it board, Judge.

   20                    THE COURT:     All right.      Sheriff, will you

   21    get the write-on-it board up here, please.

   22                    MS. KEENE:     Thank you, Judge.

   23                    (Pause in proceedings)

   24        Q.   (BY MS. KEENE)       About what time did you get the

   25    call to respond on this call, on this case?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 278 of 303 PageID 851   278


     1         A.   2300 hours, being 11:00 p.m.

     2         Q.   About 11:00 p.m.      And at 11:00 p.m. where did you

     3   go?

     4         A.   I went straight to the apartments.

     5         Q.   So you went to the -- what would you --

     6   Presidents --

     7         A.   The Presidents Corner apartment complex.

     8         Q.   Presidents Corner Apartments.

     9                     And at Presidents Corner Apartments did you

   10    talk to any potential witnesses or anybody in

   11    particular?

   12          A.   Yes, ma'am.     I spoke with the neighbor at

   13    Apartment 603.

   14          Q.   And who was that that you talked to?            What

   15    neighbor?        What was her name?

   16          A.   Her name was Celia Murillo.

   17          Q.   C-E-L-I-A and M --

   18          A.   M-U-R-I-L-L-O.

   19          Q.   L-L-O.    And I believe you testified it was Celia

   20    that gave you the parents' phone number?

   21          A.   No.    They didn't give me the phone number.           They

   22    just gave me Mechelle's name, and then we located the

   23    family contact with our computer system.

   24          Q.   I understand.     So the neighbor told you the young

   25    lady who is deceased, what her -- identified her for you



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 279 of 303 PageID 852       279


     1   to figure out who her family member was?

     2       A.   Yeah.    Just her name and about how old she was

     3   and then we found the parents and...

     4       Q.   And was there anybody else that you talked to at

     5   the scene?

     6       A.   No.

     7       Q.   When you got there at 11:00 o'clock, was Mechelle

     8   still there?

     9       A.   She was.

   10        Q.   Had she already been declared deceased?

   11        A.   She had.

   12        Q.   So what did the scene look like?

   13        A.   There was fire department people everywhere.                  A

   14    bunch of people were outside.           Mechelle was there laying

   15    in the parking lot with a white sheet over her.

   16        Q.   And were -- are you the first officer on the

   17    scene?

   18        A.   One of the first.        Probably three.       Three or

   19    four.

   20        Q.   What do you do as a police officer to preserve a

   21    crime scene if there's been a crime that took place,

   22    which clearly there had been in this case?

   23        A.   I mean, you start contacting witnesses and stuff

   24    and if there's an area to be blocked off, then you block

   25    it off with crime scene tape.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 280 of 303 PageID 853   280


     1       Q.    And was that done in this case?

     2       A.    I'm not sure.

     3       Q.    Was that your duty?

     4       A.    That was not my duty, no.

     5       Q.    How -- explain to the jurors just in a brief way,

     6   how do those duties -- how is that determined?

     7       A.    Normally when a -- like the beat officer, or the

     8   person that's the initiating officer that's actually

     9   responsible for the scene, they might start divvying up

   10    duties.     Sometimes the senior officer or sometimes a

   11    corporal will also start divvying up duties, along with

   12    the sergeant, once they arrive on the scene.

   13        Q.    Who in this case was responsible for -- for

   14    preserving the crime scene, if you know?

   15        A.    I'm not sure who was in charge of preserving the

   16    crime scene.

   17        Q.    So what were your duties out there that night?

   18        A.    My duty, I made contact with the witness next

   19    door.     And then once locating the parents and where they

   20    lived, I went over there to make contact with them.

   21        Q.    When you talked to Celia, was she there with her

   22    boyfriend, Mr. Lopez?

   23        A.    She was.    She said she was staying there with

   24    him.

   25        Q.    Did you physically see Mr. Lopez?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 281 of 303 PageID 854   281


     1         A.   I believe I saw him -- I can't recall.

     2         Q.   Do you recall whether or not -- certainly from

     3   your report you did not get a statement from him?

     4         A.   No, I did not.

     5         Q.   Do you know whether or not he had been taken

     6   anywhere else to give a statement at that point?

     7         A.   I'm not sure.

     8         Q.   Okay.   At the scene is there anybody else that

     9   you talked to other than Celia?

   10          A.   No.

   11          Q.   All right.    So now this is 11:00 o'clock.           About

   12    how long -- and you don't have to be perfect because I

   13    know you didn't document the times exact, but about how

   14    long are you at the scene?

   15          A.   I'm not sure.

   16          Q.   About what time do you end up at the Hicks'

   17    house?      Is that the next place you went?

   18          A.   Yes, ma'am, it was.

   19          Q.   Can you --

   20          A.   I don't know exactly what time I went over there,

   21    no.

   22          Q.   After midnight-ish?

   23          A.   I don't really recall.

   24          Q.   So just the next -- can we just call it the next

   25    thing you did?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 282 of 303 PageID 855   282


     1       A.   Yes, ma'am.

     2       Q.   And you did not document that in your report, did

     3   you?

     4       A.   No, not the time what I went over there.               I'm

     5   sure that's in the call history, of the call.

     6       Q.   How would that be in the call history so that we

     7   could -- rather than saying next thing you did, actually

     8   have a time for it?

     9       A.   I guess, you would have to get records or

   10    something.       I'm not really sure how you would obtain

   11    that information.

   12        Q.   Is that something that you normally put in

   13    your reports, the times and the people you talk to?

   14        A.   No, because it's handled through dispatch.

   15        Q.   Okay.     Is that something that you can get your

   16    hands on, though?

   17        A.   I don't -- it expires after a certain number of

   18    years, I'm sure.

   19        Q.   Okay.     So we just have no idea what time you did

   20    anything then except for 11:00 o'clock?

   21        A.   Correct.

   22        Q.   Okay.     All right.     So the next thing that you did

   23    was go to the Hicks' house; is that correct?

   24        A.   That's correct.

   25        Q.   And at the Hicks' house you talked to both of her



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 283 of 303 PageID 856   283


     1   parents; is that correct?

     2       A.    Yes, ma'am.

     3       Q.    Is there anybody else you talked to at the Hicks'

     4   house?

     5       A.    I believe the babysitter, as well.            She ended up

     6   showing up later.

     7       Q.    All right.     And what was the babysitter's name?

     8   So the babysitter shows up at the Hicks' house?

     9       A.    Yes, after I contacted her.          Lana Murphy.

   10        Q.    So you talked to -- well, we might as well put

   11    all their names now.         Georgia Hicks; is that correct?

   12        A.    Yes.

   13        Q.    You talked to Lester Hicks?

   14        A.    Yes, ma'am.

   15        Q.    And then about how long were you there before the

   16    babysitter showed up, Lana Murphy?

   17        A.    I don't know.

   18        Q.    Do you have any idea?

   19        A.    No.

   20        Q.    Okay.

   21        A.    It was after I contacted her on a cell phone she

   22    showed.

   23        Q.    So you talked to the Hicks and from the Hicks you

   24    then called the babysitter?

   25        A.    Yeah.   And it's Lana, L-A-N-A.          I don't know if



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 284 of 303 PageID 857   284


     1   that makes a difference.

     2       Q.   All right.      Well, do you notice on page one you

     3   wrote it L-Y-N-A?

     4       A.   Well, it's called in through data entry, so...

     5       Q.   All right.

     6       A.   It's at the bottom.        It's L-A-N-A Murphy.

     7       Q.   So you think her name is spelled L-A-N-A?

     8       A.   I believe so.

     9       Q.   Do you care?

   10        A.   She might.

   11        Q.   Okay.    Well, this is your report where it's

   12    L-Y-N-A.

   13        A.   Right.     Well, like I said, we call in our report,

   14    so that might have been data entry --

   15        Q.   Okay.

   16        A.   -- missing it --

   17        Q.   All right.      So after "next thing you did," you go

   18    to the Hicks' house, you talked to the Hicks, you talked

   19    to Lana, and got information from all of them, correct?

   20        A.   Yes, ma'am.

   21        Q.   Do you recall, from any of these folks, so far,

   22    did you receive any information about a shotgun or a

   23    shotgun being present at the crime scene?

   24        A.   Yes.     Lester Hicks advised me that --

   25        Q.   Not what he advised you, but -- so it was Lester



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 285 of 303 PageID 858   285


     1   Hicks that gave you information about the shotgun?

     2       A.   Yes, ma'am.

     3       Q.   It was not Georgia Hicks or Lana Murphy?

     4       A.   No, ma'am.

     5       Q.   Okay.    And what did Lester Hicks tell you about

     6   the shotgun?

     7       A.   That he had given it to his daughter, Mechelle,

     8   for protection from Thomas, Timothy and the fact that

     9   she lived in Presidents Corner, which is a rougher

   10    neighborhood.

   11        Q.   And about how long prior to the date that you're

   12    there, in which she's been murdered, had he given her

   13    that shotgun?       Page five.

   14        A.   Approximately two weeks ago.

   15        Q.   All right.      So about two weeks prior to her being

   16    murdered basically her father is giving her a shotgun

   17    for protection from a couple of individuals?

   18        A.   Yes, ma'am.

   19        Q.   As well as his concern about the apartment

   20    complex?

   21        A.   Yes, ma'am.

   22        Q.   And so the name Timothy and Thomas, you had two

   23    different names and then you had just a generic idea

   24    about the apartment complex?

   25        A.   Yes, ma'am.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 286 of 303 PageID 859   286


     1       Q.    And based on the next -- what was the next thing

     2   you did after you talked to these folks and Ms. Lana

     3   Murphy?

     4       A.    Correct.

     5       Q.    What did you do next?

     6       A.    After he talked about the shotgun is when we

     7   found out about Asher being deceased.

     8       Q.    Okay.    So that's when you got the notification

     9   and you're no longer looking for -- which is really Lana

   10    Murphy -- looking for the baby, correct?

   11        A.    Right.     We were looking for, you know, Asher the

   12    entire time.

   13        Q.    Right.     So I'm getting that.         You guys leave

   14    and you want to know where is the baby, we see

   15    it clearly as someone who's been murdered?

   16        A.    Correct.

   17        Q.    And she has a baby and where is the baby, so

   18    you're going to the grandparents, you're going to the

   19    babysitter?

   20        A.    The aunt.     Everybody.

   21        Q.    Aunt?

   22        A.    Yes, ma'am.

   23        Q.    Anybody that could potentially have the child so

   24    you can just find it, correct?

   25        A.    Yes, ma'am.



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 287 of 303 PageID 860   287


     1       Q.   Along the way you're also hearing other

     2   information; is that correct?

     3       A.   Yes, ma'am.

     4       Q.   And after you get the notification about Asher,

     5   them finding his body, did you do anything else in this

     6   case?

     7       A.   I made the notification to the family.

     8       Q.   You said you talked to somebody that had a

     9   relationship with Thomas?

   10        A.   With -- oh, yes.        The -- I guess he had -- it

   11    was -- he was the father of two children.

   12        Q.   What was that person's name?

   13        A.   Celia.

   14        Q.   And so you testified earlier that her name was

   15    Rebeca, but in your police report the name is Celia; is

   16    that correct?

   17        A.   Where are you saying the Rebeca reference is at?

   18        Q.   I don't see a Rebeca reference.            That's why I'm

   19    asking you.       You testified her name was Rebeca.            In the

   20    police report, on page five, the only name I see is

   21    Celia.    And I don't see a last name.

   22        A.   Celia Murillo.

   23        Q.   All right.      Do you believe that Celia Murillo was

   24    the person that was hysterical on the phone that you

   25    called and talked to?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 288 of 303 PageID 861   288


     1       A.   Yes, ma'am.

     2       Q.   Okay.     And so after you talked to her at the

     3   scene, you then later called her and talked to her?

     4       A.   Yeah.     She actually called me back.

     5       Q.   Okay.     I just feel like we're on two different

     6   pages.    Okay?     Celia Murillo is the person who was at

     7   the scene and was the neighbor.            Okay?

     8                    THE COURT:     Is that a question?

     9                    MS. KEENE:     Well, I'm -- yeah, that's a

   10    question.     Is that a -- that is a question.

   11                     THE COURT:     Is that correct?

   12                     THE WITNESS:     Okay.    Yeah.    Celia had called

   13    me, but Celia is clearly not the girlfriend, or

   14    whatever, of Thomas.          It was -- Celia was the neighbor.

   15    The other female was Rebeca.

   16        Q.   (BY MS. KEENE)       Okay.    Where do you see that in

   17    the report that her name is Rebeca?

   18        A.   Okay.     I don't see it in my report.

   19        Q.   In the report she's called Celia without a last

   20    name; is that correct?

   21        A.   Yes, she is.

   22        Q.   All right.      So -- and it's a long night and

   23    you're dealing with a difficult case.              I understand

   24    that.    But in your report you called her Celia?

   25        A.   Yes, that's correct.



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 289 of 303 PageID 862   289


     1       Q.   And so there was another person that was

     2   different than the neighbor that you talked to on the

     3   telephone?

     4       A.   Correct.

     5       Q.   Celia.     And this Celia I believe you described as

     6   being upset; is that correct?

     7       A.   Yes.

     8       Q.   Nervous.     In the police report you actually

     9   describe her as being hysterical?

   10        A.   That's correct.

   11        Q.   And she was hysterical without you telling her

   12    what had happened; is that correct?

   13        A.   That's correct.

   14        Q.   And so that concerned you, or at least that was

   15    enough to you for you to note it in your police

   16    report --

   17        A.   Yes, ma'am.

   18        Q.   -- as being important; is that correct?

   19        A.   Yes, ma'am.

   20        Q.   And basically you pick up the phone and you call

   21    somebody named Celia, Rebeca, or whatever, somebody

   22    that's related to Thomas, seems to be a baby mama, and

   23    she becomes very hysterical?

   24        A.   Correct.

   25        Q.   Okay.    To the point that you get the Grapevine



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 290 of 303 PageID 863     290


     1   Police Department to go see her, correct?

     2       A.   That's correct.

     3       Q.   And this person named Celia, Rebeca, whatever,

     4   you stay on the phone with until Grapevine shows up?

     5       A.   That's correct.

     6       Q.   Did you have any information from Grapevine or

     7   anybody about this person named Celia, Rebeca, that

     8   you're talking to on the phone?

     9       A.   Okay.    I mean, it's not the neighbor Celia.                 So I

   10    misspoke in my report as far as either the name or it

   11    was copied down wrong by data entry.

   12        Q.   And that's why -- I'm putting "Celia" because you

   13    said it there, but it -- basically it's the girlfriend?

   14        A.   Right.

   15        Q.   Thomas' girlfriend?

   16        A.   Yes, ma'am.

   17        Q.   Whatever her name is?

   18        A.   Yes, ma'am.

   19        Q.   Your report is a mess when it's dealing with this

   20    name, correct?

   21        A.   Yeah, just that name.

   22        Q.   Well, and some other names, as well, but we'll

   23    leave you alone.       Okay?

   24        A.   Okay.

   25        Q.   This is basically, though, Thomas' girlfriend,



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 291 of 303 PageID 864   291


     1   how about we just do that.          Right?

     2       A.   That will work.

     3       Q.   All right.      So after you talked to Thomas'

     4   girlfriend, was the last thing that you did on the case?

     5       A.   Yes, ma'am.

     6       Q.   All right.      When did you talk to this person by

     7   the name of Timothy?

     8       A.   While I was over there at the parents' address,

     9   the --

   10        Q.   So at --

   11        A.   -- Hicks' address.

   12        Q.   -- at the Hicks you actually called and talked to

   13    Timothy?

   14        A.   Yes, ma'am.

   15        Q.   And this is when he was very verbally abusive to

   16    you, correct?

   17        A.   Yeah.    He was upset that I had called him after

   18    midnight.

   19        Q.   And he called you names and whatever.              So y'all

   20    did not have a productive conversation?

   21        A.   No, we did not.

   22        Q.   Did you have an understanding that this was the

   23    same Timothy that Lester had talked about, that you were

   24    calling the right Timothy?

   25        A.   Yeah.    Based on the phone number that I had



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 292 of 303 PageID 865   292


     1   gotten from the aunt, or based on the phone number I'd

     2   gotten off the cell phone.

     3       Q.   Okay.

     4       A.   The old cell phone.

     5       Q.   And other than talking to Timothy and -- was

     6   there anybody else you called while there -- well, you

     7   said the aunt?

     8       A.   Yeah.     I'd spoken with the aunt, along with the

     9   babysitter, as well, on the cell phone.

   10        Q.   Okay.     Did you get a last name for Timothy?

   11        A.   I did not.      He wouldn't give it to me.

   12        Q.   What about -- well, that's true.            He wouldn't

   13    talk to you, really.

   14                     What about the aunt, what is the aunt's

   15    name?    Because you talked to them also at the house; is

   16    that correct?

   17        A.   Yes, ma'am.

   18        Q.   All right.      What's the aunt's name?

   19        A.   Lana Murphy.

   20        Q.   Okay.     Lana Murphy.

   21        A.   No, that's the babysitter.

   22        Q.   Babysitter.      Exactly.

   23        A.   That's the babysitter.

   24        Q.   What's the aunt's name?          How about Regina

   25    Scrambler (sic)?       Does that help?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 293 of 303 PageID 866   293


     1       A.   Let me find it so I don't misspeak.

     2                   That's correct.

     3       Q.   All right.      And do you have any idea about what

     4   time you talked to Regina Scrambler?

     5       A.   It was sometime after midnight.

     6       Q.   So that's after midnight?

     7       A.   Yes, ma'am.

     8       Q.   And, really, what Regina is doing is she's --

     9   she pays for Mechelle's cell phone, correct?

   10        A.   Correct.

   11        Q.   So she could go online and look at the phone

   12    bill, correct?

   13        A.   Yes.

   14        Q.   Realtime?

   15        A.   Yes, ma'am.

   16        Q.   And so she could give you names and phone numbers

   17    of people that she thought may be relevant for you to

   18    look at now that she knew her niece was deceased?

   19        A.   Correct.

   20        Q.   Whether that's somebody that talked to her that

   21    day or phone numbers as she's looking at the thing, that

   22    seemed to matter to her?

   23        A.   Correct.

   24        Q.   And so you made some of those phone calls,

   25    whether it be to Timothy, whether it be to Thomas'



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 294 of 303 PageID 867   294


     1   girlfriend or whoever, correct?

     2       A.    Correct.

     3       Q.    And also to Thomas?

     4       A.    Yes.

     5       Q.    Was Thomas the last person that you talked to or

     6   was it -- or tried, attempted to talk to or was it

     7   Celia?

     8       A.    No.     It was the -- it was Thomas' girlfriend.

     9       Q.    Thomas' girlfriend is the last person that you

   10    talked to?

   11        A.    Yes, ma'am.

   12        Q.    When did you attempt to call Thomas Olivas?

   13        A.    I don't know if it was before or after I

   14    attempted to contact Timothy.

   15        Q.    Was it at the Hicks' house?

   16        A.    It was.

   17        Q.    Okay.     So also up here is Thomas.         So sometime

   18    after midnight or after -- between 11:00 o'clock -- but

   19    now we're getting into midnight.            You begin contacting

   20    Timothy, Thomas and Thomas' girlfriend?

   21        A.    Correct.     It was between probably midnight and

   22    about 2:00 a.m. when I was trying to contact Timothy and

   23    Thomas.

   24        Q.    These two are between midnight and 2:00 a.m.?

   25        A.    I believe so.      Yes.   So...



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 295 of 303 PageID 868   295


     1       Q.   All right.      That's between 12:00 and 2:00 a.m.;

     2   is that correct?

     3       A.   Yes, ma'am.

     4       Q.   All right.      What time did you finish with

     5   everything that you did on this case, basically by

     6   ending up out at Grapevine Police Department?

     7       A.   I never went to Grapevine Police Department.

     8       Q.   You did not?

     9       A.   No, ma'am.

   10        Q.   You just stayed on the telephone with them?

   11        A.   Yes, ma'am.

   12        Q.   Until Grapevine arrived?

   13        A.   Yes, ma'am.

   14        Q.   And then you were done with this case?

   15        A.   Yes, ma'am.

   16        Q.   You went home and called in the report?

   17        A.   I called it there at the police station.

   18        Q.   Okay.

   19                     MS. KEENE:    Judge, we'd offer in Defense

   20    Exhibit No. 5.

   21                     MR. ROUSSEAU:     I have no objection, Your

   22    Honor.

   23                     THE COURT:    You want to identify for the

   24    record what it is?

   25                     Do you want to identify for the record what



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 296 of 303 PageID 869   296


     1   it is that you're offering?

     2                   MS. KEENE:     Yes.    It is a summary and

     3   timeline of Officer Mathews, the witnesses he talked to,

     4   the chicken scratch that I put on the board.

     5                   THE COURT:     Oh, what you've been writing on,

     6   all right.

     7                   MS. KEENE:     Yes.

     8                   THE COURT:     No objection.       It's admitted.

     9                   (Defendant's Exhibit No. 5 admitted)

   10                    THE COURT:     What I'll call -- I've been

   11    calling them posters.         They're actually individual

   12    pages of the Court's easel and each side has been

   13    marking as they've written on them.              And they'll be

   14    separately, preserved at the conclusion of testimony.

   15                    You may continue.

   16                    MS. KEENE:     Judge, that's all I have.          I'll

   17    pass the witness.

   18                            REDIRECT EXAMINATION

   19    BY MR. ROUSSEAU:

   20        Q.   I need to clarify a couple of things, because I

   21    think it might a little confusing.

   22                    You went to the scene originally, correct?

   23        A.   To Presidents Corner, yes.

   24        Q.   To Presidents Corner.         I mean the scene of the

   25    murders?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 297 of 303 PageID 870   297


     1       A.    Yes.

     2       Q.    And you made initial contact with a witness named

     3   Celia Murillo, correct?

     4       A.    Yes, sir.

     5       Q.    And this is not the person that you later talked

     6   to on the phone, right?

     7       A.    No, it's not.

     8       Q.    Okay.   The person you later talked to on the

     9   phone, who you indicated in your report was named Celia,

   10    was actually the girlfriend of Thomas Olivas, correct?

   11        A.    Correct.    She gave her address and everything.

   12        Q.    And what is the address that she gave?

   13        A.    She gave 214 Brookside in Grapevine, Texas.

   14        Q.    Grapevine, Texas?

   15        A.    Yes, sir.

   16        Q.    214 Brookside?

   17        A.    Yes, sir.

   18        Q.    And did she indicate clearly that she knows

   19    Thomas Olivas?

   20        A.    She did.

   21        Q.    Did she indicate clearly that they were -- had

   22    been a live-together couple?

   23        A.    Yes, sir.

   24        Q.    Okay.   Did she indicate clearly that she was

   25    afraid?



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Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 298 of 303 PageID 871   298


     1                   MS. KEENE:     Your Honor, I'm going to object

     2   to this, Judge.       I mean, we've identified it's Thomas'

     3   girlfriend, even on the board, he made a mistake on the

     4   name and identified as Thomas' girlfriend.               We don't --

     5   didn't get to go into every single hearsay statement.

     6                   THE COURT:     What about Rule 106 and 107,

     7   Texas Rules of Criminal Evidence?

     8                   MS. KEENE:     106 and 107?

     9                   THE COURT:     Optional completeness, part and

   10    parcel of a conversation.

   11                    MS. KEENE:     I disagree with that.

   12                    THE COURT:     Huh?

   13                    MS. KEENE:     Based on what?

   14                    THE COURT:     Y'all approach.

   15                    Members of the jury, ignore the little man

   16    behind the curtain.        Let me talk to the lawyers a

   17    minute.

   18                    (Discussion at the bench, off the record)

   19                    THE COURT:     I will allow a limited fleshing

   20    out of a conversation that's already in evidence from

   21    both sides, or parts of which.

   22                    Within the limits of Rule 403, you may

   23    proceed.

   24        Q.    (BY MR. ROUSSEAU)       Okay.    In any event, you did

   25    talk to this person and you stayed on the scene -- you



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 299 of 303 PageID 872   299


     1   stayed on the phone with her long enough for police

     2   officers from Grapevine to arrive at her location,

     3   correct?

     4       A.   Yes, sir.

     5       Q.   And how is it that you knew they had arrived at

     6   her location?

     7       A.   Because I spoke with Grapevine PD on the phone.

     8       Q.   Okay.

     9       A.   And advised him of kind of what was going on.

   10        Q.   All right.      You were aware that they had actually

   11    gotten to where she was?

   12        A.   Yes, sir.

   13        Q.   Okay.     Now, there was an issue regarding Lana

   14    versus Lana -- I mean -- I'm sorry -- Lana versus Lyna.

   15    I believe your -- in your report the name was listed as

   16    L-Y-N-A at some point.

   17                     Tell the jury how the -- this report is

   18    made.

   19        A.   In Arlington we call in our reports to a computer

   20    system and then they're later pulled off of the system

   21    by what's called data entry personnel.              And then they

   22    sit there on headphones and they type up the reports of

   23    what officers called in.

   24        Q.   All right.      So this issue with is her name Lana,

   25    L-A-N-A; Alana, A-L-A-N-A, or Lyna, L-Y-N-A, could



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 300 of 303 PageID 873   300


     1   simply be the product of someone not understanding your

     2   spoken word?

     3       A.   Correct.

     4       Q.   All right.      In any event, would that person be

     5   the babysitter of Asher Olivas?

     6       A.   They are.

     7       Q.   And did you speak to that person?

     8       A.   I did.

     9       Q.   And was that person helpful to you in the

   10    investigation that you were conducting that night?

   11        A.   She was.

   12        Q.   And you talked to on the -- you talked to

   13    Ms. Regina Scambler, also, correct?              Regina Scambler

   14    being the aunt of the victim?

   15        A.   Yes, sir.

   16        Q.   And you were able to verify that she was, in

   17    fact, the victim's aunt, correct?

   18        A.   Yes, sir.

   19        Q.   And she provided the victim's cell phone?

   20        A.   Yes, sir.

   21        Q.   That's why she had these records to go through,

   22    right?

   23        A.   Yes, sir.

   24        Q.   And she -- you have in your report that it's

   25    a Verizon account; is that correct?



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                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 301 of 303 PageID 874   301


     1       A.   Yes, sir.

     2                   MR. ROUSSEAU:      That's all I have, Your

     3   Honor.    I'll pass the witness.

     4                   MS. KEENE:     I don't have anything, Judge.

     5                   THE COURT:     May this witness be excused?

     6                   MS. KEENE:     Subject to recall, Judge.

     7                   THE COURT:     All right.      Not to stay down

     8   here but back on reasonable notice?

     9                   MS. KEENE:     Absolutely.

   10                    THE COURT:     All right.

   11                    All right.     You won't have to be on --

   12    you'll be on call.        You don't have to be here.          If they

   13    need you back, they'll give you at least a half days'

   14    a notice of when to be back.           Hopefully more than that.

   15    Otherwise just -- you're going to be in town for the

   16    next two weeks?

   17                    THE WITNESS:      Yes, Judge.      Yes, Judge.

   18                    THE COURT:     That will be good.        Then you're

   19    excused tonight, subject to witness rules, and thanks

   20    for coming in.

   21                    THE WITNESS:      Thank you, Judge.

   22                    THE COURT:     Do me a favor.       Hold tight.

   23                    Members of the jury, tomorrow morning be at

   24    your pickup point at a quarter till.             We'll start at

   25    9:00.    Thank you for a long time day.



                                     KAREN B. SMITH
                                OFFICIAL COURT REPORTER
                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 302 of 303 PageID 875   302


     1                   (Recessed for the day at 5:55 p.m.)

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                                     KAREN B. SMITH
                                OFFICIAL COURT REPORTER
                                 STATE
Case 4:22-cv-00385-O Document 16-7  Filedv. THOMAS OLIVAS
                                          08/16/22 Page 303 of 303 PageID 876   303


     1                      COURT REPORTER'S CERTIFICATE

     2   THE STATE OF TEXAS               )

     3   COUNTY OF TARRANT                )

     4       I, Karen B. Martinez, Official Court Reporter in and

     5   for the 372nd District Court of Tarrant County, State of

     6   Texas, do hereby certify that the above and foregoing

     7   contains a true and correct transcription of all

     8   portions of evidence and other proceedings requested in

     9   writing by counsel for the parties to be included in

   10    this volume of the Reporter's Record, in the

   11    above-styled and numbered cause, all of which occurred

   12    in open court or in chambers and were reported by me.

   13        I further certify that this Reporter's Record of the

   14    proceedings truly and correctly reflects the exhibits,

   15    if any, admitted by the respective parties.

   16        I further certify that the total cost for the

   17    preparation of this Reporter's Record is located at the

   18    end of Volume 21.

   19        WITNESS MY OFFICIAL HAND this the 30th day of March,

   20    2015.

   21                               /s/ Karen B. Martinez

   22                               Karen B. Martinez, Texas CSR 6735
                                    Expiration Date: 12/31/2015
   23                               Official Court Reporter
                                    372nd District Court
   24                               Tarrant County, Texas
                                    (817)884-2996
   25                               kbmartinez@tarrantcounty.com



                                     KAREN B. SMITH
                                OFFICIAL COURT REPORTER
